Case 2:85-cv-04544-DMG-AGR Document 475-4 Filed 08/24/18 Page 1 of 250 Page ID
                                 #:23652




       Attachment B
    Case 2:85-cv-04544-DMG-AGR Document 475-4 Filed 08/24/18 Page 2 of 250 Page ID
                                     #:23653




Subject Activity Log


LIDIA E
                                     Gender:                F
                                     DOB:                           (21 yoa)
                                     Nationality:           EL SALVADOR
                                     Accompanying Adult(s):




                                     Event:
                                     A-File #:
                                     FINS #:
                                     Disposition:
Medical Conditions:                                  Detention Reasons:
No Medical Conditions Found                          Immigration Violation




Arrest Date/Time:   06/14/2018 2225
Book In Date/Time:  06/15/2018 1656
Book Out Date/Time: 06/16/2018 1044

Processing Agent:
Transport Officer:
Apprehending Agents:

ORR Facility:

Possible Trafficking?                                      Expresses Fear of Return?




LIDIA E                                                                      Printed:      8/12/18
DOB:                     A-File #:                                           Page 1 of 3
Event:
     Case 2:85-cv-04544-DMG-AGR Document 475-4 Filed 08/24/18 Page 3 of 250 Page ID
                                      #:23654

                                            Subject Activity Log


                                             Station /
Date/Time             Activity                           Agent Name                    Comments
                                             Facility
06/14/2018
                        Arrest                 N/A
   2225
06/15/2018
                       Book In                 RGC
   0136
06/15/2018
                    Welfare Check              RGC
   0500
06/15/2018
                Served meal(Accepted)          RGC                    Cold Meal
   0500
06/15/2018
                    Welfare Check              RGC
   0843
06/15/2018
                    Welfare Check              RGC
   1006
06/15/2018
                Served meal(Accepted)          RGC                    Hot Meal
   1006
06/15/2018
                 Processing Complete           RGC
   1048
06/15/2018
                    Welfare Check              RGC
   1200
06/15/2018
                      In Transit               RGC
   1548
06/15/2018
                      Received                 RGV
   1656
06/15/2018
               Bodily Cleansing Product        RGV
   1700
06/15/2018
               Clean Clothing Provided         RGV
   1700
06/15/2018
             Medical Screening Completed       RGV
   1700
06/15/2018
                Served meal(Accepted)          RGV                    Cold Meal
   1700
06/15/2018
                    Welfare Check              RGV
   1700
06/15/2018
                   Shower Provided             RGV
   1700
06/15/2018   Sleeping Cot/Mat and Blanket
                                               RGV
   1700                Provided
06/15/2018
                    Welfare Check              RGV
   1701
06/15/2018
                    Welfare Check              RGV
   1800



LIDIA E                                                                           Printed:      8/12/18
DOB:                        A-File #:                                             Page 2 of 3
Event:
Case 2:85-cv-04544-DMG-AGR Document 475-4 Filed 08/24/18 Page 4 of 250 Page ID
                                 #:23655
    Case 2:85-cv-04544-DMG-AGR Document 475-4 Filed 08/24/18 Page 5 of 250 Page ID
                                     #:23656




Subject Activity Log


MARCOS P
                                     Gender:
                                     DOB:                           4 yoa)
                                     Nationality:           EL SALVADOR
                                     Accompanying Adult(s): LIDIA              E




                                     Event:
                                     A-File #:
                                     FINS #:
                                     Disposition:
Medical Conditions:                                 Detention Reasons:
No Medical Conditions Found                         Immigration Violation




Arrest Date/Time:   06/14/2018 2225
Book In Date/Time:  06/15/2018 1656
Book Out Date/Time: 06/16/2018 1044

Processing Agent:
Transport Officer:
Apprehending Agents

ORR Facility:

Possible Trafficking?                                     Expresses Fear of Return?




MARCOS P                                                                    Printed:      8/12/18
DOB:                     A-File #:                                          Page 1 of 4
Event:
     Case 2:85-cv-04544-DMG-AGR Document 475-4 Filed 08/24/18 Page 6 of 250 Page ID
                                      #:23657

                                            Subject Activity Log


                                             Station /
Date/Time             Activity                           Agent Name                    Comments
                                             Facility
06/14/2018
                        Arrest                 N/A
   2225
06/15/2018
                       Book In                 RGC
   0136
06/15/2018
             Snacks, Milk, Juice Provided      RGC
   0500
06/15/2018
                    Welfare Check              RGC
   0500
06/15/2018
                Served meal(Accepted)          RGC                    Cold Meal
   0500
06/15/2018
                    Welfare Check              RGC
   0843
06/15/2018
             Snacks, Milk, Juice Provided      RGC
   1005
06/15/2018
                Served meal(Accepted)          RGC                    Hot Meal
   1005
06/15/2018
                    Welfare Check              RGC
   1005
06/15/2018
                 Processing Complete           RGC
   1048
06/15/2018
                    Welfare Check              RGC
   1200
06/15/2018
                      In Transit               RGC
   1548
06/15/2018
                      Received                 RGV
   1656
06/15/2018
               Bodily Cleansing Product        RGV
   1700
06/15/2018
               Clean Clothing Provided         RGV
   1700
06/15/2018
             Medical Screening Completed       RGV
   1700
06/15/2018
                Served meal(Accepted)          RGV                    Cold Meal
   1700
06/15/2018
                    Welfare Check              RGV
   1700
06/15/2018
                   Shower Provided             RGV
   1700
06/15/2018   Sleeping Cot/Mat and Blanket
                                               RGV
   1700                Provided



MARCOS P                                                                          Printed:      8/12/18
DOB:                        A-File #:                                             Page 2 of 4
Event:
     Case 2:85-cv-04544-DMG-AGR Document 475-4 Filed 08/24/18 Page 7 of 250 Page ID
                                      #:23658




                                            Station /
Date/Time             Activity                          Agent Name                    Comments
                                            Facility
06/15/2018
                   Welfare Check              RGV
   1701
06/15/2018
                   Welfare Check              RGV
   1800
06/15/2018
             Rejoined With Family Unit        RGV                    Family visit
   1800
06/15/2018
               Separated from Family          RGV                    Cell - Operationally infeasible.
   1830
06/15/2018
                   Welfare Check              RGV
   1901
06/15/2018
             Snacks, Milk, Juice Provided     RGV
   2008
06/15/2018
                   Welfare Check              RGV
   2008
06/15/2018
                   Welfare Check              RGV
   2105
06/15/2018
                   Welfare Check              RGV
   2202
06/15/2018
                   Welfare Check              RGV
   2300
06/16/2018
                   Welfare Check              RGV
   0207
06/16/2018
                   Welfare Check              RGV
   0302
06/16/2018
                   Welfare Check              RGV
   0403
06/16/2018
                   Welfare Check              RGV
   0523
06/16/2018
                   Welfare Check              RGV
   0742
06/16/2018
                 UAC Video Shown              RGV                    know what to expect
   0742
06/16/2018
               Served meal(Accepted)          RGV                    Hot Meal - fed
   0742
06/16/2018
                   Welfare Check              RGV
   0748
06/16/2018
               Served meal(Accepted)          RGV                    Hot Meal - fed
   0748
06/16/2018
                   Welfare Check              RGV
   0749
06/16/2018
                   Welfare Check              RGV
   0914


MARCOS P                                                                        Printed:      8/12/18
DOB:               A-File #:                                                    Page 3 of 4
Event:
Case 2:85-cv-04544-DMG-AGR Document 475-4 Filed 08/24/18 Page 8 of 250 Page ID
                                 #:23659
    Case 2:85-cv-04544-DMG-AGR Document 475-4 Filed 08/24/18 Page 9 of 250 Page ID
                                     #:23660




Subject Activity Log


DILSIA R
                                     Gender:                F
                                     DOB:                            (36 yoa)
                                     Nationality:                    AS
                                     Accompanying Adult(s):




                                     Event:
                                     A-File #:
                                     FINS #:
                                     Disposition:
Medical Conditions:                                  Detention Reasons:
No Medical Conditions Found                          Immigration Violation




Arrest Date/Time:   06/25/2018 0120
Book In Date/Time:  06/25/2018 2003
Book Out Date/Time: 06/27/2018 1020

Processing Agent:
Transport Officer:
Apprehending Agents

ORR Facility:

Possible Trafficking?                                      Expresses Fear of Return?




DILSIA R                                                                     Printed:      8/12/18
DOB:                     A-File #:                                           Page 1 of 4
Event:
    Case 2:85-cv-04544-DMG-AGR Document 475-4 Filed 08/24/18 Page 10 of 250 Page ID
                                      #:23661

                                            Subject Activity Log


                                             Station /
Date/Time             Activity                           Agent Name                  Comments
                                             Facility
06/25/2018
                        Arrest                 N/A
   0120
06/25/2018
                       Book In                 MCS
   0428
06/25/2018
                    Welfare Check              MCS
   0556
06/25/2018
                    Welfare Check              MCS
   1739
06/25/2018
                Served meal(Accepted)          MCS                    Cold Meal - Sandwich, juice, crackers
   1739
06/25/2018
                    Welfare Check              MCS
   1751
06/25/2018
                      In Transit               MCS
   1902
06/25/2018
                      Received                 RGV
   2003
06/25/2018   Sleeping Cot/Mat and Blanket
                                               RGV
   2005                Provided
06/25/2018
             Medical Screening Completed       RGV
   2005
06/25/2018                                                             old Meal - Sandwich, chips, apple and
                Served meal(Accepted)          RGV
   2005                                                                ater
06/25/2018                                                            howers will be provided once operations
                        Other                  RGV
   2005                                                               esume at 700am.
06/25/2018
                    Welfare Check              RGV
   2005
06/25/2018
                    Welfare Check              RGV
   2111
06/25/2018
                    Welfare Check              RGV
   2143
06/25/2018
             Snacks, Milk, Juice Provided      RGV
   2201
06/25/2018
                    Welfare Check              RGV
   2201
06/25/2018
                    Welfare Check              RGV
   2243
06/25/2018
                    Welfare Check              RGV
   2314
06/26/2018
                    Welfare Check              RGV
   0005

DILSIA R                                                                        Printed:      8/12/18
DOB:                        A-File #:                                           Page 2 of 4
Event:
    Case 2:85-cv-04544-DMG-AGR Document 475-4 Filed 08/24/18 Page 11 of 250 Page ID
                                      #:23662




                                     Station /
Date/Time          Activity                      Agent Name                    Comments
                                     Facility
06/26/2018
                Welfare Check          RGV
   0120
06/26/2018
                Welfare Check          RGV
   0201
06/26/2018
                Welfare Check          RGV
   0213
06/26/2018
                Welfare Check          RGV
   0306
06/26/2018
                Welfare Check          RGV
   0401
06/26/2018
                Welfare Check          RGV
   0505
06/26/2018
                Welfare Check          RGV
   0601
06/26/2018
                Welfare Check          RGV
   0602
06/26/2018
             Served meal(Accepted)     RGV                    Hot Meal
   0602
06/26/2018
                Welfare Check          RGV
   0717
06/26/2018
                Welfare Check          RGV
   1104
06/26/2018
              Processing Complete      RGV
   1146
06/26/2018
                Welfare Check          RGV
   1245
06/26/2018
             Served meal(Accepted)     RGV                    Hot Meal
   1245
06/26/2018
                Welfare Check          RGV
   1508
06/26/2018
                Welfare Check          RGV
   1600
06/26/2018
                Welfare Check          RGV
   1645
06/26/2018
             Served meal(Accepted)     RGV                    Cold Meal
   1645
06/26/2018
                Welfare Check          RGV
   1708
06/26/2018
                Welfare Check          RGV
   1800
06/26/2018
                Welfare Check          RGV
   1900


DILSIA R                                                                  Printed:      8/12/18
DOB:             -File #:                                                 Page 3 of 4
Event:
    Case 2:85-cv-04544-DMG-AGR Document 475-4 Filed 08/24/18 Page 12 of 250 Page ID
                                      #:23663




                                            Station /
Date/Time             Activity                          Agent Name                   Comments
                                            Facility
06/26/2018
             Snacks, Milk, Juice Provided     RGV
   2003
06/26/2018
                   Welfare Check              RGV
   2003
06/26/2018
                   Welfare Check              RGV
   2102
06/26/2018
                   Welfare Check              RGV
   2205
06/26/2018
                   Welfare Check              RGV
   2303
06/26/2018
                   Welfare Check              RGV
   2314
06/27/2018
                   Welfare Check              RGV
   0100
06/27/2018
                   Welfare Check              RGV
   0200
06/27/2018
                   Welfare Check              RGV
   0441
06/27/2018
                   Welfare Check              RGV
   0500
06/27/2018
                   Welfare Check              RGV
   0605
06/27/2018
                   Welfare Check              RGV
   0700
06/27/2018
                   Welfare Check              RGV
   0816
06/27/2018
               Served meal(Accepted)          RGV                    Hot Meal
   0816
06/27/2018
                   Welfare Check              RGV
   0820
06/27/2018
                   Perm Book Out              RGV
   1020




DILSIA                                                                          Printed:      8/12/18
DOB:                -File #:                                                    Page 4 of 4
Event:
   Case 2:85-cv-04544-DMG-AGR Document 475-4 Filed 08/24/18 Page 13 of 250 Page ID
                                     #:23664




Subject Activity Log


ASHLEY O
                                     Gender:                F
                                     DOB:                          (12 yoa)
                                     Nationality:           HONDURAS
                                     Accompanying Adult(s): DILSIA          R




                                     Event:
                                     A-File #:
                                     FINS #:
                                     Disposition:
                                                    Detention Reasons:
No Medical Conditions Found                         Immigration Violation




Arrest Date/Time:   06/25/2018 0120
Book In Date/Time:  06/25/2018 2003
Book Out Date/Time: 06/27/2018 1020

Processing Agent:
Transport Officer:
Apprehending Agents

ORR Facility:

Possible Trafficking?                                     Expresses Fear of Return?




ASHLEY O                                                                    Printed:      8/12/18
DOB:                     A-File #:                                          Page 1 of 4
Event:
    Case 2:85-cv-04544-DMG-AGR Document 475-4 Filed 08/24/18 Page 14 of 250 Page ID
                                      #:23665

                                            Subject Activity Log


                                             Station /
Date/Time             Activity                           Agent Name                  Comments
                                             Facility
06/25/2018
                        Arrest                 N/A
   0120
06/25/2018
                       Book In                 MCS
   0430
06/25/2018
                    Welfare Check              MCS
   0556
06/25/2018
                    Welfare Check              MCS
   1739
06/25/2018
                Served meal(Accepted)          MCS                    Cold Meal - Sandwich, juice, crackers
   1739
06/25/2018
                    Welfare Check              MCS
   1751
06/25/2018
                      In Transit               MCS
   1902
06/25/2018
                      Received                 RGV
   2003
06/25/2018   Sleeping Cot/Mat and Blanket
                                               RGV
   2005                Provided
06/25/2018
             Medical Screening Completed       RGV
   2005
06/25/2018                                                            Cold Meal - Sandwich, chips, apple and
                Served meal(Accepted)          RGV
   2005                                                               water
06/25/2018                                                            showers will be provided once operations
                        Other                  RGV
   2005                                                               resume at 700am.
06/25/2018
                    Welfare Check              RGV
   2005
06/25/2018
                    Welfare Check              RGV
   2111
06/25/2018
                    Welfare Check              RGV
   2143
06/25/2018
             Snacks, Milk, Juice Provided      RGV
   2201
06/25/2018
                    Welfare Check              RGV
   2201
06/25/2018
                    Welfare Check              RGV
   2243
06/25/2018
                    Welfare Check              RGV
   2314
06/26/2018
                    Welfare Check              RGV
   0005

ASHLEY O                                                                        Printed:      8/12/18
DOB:                        A-File #:                                           Page 2 of 4
Event:
    Case 2:85-cv-04544-DMG-AGR Document 475-4 Filed 08/24/18 Page 15 of 250 Page ID
                                      #:23666




                                     Station /
Date/Time          Activity                      Agent Name                    Comments
                                     Facility
06/26/2018
                Welfare Check          RGV
   0120
06/26/2018
                Welfare Check          RGV
   0201
06/26/2018
                Welfare Check          RGV
   0213
06/26/2018
                Welfare Check          RGV
   0306
06/26/2018
                Welfare Check          RGV
   0401
06/26/2018
                Welfare Check          RGV
   0505
06/26/2018
                Welfare Check          RGV
   0601
06/26/2018
                Welfare Check          RGV
   0602
06/26/2018
             Served meal(Accepted)     RGV                    Hot Meal
   0602
06/26/2018
              UAC Video Shown          RGV
   0603
06/26/2018
               Shower Provided         RGV
   0709
06/26/2018
                Welfare Check          RGV
   0717
06/26/2018
                Welfare Check          RGV
   1104
06/26/2018
              Processing Complete      RGV
   1145
06/26/2018
                Welfare Check          RGV
   1245
06/26/2018
             Served meal(Accepted)     RGV                    Hot Meal
   1245
06/26/2018
                Welfare Check          RGV
   1508
06/26/2018
                Welfare Check          RGV
   1600
06/26/2018
                Welfare Check          RGV
   1645
06/26/2018
             Served meal(Accepted)     RGV                    Cold Meal
   1645
06/26/2018
                Welfare Check          RGV
   1708


ASHLEY O                                                                  Printed:      8/12/18
DOB:             -File #                                                  Page 3 of 4
Event:
    Case 2:85-cv-04544-DMG-AGR Document 475-4 Filed 08/24/18 Page 16 of 250 Page ID
                                      #:23667




                                            Station /
Date/Time             Activity                          Agent Name                   Comments
                                            Facility
06/26/2018
                   Welfare Check              RGV
   1800
06/26/2018
             Rejoined With Family Unit        RGV                    Family visit.
   1830
06/26/2018
                   Welfare Check              RGV
   1900
06/26/2018
               Separated from Family          RGV                    Cell - Operationally infeasible.
   1915
06/26/2018
             Snacks, Milk, Juice Provided     RGV
   2003
06/26/2018
                   Welfare Check              RGV
   2003
06/26/2018
                   Welfare Check              RGV
   2102
06/26/2018
                   Welfare Check              RGV
   2205
06/26/2018
                   Welfare Check              RGV
   2303
06/26/2018
                   Welfare Check              RGV
   2314
06/27/2018
                   Welfare Check              RGV
   0100
06/27/2018
                   Welfare Check              RGV
   0200
06/27/2018
                   Welfare Check              RGV
   0441
06/27/2018
                   Welfare Check              RGV
   0500
06/27/2018
                   Welfare Check              RGV
   0605
06/27/2018
                   Welfare Check              RGV
   0700
06/27/2018
                   Welfare Check              RGV
   0816
06/27/2018
               Served meal(Accepted)          RGV                    Hot Meal
   0816
06/27/2018
                   Welfare Check              RGV
   0820
06/27/2018
                   Perm Book Out              RGV
   1020




ASHLEY O                                                                        Printed:      8/12/18
DOB:               A-File #:                                                    Page 4 of 4
Event:
   Case 2:85-cv-04544-DMG-AGR Document 475-4 Filed 08/24/18 Page 17 of 250 Page ID
                                     #:23668




Subject Activity Log


SARA P
                                     Gender:                F
                                     DOB:                         (31 yoa)
                                     Nationality:           HONDURAS
                                     Accompanying Adult(s):




                                     Event:
                                     A-File #:
                                     FINS #:
                                     Disposition:
Medical Conditions:                                 Detention Reasons:
No Medical Conditions Found                         Immigration Violation




Arrest Date/Time:   06/25/2018 1350
Book In Date/Time:  06/25/2018 2004
Book Out Date/Time: 06/27/2018 1020

Processing Agent:
Transport Officer:
Apprehending Agents:

ORR Facility:

Possible Trafficking?                                     Expresses Fear of Return?




SARA P                                                                      Printed:      8/14/18
DOB:                     A-File #:                                          Page 1 of 4
Event:
    Case 2:85-cv-04544-DMG-AGR Document 475-4 Filed 08/24/18 Page 18 of 250 Page ID
                                      #:23669

                                            Subject Activity Log


                                             Station /
Date/Time             Activity                           Agent Name                  Comments
                                             Facility
06/25/2018
                        Arrest                 N/A
   1350
06/25/2018
                       Book In                 MCS
   1503
06/25/2018
                    Welfare Check              MCS
   1739
06/25/2018
                Served meal(Accepted)          MCS                    Cold Meal - Sandwich, juice, crackers
   1739
06/25/2018
                    Welfare Check              MCS
   1751
06/25/2018
                      In Transit               MCS
   1902
06/25/2018
                      Received                 RGV
   2004
06/25/2018   Sleeping Cot/Mat and Blanket
                                               RGV
   2005                Provided
06/25/2018
             Medical Screening Completed       RGV
   2005
06/25/2018                                                            Cold Meal - Sandwich, chips, apple and
                Served meal(Accepted)          RGV
   2005                                                               water
06/25/2018                                                            showers will be provided once operations
                        Other                  RGV
   2005                                                               resume at 700am.
06/25/2018
                    Welfare Check              RGV
   2005
06/25/2018
                    Welfare Check              RGV
   2111
06/25/2018
                    Welfare Check              RGV
   2143
06/25/2018
             Snacks, Milk, Juice Provided      RGV
   2201
06/25/2018
                    Welfare Check              RGV
   2201
06/25/2018
                    Welfare Check              RGV
   2243
06/25/2018
                    Welfare Check              RGV
   2314
06/26/2018
                    Welfare Check              RGV
   0005
06/26/2018
                    Welfare Check              RGV
   0120



SARA P                                                                          Printed:      8/14/18
DOB:                        A-File #:                                           Page 2 of 4
Event:
    Case 2:85-cv-04544-DMG-AGR Document 475-4 Filed 08/24/18 Page 19 of 250 Page ID
                                      #:23670




                                            Station /
Date/Time             Activity                          Agent Name                    Comments
                                            Facility
06/26/2018
                   Welfare Check              RGV
   0201
06/26/2018
                   Welfare Check              RGV
   0213
06/26/2018
                   Welfare Check              RGV
   0306
06/26/2018
                   Welfare Check              RGV
   0401
06/26/2018
                   Welfare Check              RGV
   0505
06/26/2018
                   Welfare Check              RGV
   0601
06/26/2018
                   Welfare Check              RGV
   0602
06/26/2018
               Served meal(Accepted)          RGV                    Hot Meal
   0602
06/26/2018
                   Welfare Check              RGV
   0717
06/26/2018
                Processing Complete           RGV
   1044
06/26/2018
                   Welfare Check              RGV
   1104
06/26/2018
                   Welfare Check              RGV
   1245
06/26/2018
               Served meal(Accepted)          RGV                    Hot Meal
   1245
06/26/2018
                   Welfare Check              RGV
   1508
06/26/2018
                   Welfare Check              RGV
   1600
06/26/2018
                   Welfare Check              RGV
   1645
06/26/2018
               Served meal(Accepted)          RGV                    Cold Meal
   1645
06/26/2018
                   Welfare Check              RGV
   1708
06/26/2018
                   Welfare Check              RGV
   1800
06/26/2018
                   Welfare Check              RGV
   1900
06/26/2018
             Snacks, Milk, Juice Provided     RGV
   2003


SARA P                                                                           Printed:      8/14/18
DOB:               A-File #:                                                     Page 3 of 4
Event:
    Case 2:85-cv-04544-DMG-AGR Document 475-4 Filed 08/24/18 Page 20 of 250 Page ID
                                      #:23671




                                     Station /
Date/Time          Activity                      Agent Name                   Comments
                                     Facility
06/26/2018
                Welfare Check          RGV
   2003
06/26/2018
                Welfare Check          RGV
   2102
06/26/2018
                Welfare Check          RGV
   2205
06/26/2018
                Welfare Check          RGV
   2303
06/26/2018
                Welfare Check          RGV
   2314
06/27/2018
                Welfare Check          RGV
   0100
06/27/2018
                Welfare Check          RGV
   0200
06/27/2018
                Welfare Check          RGV
   0441
06/27/2018
                Welfare Check          RGV
   0500
06/27/2018
                Welfare Check          RGV
   0605
06/27/2018
                Welfare Check          RGV
   0700
06/27/2018
                Welfare Check          RGV
   0816
06/27/2018
             Served meal(Accepted)     RGV                    Hot Meal
   0816
06/27/2018
                Welfare Check          RGV
   0820
06/27/2018
                Perm Book Out          RGV
   1020




SARA P                                                                   Printed:      8/14/18
DOB:            A-File #:                                                Page 4 of 4
Event:
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                                     #:23672




Subject Activity Log


JOSSELIN H
                                     Gender:                F
                                     DOB:                         (12 yoa)
                                     Nationality:           HONDURAS
                                     Accompanying Adult(s): SARA           P




                                     Event:
                                     A-File #:
                                     FINS #:
                                     Disposition:
Medical Conditions:                                 Detention Reasons:
No Medical Conditions Found                         Immigration Violation




Arrest Date/Time:   06/25/2018 1350
Book In Date/Time:  06/25/2018 2004
Book Out Date/Time: 06/27/2018 1020

Processing Agent:
Transport Officer:
Apprehending Agents:

ORR Facility:

Possible Trafficking?                                     Expresses Fear of Return?




JOSSELIN H                                                                  Printed:      8/14/18
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    Case 2:85-cv-04544-DMG-AGR Document 475-4 Filed 08/24/18 Page 22 of 250 Page ID
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                                            Subject Activity Log


                                             Station /
Date/Time             Activity                           Agent Name                  Comments
                                             Facility
06/25/2018
                        Arrest                 N/A
   1350
06/25/2018
                       Book In                 MCS
   1504
06/25/2018
                    Welfare Check              MCS
   1739
06/25/2018
                Served meal(Accepted)          MCS                    Cold Meal - Sandwich, juice, crackers
   1739
06/25/2018
                    Welfare Check              MCS
   1751
06/25/2018
                      In Transit               MCS
   1902
06/25/2018
                      Received                 RGV
   2004
06/25/2018   Sleeping Cot/Mat and Blanket
                                               RGV
   2005                Provided
06/25/2018
             Medical Screening Completed       RGV
   2005
06/25/2018                                                            Cold Meal - Sandwich, chips, apple and
                Served meal(Accepted)          RGV
   2005                                                               water
06/25/2018                                                            showers will be provided once operations
                        Other                  RGV
   2005                                                               resume at 700am.
06/25/2018
                    Welfare Check              RGV
   2005
06/25/2018
                    Welfare Check              RGV
   2111
06/25/2018
                    Welfare Check              RGV
   2143
06/25/2018
             Snacks, Milk, Juice Provided      RGV
   2201
06/25/2018
                    Welfare Check              RGV
   2201
06/25/2018
                    Welfare Check              RGV
   2243
06/25/2018
                    Welfare Check              RGV
   2314
06/26/2018
                    Welfare Check              RGV
   0005
06/26/2018
                    Welfare Check              RGV
   0120



JOSSELIN H                                                                      Printed:      8/14/18
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                                     Station /
Date/Time          Activity                      Agent Name                    Comments
                                     Facility
06/26/2018
                Welfare Check          RGV
   0201
06/26/2018
                Welfare Check          RGV
   0213
06/26/2018
                Welfare Check          RGV
   0306
06/26/2018
                Welfare Check          RGV
   0401
06/26/2018
                Welfare Check          RGV
   0505
06/26/2018
                Welfare Check          RGV
   0601
06/26/2018
                Welfare Check          RGV
   0602
06/26/2018
             Served meal(Accepted)     RGV                    Hot Meal
   0602
06/26/2018
              UAC Video Shown          RGV
   0603
06/26/2018
               Shower Provided         RGV
   0709
06/26/2018
                Welfare Check          RGV
   0717
06/26/2018
              Processing Complete      RGV
   1044
06/26/2018
                Welfare Check          RGV
   1104
06/26/2018
                Welfare Check          RGV
   1245
06/26/2018
             Served meal(Accepted)     RGV                    Hot Meal
   1245
06/26/2018
                Welfare Check          RGV
   1508
06/26/2018
                Welfare Check          RGV
   1600
06/26/2018
                Welfare Check          RGV
   1645
06/26/2018
             Served meal(Accepted)     RGV                    Cold Meal
   1645
06/26/2018
                Welfare Check          RGV
   1708
06/26/2018
                Welfare Check          RGV
   1800


JOSSELIN H                                                                Printed:      8/14/18
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                                     #:23676




Subject Activity Log


DAISE C
                                     Gender:                F
                                     DOB:                         (38 yoa)
                                     Nationality:           HONDURAS
                                     Accompanying Adult(s):




                                     Event:
                                     A-File #:
                                     FINS #:
                                     Disposition:
Medical Conditions:                                 Detention Reasons:
No Medical Conditions Found                         Immigration Violation




Arrest Date/Time:   06/22/2018 2045
Book In Date/Time:  06/26/2018 1004
Book Out Date/Time: 06/27/2018 1020

Processing Agent:
Transport Officer:
Apprehending Agents:

ORR Facility:

Possible Trafficking?                                     Expresses Fear of Return?




DAISE C                                                                     Printed:      7/25/18
DOB:                     A-File #:                                          Page 1 of 8
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                                            Subject Activity Log


                                             Station /
Date/Time             Activity                           Agent Name                    Comments
                                             Facility
06/22/2018
                        Arrest                 N/A
   2045
06/22/2018
                       Book In                 RGC
   2306
06/23/2018
                    Welfare Check              RGC
   0159
06/23/2018
                Served meal(Accepted)          RGC                    Cold Meal
   0159
06/23/2018
                      In Transit               RGC
   0312
06/23/2018
                      Received                 RGV
   0357
06/23/2018   Sleeping Cot/Mat and Blanket
                                               RGV
   0400                Provided
06/23/2018
             Medical Screening Completed       RGV
   0400
06/23/2018
                Served meal(Accepted)          RGV                    Hot Meal
   0400
06/23/2018
                    Welfare Check              RGV
   0400
06/23/2018
             Snacks, Milk, Juice Provided      RGV
   0400
                                                                      Detainee could not be showered at this time
06/23/2018                                                            since time of arrival did not fall within the
                   Shower Provided             RGV
   0400                                                               providers hours of operation. Detainee will
                                                                      be showered once operation resumes.
06/23/2018
                    Welfare Check              RGV
   0752
06/23/2018
                    Welfare Check              RGV
   0802
06/23/2018
                Served meal(Accepted)          RGV                    Hot Meal
   0802
06/23/2018
                    Welfare Check              RGV
   1000
06/23/2018
                    Welfare Check              RGV
   1100
06/23/2018
                    Welfare Check              RGV
   1243
06/23/2018
                    Welfare Check              RGV
   1247



DAISE C                                                                           Printed:      7/25/18
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                                            Station /
Date/Time             Activity                          Agent Name                    Comments
                                            Facility
06/23/2018
               Served meal(Accepted)          RGV                    Hot Meal
   1247
06/23/2018
                   Welfare Check              RGV
   1300
06/23/2018
                   Welfare Check              RGV
   1513
06/23/2018
               Served meal(Accepted)          RGV                    Cold Meal
   1513
06/23/2018
                   Welfare Check              RGV
   1552
06/23/2018
                   Welfare Check              RGV
   1703
06/23/2018
                   Welfare Check              RGV
   1752
06/23/2018
                   Welfare Check              RGV
   1858
06/23/2018
             Snacks, Milk, Juice Provided     RGV
   2001
06/23/2018
                   Welfare Check              RGV
   2001
06/23/2018
                   Welfare Check              RGV
   2055
06/23/2018
                   Welfare Check              RGV
   2156
06/23/2018
               Served meal(Accepted)          RGV                    Cold Meal
   2156
06/23/2018
                   Welfare Check              RGV
   2246
06/23/2018
                   Welfare Check              RGV
   2259
06/23/2018
                   Welfare Check              RGV
   2322
06/24/2018
                   Welfare Check              RGV
   0007
06/24/2018
                   Welfare Check              RGV
   0119
06/24/2018
                   Welfare Check              RGV
   0225
06/24/2018
                   Welfare Check              RGV
   0309
06/24/2018
                   Welfare Check              RGV
   0400


DAISE C                                                                          Printed:      7/25/18
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                                            Station /
Date/Time             Activity                          Agent Name                    Comments
                                            Facility
06/24/2018
                   Welfare Check              RGV
   0513
06/24/2018
                   Welfare Check              RGV
   0719
06/24/2018
                   Welfare Check              RGV
   0744
06/24/2018
               Served meal(Accepted)          RGV                    Hot Meal
   0744
06/24/2018
                   Welfare Check              RGV
   0805
06/24/2018
                   Welfare Check              RGV
   0901
06/24/2018
                   Welfare Check              RGV
   1221
06/24/2018
                   Welfare Check              RGV
   1358
06/24/2018
               Served meal(Accepted)          RGV                    Hot Meal
   1358
06/24/2018
                   Welfare Check              RGV
   1413
06/24/2018
                   Welfare Check              RGV
   1510
06/24/2018
                   Welfare Check              RGV
   1604
06/24/2018
                   Welfare Check              RGV
   1605
06/24/2018
               Served meal(Accepted)          RGV                    Cold Meal
   1605
06/24/2018
                   Welfare Check              RGV
   1701
06/24/2018
                   Welfare Check              RGV
   1815
06/24/2018
                   Welfare Check              RGV
   1909
06/24/2018
             Snacks, Milk, Juice Provided     RGV
   2016
06/24/2018
                   Welfare Check              RGV
   2016
06/24/2018
                   Welfare Check              RGV
   2109
06/24/2018
                   Welfare Check              RGV
   2203


DAISE C                                                                          Printed:      7/25/18
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                                            Station /
Date/Time             Activity                          Agent Name                    Comments
                                            Facility
06/24/2018
                   Welfare Check              RGV
   2309
06/25/2018
                   Welfare Check              RGV
   0018
06/25/2018
                   Welfare Check              RGV
   0101
06/25/2018
                   Welfare Check              RGV
   0122
06/25/2018
                   Welfare Check              RGV
   0205
06/25/2018
                   Welfare Check              RGV
   0304
06/25/2018
                   Welfare Check              RGV
   0308
06/25/2018
                   Welfare Check              RGV
   0407
06/25/2018
                      In Transit              RGV
   0432
06/25/2018
                      Received                BRP
   0600
06/25/2018
             Snacks, Milk, Juice Provided     BRP                    Flavored drink, peanut butter crackers
   0611
06/25/2018
               Served meal(Accepted)          BRP                    Cold Meal - Bologna sandwich.
   0611
06/25/2018
                   Welfare Check              BRP                    Appears to be in good health.
   0611
06/25/2018
                   Welfare Check              BRP
   0659
06/25/2018
               Served meal(Accepted)          BRP                    Cold Meal
   0659
06/25/2018
                   Welfare Check              BRP
   0751
06/25/2018
                   Welfare Check              BRP
   0832
06/25/2018
                   Welfare Check              BRP
   0948
06/25/2018
                Processing Complete           BRP
   1122
06/25/2018
                   Welfare Check              BRP
   1340
06/25/2018
               Served meal(Accepted)          BRP                    Cold Meal
   1340


DAISE C                                                                          Printed:      7/25/18
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Event:
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                                            Station /
Date/Time             Activity                          Agent Name                     Comments
                                            Facility
06/25/2018
                   Welfare Check              BRP
   1458
06/25/2018
                   Welfare Check              BRP
   1615
06/25/2018
                   Welfare Check              BRP
   1757
06/25/2018
               Served meal(Accepted)          BRP                    Hot Meal
   1757
06/25/2018
                   Welfare Check              BRP
   1919
06/25/2018
                   Welfare Check              BRP
   2144
06/25/2018
                   Welfare Check              BRP
   2213
06/25/2018
               Served meal(Accepted)          BRP                    Cold Meal
   2213
06/25/2018
                   Welfare Check              BRP                    Appears to be in good health.
   2230
06/25/2018
                   Welfare Check              BRP
   2300
06/25/2018
                  Shower Provided             BRP                    N/A
   2311
06/26/2018
                   Welfare Check              BRP
   0000
06/26/2018
                   Welfare Check              BRP
   0100
06/26/2018
                   Welfare Check              BRP
   0200
06/26/2018
                   Welfare Check              BRP
   0300
06/26/2018
                   Welfare Check              BRP
   0400
06/26/2018
                   Welfare Check              BRP
   0500
06/26/2018
                   Welfare Check              BRP
   0600
06/26/2018
             Snacks, Milk, Juice Provided     BRP                    Flavored drink.
   0604
06/26/2018
               Served meal(Accepted)          BRP                    Hot Meal - Burrito.
   0604
06/26/2018
                   Welfare Check              BRP
   0604


DAISE C                                                                          Printed:      7/25/18
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                                  #:23683
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                                     #:23684




Subject Activity Log


KEYLIN M
                                     Gender:                F
                                     DOB:                         (16 yoa)
                                     Nationality:           HONDURAS
                                     Accompanying Adult(s): DAISE        C




                                     Event:
                                     A-File #:
                                     FINS #:
                                     Disposition:
Medical Conditions:                                 Detention Reasons:
No Medical Conditions Found                         Immigration Violation




Arrest Date/Time:   06/22/2018 2045
Book In Date/Time:  06/26/2018 1004
Book Out Date/Time: 06/27/2018 1020

Processing Agent:
Transport Officer:
Apprehending Agents:

ORR Facility:

Possible Trafficking?                                     Expresses Fear of Return?




KEYLIN M                                                                    Printed:      7/25/18
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                                      #:23686




                                            Station /
Date/Time             Activity                          Agent Name                    Comments
                                            Facility
06/23/2018
                   Welfare Check              RGV
   1100
06/23/2018
                   Welfare Check              RGV
   1243
06/23/2018
                   Welfare Check              RGV
   1247
06/23/2018
               Served meal(Accepted)          RGV                    Hot Meal
   1247
06/23/2018
                   Welfare Check              RGV
   1300
06/23/2018
                   Welfare Check              RGV
   1513
06/23/2018
               Served meal(Accepted)          RGV                    Cold Meal
   1513
06/23/2018
                   Welfare Check              RGV
   1552
06/23/2018
                   Welfare Check              RGV
   1703
06/23/2018
                   Welfare Check              RGV
   1752
06/23/2018
                   Welfare Check              RGV
   1858
06/23/2018
             Snacks, Milk, Juice Provided     RGV
   2001
06/23/2018
                   Welfare Check              RGV
   2001
06/23/2018
                   Welfare Check              RGV
   2019
06/23/2018
               Served meal(Accepted)          RGV                    Cold Meal
   2019
06/23/2018
                   Welfare Check              RGV
   2055
06/23/2018
                   Welfare Check              RGV
   2156
06/23/2018
               Served meal(Accepted)          RGV                    Cold Meal
   2156
06/23/2018
                   Welfare Check              RGV
   2246
06/23/2018
                   Welfare Check              RGV
   2259
06/23/2018
                   Welfare Check              RGV
   2322


KEYLIN M                                                                         Printed:      7/25/18
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                                  #:23688
Case 2:85-cv-04544-DMG-AGR Document 475-4 Filed 08/24/18 Page 38 of 250 Page ID
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                                            Station /
Date/Time             Activity                          Agent Name                     Comments
                                            Facility
06/26/2018
                   Welfare Check              BRP
   0100
06/26/2018
                   Welfare Check              BRP
   0200
06/26/2018
                   Welfare Check              BRP
   0300
06/26/2018
                Served meal(Refused)          BRP                    Sleeping.
   0332
06/26/2018
                   Welfare Check              BRP
   0332
06/26/2018
                   Welfare Check              BRP
   0400
06/26/2018
                   Welfare Check              BRP
   0500
06/26/2018
                   Welfare Check              BRP
   0600
06/26/2018
             Snacks, Milk, Juice Provided     BRP                    Flavored drink.
   0604
06/26/2018
               Served meal(Accepted)          BRP                    Hot Meal - Burrito.
   0604
06/26/2018
                   Welfare Check              BRP
   0604
06/26/2018
                   Welfare Check              BRP
   0715
06/26/2018
             Snacks, Milk, Juice Provided     BRP                    granola bar juice
   0716
06/26/2018
                   Welfare Check              BRP
   0716
06/26/2018
                   Welfare Check              BRP
   0747
06/26/2018
                      In Transit              BRP
   0820
06/26/2018
                      Received                RGV
   1004
06/26/2018
                  Shower Provided             RGV
   1023
06/26/2018
              Medical Treatment (OBP)         RGV
   1023
06/26/2018
               Served meal(Accepted)          RGV                    Hot Meal
   1023
06/26/2018
                   Welfare Check              RGV
   1023


KEYLIN M                                                                         Printed:      7/25/18
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                                            Station /
Date/Time             Activity                          Agent Name                    Comments
                                            Facility
06/26/2018
               Separated from Family          RGV                    Cell - Operationally infeasible.
   1052
06/26/2018
                   Welfare Check              RGV
   1104
06/26/2018
                   Welfare Check              RGV
   1245
06/26/2018
               Served meal(Accepted)          RGV                    Hot Meal
   1245
06/26/2018
                   Welfare Check              RGV
   1508
06/26/2018
                   Welfare Check              RGV
   1600
06/26/2018
                   Welfare Check              RGV
   1645
06/26/2018
               Served meal(Accepted)          RGV                    Cold Meal
   1645
06/26/2018
                   Welfare Check              RGV
   1708
06/26/2018
                   Welfare Check              RGV
   1800
06/26/2018
             Rejoined With Family Unit        RGV                    Family visit.
   1830
06/26/2018
                   Welfare Check              RGV
   1900
06/26/2018
               Separated from Family          RGV                    Cell - Operationally infeasible.
   1915
06/26/2018
             Snacks, Milk, Juice Provided     RGV
   2003
06/26/2018
                   Welfare Check              RGV
   2003
06/26/2018
                   Welfare Check              RGV
   2102
06/26/2018
                   Welfare Check              RGV
   2205
06/26/2018
                   Welfare Check              RGV
   2303
06/26/2018
                   Welfare Check              RGV
   2314
06/27/2018
                   Welfare Check              RGV
   0100
06/27/2018
                   Welfare Check              RGV
   0200


KEYLIN M                                                                         Printed:      7/25/18
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                                     Station /
Date/Time          Activity                      Agent Name                   Comments
                                     Facility
06/27/2018
                Welfare Check          RGV
   0441
06/27/2018
                Welfare Check          RGV
   0500
06/27/2018
                Welfare Check          RGV
   0605
06/27/2018
                Welfare Check          RGV
   0700
06/27/2018
                Welfare Check          RGV
   0816
06/27/2018
             Served meal(Accepted)     RGV                    Hot Meal
   0816
06/27/2018
                Welfare Check          RGV
   0820
06/27/2018
                Perm Book Out          RGV
   1020




KEYLIN M                                                                 Printed:      7/25/18
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Subject Activity Log


IRIS E
                                     Gender:                F
                                     DOB:                           (28 yoa)
                                     Nationality:           EL SALVADOR
                                     Accompanying Adult(s):




                                     Event:
                                     A-File #:
                                     FINS #:
                                     Disposition:
Medical Conditions:                                  Detention Reasons:
No Medical Conditions Found                          Immigration Violation




Arrest Date/Time:
Book In Date/Time:
Book Out Date/Time:

Processing Agent:
Transport Officer:
Apprehending Agents:

ORR Facility:

Possible Trafficking?                                      Expresses Fear of Return?




IRIS E                                                                       Printed:      8/7/18
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                                            Subject Activity Log


                                             Station /
Date/Time             Activity                           Agent Name                    Comments
                                             Facility
05/02/2018
                        Arrest                 N/A
   1800
05/02/2018
                       Book In                 RGV
   2003
05/02/2018
                    Welfare Check              RGV
   2009
05/02/2018
                    Welfare Check              RGV
   2059
05/02/2018
                    Welfare Check              RGV
   2235
05/02/2018
                Served meal(Accepted)          RGV                    Cold Meal - Snacks
   2235
05/03/2018   Sleeping Cot/Mat and Blanket
                                               RGV
   0507                Provided
05/03/2018
             Medical Screening Completed       RGV
   0507
05/03/2018                                                            detainee will shower once operations
                        Other                  RGV
   0507                                                               resume at 0700 on 05/03/2018.
05/03/2018
                    Welfare Check              RGV
   0507
05/03/2018
             Snacks, Milk, Juice Provided      RGV
   0507
05/03/2018
                   Shower Provided             RGV
   0739
05/03/2018
                    Welfare Check              RGV
   0747
05/03/2018
                Served meal(Accepted)          RGV                    Cold Meal - fed
   0747
05/03/2018
                    Welfare Check              RGV
   1148
05/03/2018
                    Welfare Check              RGV
   1201
05/03/2018
                    Welfare Check              RGV
   1221
05/03/2018
                Served meal(Accepted)          RGV                    Cold Meal
   1221
05/03/2018
                    Welfare Check              RGV
   1310
05/03/2018
                    Welfare Check              RGV
   1418



IRIS E                                                                            Printed:      8/7/18
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Event:
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                                      #:23695




                                     Station /
Date/Time          Activity                      Agent Name                   Comments
                                     Facility
05/03/2018
                Welfare Check          RGV
   1500
05/03/2018
                Welfare Check          RGV
   1557
05/03/2018
                Welfare Check          RGV
   1715
05/03/2018
             Served meal(Accepted)     RGV                    Hot Meal
   1715
05/03/2018
                Welfare Check          RGV
   1805
05/03/2018
                Welfare Check          RGV
   2015
05/03/2018
                Welfare Check          RGV
   2110
05/03/2018
                Welfare Check          RGV
   2201
05/04/2018
                Welfare Check          RGV
   0239
05/04/2018
                Welfare Check          RGV
   0757
05/04/2018
                Welfare Check          RGV
   0759
05/04/2018
             Served meal(Accepted)     RGV                    Hot Meal
   0759
05/04/2018
                Welfare Check          RGV
   0857
05/04/2018
                Welfare Check          RGV
   0956
05/04/2018
                Welfare Check          RGV
   1057
05/04/2018
                Welfare Check          RGV
   1156
05/04/2018
                Welfare Check          RGV
   1157
05/04/2018
             Served meal(Accepted)     RGV                    Hot Meal
   1157
05/04/2018
                Welfare Check          RGV
   1259
05/04/2018
                Welfare Check          RGV
   1356
05/04/2018
                Welfare Check          RGV
   1502


IRIS E                                                                   Printed:      8/7/18
DOB:            A-File #:                                                Page 3 of 4
Event:
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                                     Station /
Date/Time          Activity                      Agent Name                    Comments
                                     Facility
05/04/2018
                Welfare Check          RGV
   1506
05/04/2018
                Welfare Check          RGV
   1600
05/04/2018
             Served meal(Accepted)     RGV                    Cold Meal
   1600
05/04/2018
                Welfare Check          RGV
   1731
05/04/2018
                Welfare Check          RGV
   1812
05/04/2018
                Welfare Check          RGV
   1904
05/04/2018
                Welfare Check          RGV
   2200
05/04/2018
             Served meal(Accepted)     RGV                    Cold Meal - Snacks
   2200
05/04/2018
              Processing Complete      RGV
   2214
05/05/2018
                Welfare Check          RGV
   0913
05/05/2018
             Served meal(Accepted)     RGV                    Hot Meal
   0913
05/05/2018
                Welfare Check          RGV
   0917
05/05/2018
                Welfare Check          RGV
   1256
05/05/2018
             Served meal(Accepted)     RGV                    Hot Meal
   1256
05/05/2018
                Perm Book Out          RGV
   1414




IRIS                                                                      Printed:      8/7/18
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Event:
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Subject Activity Log


JOSUE G
                                     Gender:                M
                                     DOB:                           (10 yoa)
                                     Nationality:           EL SALVADOR
                                     Accompanying Adult(s): IRIS         E




                                     Event:
                                     A-File #:
                                     FINS #:
                                     Disposition:
Medical Conditions:                                  Detention Reasons:
No Medical Conditions Found                          Immigration Violation




Arrest Date/Time:   05/02/2018 1800
Book In Date/Time:  05/02/2018 2003
Book Out Date/Time: 05/05/2018 1414

Processing Agent:
Transport Officer:
Apprehending Agents:

ORR Facility:

Possible Trafficking?                                      Expresses Fear of Return?




JOSUE G                                                                      Printed:      8/7/18
DOB:                     A-File #:                                           Page 1 of 4
Event:
    Case 2:85-cv-04544-DMG-AGR Document 475-4 Filed 08/24/18 Page 47 of 250 Page ID
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                                            Subject Activity Log


                                             Station /
Date/Time             Activity                           Agent Name                    Comments
                                             Facility
05/02/2018
                        Arrest                 N/A
   1800
05/02/2018
                       Book In                 RGV
   2003
05/02/2018
                    Welfare Check              RGV
   2009
05/02/2018
                    Welfare Check              RGV
   2059
05/02/2018
                    Welfare Check              RGV
   2235
05/02/2018
                Served meal(Accepted)          RGV                    Cold Meal - Snacks
   2235
05/03/2018   Sleeping Cot/Mat and Blanket
                                               RGV
   0507                Provided
05/03/2018
             Medical Screening Completed       RGV
   0507
05/03/2018                                                            detainee will shower once operations
                        Other                  RGV
   0507                                                               resume at 0700 on 05/03/2018.
05/03/2018
                    Welfare Check              RGV
   0507
05/03/2018
             Snacks, Milk, Juice Provided      RGV
   0507
05/03/2018
                   Shower Provided             RGV
   0742
05/03/2018
                    Welfare Check              RGV
   0745
05/03/2018
                 UAC Video Shown               RGV                    know what to expect
   0745
05/03/2018
                Served meal(Accepted)          RGV                    Hot Meal - fed
   0745
05/03/2018
                    Welfare Check              RGV
   1148
05/03/2018
                    Welfare Check              RGV
   1201
05/03/2018
                    Welfare Check              RGV
   1220
05/03/2018
                 UAC Video Shown               RGV                    know what to expect
   1220
05/03/2018
                Served meal(Accepted)          RGV                    Hot Meal - fed
   1220



JOSUE G                                                                         Printed:      8/7/18
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Event:
    Case 2:85-cv-04544-DMG-AGR Document 475-4 Filed 08/24/18 Page 48 of 250 Page ID
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                                         Station /
Date/Time            Activity                        Agent Name                   Comments
                                         Facility
05/03/2018
                  Welfare Check            RGV
   1310
05/03/2018
                  Welfare Check            RGV
   1418
05/03/2018
                  Welfare Check            RGV
   1500
05/03/2018
                  Welfare Check            RGV
   1557
05/03/2018
                  Welfare Check            RGV
   1715
05/03/2018
              Served meal(Accepted)        RGV                    Hot Meal
   1715
05/03/2018
                  Welfare Check            RGV
   1805
05/03/2018
             Rejoined With Family Unit     RGV
   1830
05/03/2018
                  Welfare Check            RGV
   2015
05/03/2018
                  Welfare Check            RGV
   2110
05/03/2018
                  Welfare Check            RGV
   2201
05/04/2018
                  Welfare Check            RGV
   0239
05/04/2018
                  Welfare Check            RGV
   0757
05/04/2018
                  Welfare Check            RGV
   0759
05/04/2018
              Served meal(Accepted)        RGV                    Hot Meal
   0759
05/04/2018
                  Welfare Check            RGV
   0857
05/04/2018
                  Welfare Check            RGV
   0956
05/04/2018
                  Welfare Check            RGV
   1057
05/04/2018
                  Welfare Check            RGV
   1156
05/04/2018
                  Welfare Check            RGV
   1157
05/04/2018
              Served meal(Accepted)        RGV                    Hot Meal
   1157


JOSUE G                                                                      Printed:      8/7/18
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Event:
    Case 2:85-cv-04544-DMG-AGR Document 475-4 Filed 08/24/18 Page 49 of 250 Page ID
                                      #:23700




                                     Station /
Date/Time          Activity                      Agent Name                    Comments
                                     Facility
05/04/2018
                Welfare Check          RGV
   1259
05/04/2018
                Welfare Check          RGV
   1356
05/04/2018
                Welfare Check          RGV
   1502
05/04/2018
                Welfare Check          RGV
   1506
05/04/2018
                Welfare Check          RGV
   1600
05/04/2018
             Served meal(Accepted)     RGV                    Cold Meal
   1600
05/04/2018
                Welfare Check          RGV
   1731
05/04/2018
                Welfare Check          RGV
   1812
05/04/2018
                Welfare Check          RGV
   1904
05/04/2018
                Welfare Check          RGV
   2200
05/04/2018
             Served meal(Accepted)     RGV                    Cold Meal - Snacks
   2200
05/04/2018
              Processing Complete      RGV
   2214
05/05/2018
                Welfare Check          RGV
   0913
05/05/2018
             Served meal(Accepted)     RGV                    Hot Meal
   0913
05/05/2018
                Welfare Check          RGV
   0917
05/05/2018
                Welfare Check          RGV
   1245
05/05/2018
             Served meal(Accepted)     RGV                    Hot Meal
   1245
05/05/2018
                Welfare Check          RGV
   1256
05/05/2018
             Served meal(Accepted)     RGV                    Hot Meal
   1256
05/05/2018
                Perm Book Out          RGV
   1414




JOSUE G                                                                   Printed:      8/7/18
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Event:
   Case 2:85-cv-04544-DMG-AGR Document 475-4 Filed 08/24/18 Page 50 of 250 Page ID
                                     #:23701




Subject Activity Log


DIXIA S
                                     Gender:                F
                                     DOB:                          28 yoa)
                                     Nationality:           HONDURAS
                                     Accompanying Adult(s):




                                     Event:
                                     A-File #:
                                     FINS #:
                                     Disposition:
Medical Conditions:                                 Detention Reasons:
No Medical Conditions Found                         Immigration Violation




Arrest Date/Time:   05/24/2018 0015
Book In Date/Time:  05/24/2018 1030
Book Out Date/Time: 05/27/2018 1258

Processing Agent:
Transport Officer:
Apprehending Agents:

ORR Facility:

Possible Trafficking?                                     Expresses Fear of Return?




DIXIA S                                                                     Printed:      8/11/18
DOB:                     A-File #:                                          Page 1 of 7
Event:
    Case 2:85-cv-04544-DMG-AGR Document 475-4 Filed 08/24/18 Page 51 of 250 Page ID
                                      #:23702

                                            Subject Activity Log


                                             Station /
Date/Time             Activity                           Agent Name                   Comments
                                             Facility
05/24/2018
                        Arrest                 N/A
   0015
05/24/2018
                       Book In                 MCS
   0226
05/24/2018   Sleeping Cot/Mat and Blanket
                                               MCS
   0234                Provided
05/24/2018
             Snacks, Milk, Juice Provided      MCS
   0234
05/24/2018
                    Welfare Check              MCS
   0234
05/24/2018
                    Welfare Check              MCS
   0300
05/24/2018
                    Welfare Check              MCS
   0942
05/24/2018
                      In Transit               MCS
   0945
05/24/2018
                      Received                 RGV
   1030
05/24/2018
                   Shower Provided             RGV
   1031
05/24/2018
              Medical Treatment (OBP)          RGV
   1031
05/24/2018
                Served meal(Accepted)          RGV                    Hot Meal
   1031
05/24/2018
                    Welfare Check              RGV
   1031
05/24/2018
                    Welfare Check              RGV
   1039
05/24/2018
                    Welfare Check              RGV
   1341
05/24/2018
                Served meal(Accepted)          RGV                    Hot Meal
   1341
05/24/2018
                    Welfare Check              RGV                    ALL OK.
   1528
05/24/2018
                    Welfare Check              RGV
   1550
05/24/2018
                    Welfare Check              RGV
   1615
05/24/2018
                Served meal(Accepted)          RGV                    Cold Meal - SNACK/DRINK
   1615



DIXIA S                                                                          Printed:      8/11/18
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Event:
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                                     Station /
Date/Time          Activity                      Agent Name                   Comments
                                     Facility
05/24/2018
                Welfare Check          RGV                    ALL OK.
   1702
05/24/2018
                Welfare Check          RGV                    ALL IS OK.
   1800
05/24/2018
                Welfare Check          RGV                    ALL IS OK.
   1900
05/24/2018
                Welfare Check          RGV                    ALL IS OK.
   2001
05/24/2018
                Welfare Check          RGV                    ALL IS OK.
   2100
05/24/2018
                Welfare Check          RGV
   2245
05/24/2018
                Welfare Check          RGV
   2300
05/25/2018
                Welfare Check          RGV
   0000
05/25/2018
                Welfare Check          RGV
   0100
05/25/2018
                Welfare Check          RGV
   0200
05/25/2018
                Welfare Check          RGV
   0300
05/25/2018
                Welfare Check          RGV
   0400
05/25/2018
                Welfare Check          RGV
   0440
05/25/2018
                Welfare Check          RGV
   0515
05/25/2018
                Welfare Check          RGV
   0543
05/25/2018
                Welfare Check          RGV
   0632
05/25/2018
                Welfare Check          RGV
   0700
05/25/2018
                Welfare Check          RGV
   0745
05/25/2018
                Welfare Check          RGV
   0748
05/25/2018
             Served meal(Accepted)     RGV                    Hot Meal
   0748
05/25/2018
                Welfare Check          RGV
   1021


DIXIA S                                                                  Printed:      8/11/18
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Event:
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                                      #:23704




                                     Station /
Date/Time          Activity                      Agent Name                    Comments
                                     Facility
05/25/2018
                Welfare Check          RGV
   1230
05/25/2018
                Welfare Check          RGV
   1322
05/25/2018
                Welfare Check          RGV
   1325
05/25/2018
             Served meal(Accepted)     RGV                    Hot Meal
   1325
05/25/2018
             Served meal(Accepted)     RGV                    Cold Meal
   1328
05/25/2018
                Welfare Check          RGV
   1412
05/25/2018
                Welfare Check          RGV
   1544
05/25/2018
                Welfare Check          RGV
   1613
05/25/2018
             Served meal(Accepted)     RGV                    Cold Meal
   1613
05/25/2018
                Welfare Check          RGV
   1623
05/25/2018
             Served meal(Accepted)     RGV                    Cold Meal
   1623
05/25/2018
                Welfare Check          RGV
   1723
05/25/2018
                Welfare Check          RGV
   1815
05/25/2018
                Welfare Check          RGV
   1906
05/25/2018
                Welfare Check          RGV
   2042
05/25/2018
                Welfare Check          RGV
   2153
05/25/2018
                Welfare Check          RGV
   2200
05/25/2018
                Welfare Check          RGV
   2321
05/26/2018
                Welfare Check          RGV
   0032
05/26/2018
                Welfare Check          RGV
   0103
05/26/2018
                Welfare Check          RGV
   0201


DIXIA S                                                                   Printed:      8/11/18
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                                      #:23706




                                            Station /
Date/Time             Activity                          Agent Name                    Comments
                                            Facility
05/26/2018
                   Welfare Check              RGV
   2205
05/26/2018
                   Welfare Check              RGV
   2313
05/26/2018
                   Welfare Check              RGV
   2347
05/27/2018
                   Welfare Check              RGV
   0058
05/27/2018
             Snacks, Milk, Juice Provided     RGV                    Snacks/ Juice
   0117
05/27/2018
                   Welfare Check              RGV
   0117
05/27/2018
                   Welfare Check              RGV
   0159
05/27/2018
                   Welfare Check              RGV
   0259
05/27/2018
                   Welfare Check              RGV
   0359
05/27/2018
                   Welfare Check              RGV
   0516
05/27/2018
                   Welfare Check              RGV
   0602
05/27/2018
                   Welfare Check              RGV
   0715
05/27/2018
                   Welfare Check              RGV
   0800
05/27/2018
              Bodily Cleansing Product        RGV
   0956
05/27/2018
               Dental Hygiene Product         RGV
   0956
05/27/2018
               Clean Clothing Provided        RGV
   0956
05/27/2018
                  Shower Provided             RGV
   0956
05/27/2018
                   Welfare Check              RGV
   1006
05/27/2018
                   Welfare Check              RGV
   1008
05/27/2018
                   Welfare Check              RGV
   1028
05/27/2018
               Served meal(Accepted)          RGV                    Cold Meal
   1028


DIXIA S                                                                          Printed:      8/11/18
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Event:
    Case 2:85-cv-04544-DMG-AGR Document 475-4 Filed 08/24/18 Page 56 of 250 Page ID
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                                     Station /
Date/Time          Activity                      Agent Name                    Comments
                                     Facility
05/27/2018
                Welfare Check          RGV
   1115
05/27/2018
                Welfare Check          RGV
   1159
05/27/2018
             Served meal(Accepted)     RGV                    Hot Meal
   1159
05/27/2018
                Welfare Check          RGV
   1202
05/27/2018
             Served meal(Accepted)     RGV                    Cold Meal
   1202
05/27/2018
                Welfare Check          RGV
   1210
05/27/2018
             Served meal(Accepted)     RGV                    Hot Meal - Hot meal served
   1210
05/27/2018
                Perm Book Out          RGV
   1258




DIXIA                                                                     Printed:      8/11/18
DOB:             -File #:                                                 Page 7 of 7
Event:
   Case 2:85-cv-04544-DMG-AGR Document 475-4 Filed 08/24/18 Page 57 of 250 Page ID
                                     #:23708




Subject Activity Log


DIXIANA S
                                     Gender:                F
                                     DOB:                         (10 yoa)
                                     Nationality:           HONDURAS
                                     Accompanying Adult(s): DIXIA          S




                                     Event:
                                     A-File #:
                                     FINS #:
                                     Disposition:
Medical Conditions:                                 Detention Reasons:
No Medical Conditions Found                         Immigration Violation




Arrest Date/Time:   05/24/2018 0015
Book In Date/Time:  05/24/2018 1030
Book Out Date/Time: 05/27/2018 1258

Processing Agent:
Transport Officer:
Apprehending Agents:

ORR Facility:

Possible Trafficking?                                     Expresses Fear of Return?




DIXIANA S                                                                   Printed:      8/11/18
DOB:                     A-File #:                                          Page 1 of 7
Event:
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                                  #:23709
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                                      #:23710




                                     Station /
Date/Time          Activity                      Agent Name                   Comments
                                     Facility
05/24/2018
             Served meal(Accepted)     RGV                    Cold Meal - SNACK/DRINK
   1615
05/24/2018
                Welfare Check          RGV                    ALL OK.
   1702
05/24/2018
                Welfare Check          RGV                    ALL IS OK.
   1800
05/24/2018
                Welfare Check          RGV                    ALL IS OK.
   1900
05/24/2018
                Welfare Check          RGV                    ALL IS OK.
   2001
05/24/2018
                Welfare Check          RGV                    ALL IS OK.
   2100
05/24/2018
                Welfare Check          RGV
   2245
05/24/2018
                Welfare Check          RGV
   2300
05/25/2018
                Welfare Check          RGV
   0000
05/25/2018
                Welfare Check          RGV
   0100
05/25/2018
                Welfare Check          RGV
   0200
05/25/2018
                Welfare Check          RGV
   0300
05/25/2018
                Welfare Check          RGV
   0400
05/25/2018
                Welfare Check          RGV
   0440
05/25/2018
                Welfare Check          RGV
   0515
05/25/2018
                Welfare Check          RGV
   0543
05/25/2018
                Welfare Check          RGV
   0632
05/25/2018
                Welfare Check          RGV
   0700
05/25/2018
                Welfare Check          RGV
   0745
05/25/2018
                Welfare Check          RGV
   0748
05/25/2018
             Served meal(Accepted)     RGV                    Hot Meal
   0748


DIXIANA S                                                                Printed:      8/11/18
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Event:
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                                      #:23712




                                     Station /
Date/Time          Activity                      Agent Name                   Comments
                                     Facility
05/26/2018
                Welfare Check          RGV
   0201
05/26/2018
                Welfare Check          RGV
   0308
05/26/2018
                Welfare Check          RGV
   0402
05/26/2018
                Welfare Check          RGV
   0520
05/26/2018
                Welfare Check          RGV
   0630
05/26/2018
                Welfare Check          RGV
   0644
05/26/2018
                Welfare Check          RGV
   0651
05/26/2018
                Welfare Check          RGV
   0810
05/26/2018
             Served meal(Accepted)     RGV                    Hot Meal
   0810
05/26/2018
                Welfare Check          RGV
   0908
05/26/2018
                Welfare Check          RGV
   0957
05/26/2018
                Welfare Check          RGV
   1057
05/26/2018
                Welfare Check          RGV
   1201
05/26/2018
                Welfare Check          RGV
   1302
05/26/2018
              Processing Complete      RGV
   1403
05/26/2018
                Welfare Check          RGV
   1514
05/26/2018
                Welfare Check          RGV
   1605
05/26/2018
                Welfare Check          RGV
   1706
05/26/2018
                Welfare Check          RGV
   1757
05/26/2018
                Welfare Check          RGV
   1902
05/26/2018
                Welfare Check          RGV
   1959


DIXIANA S                                                                Printed:      8/11/18
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Event:
Case 2:85-cv-04544-DMG-AGR Document 475-4 Filed 08/24/18 Page 62 of 250 Page ID
                                  #:23713
    Case 2:85-cv-04544-DMG-AGR Document 475-4 Filed 08/24/18 Page 63 of 250 Page ID
                                      #:23714




                                     Station /
Date/Time          Activity                      Agent Name                   Comments
                                     Facility
05/27/2018
             Served meal(Accepted)     RGV                    Hot Meal
   1027
05/27/2018
                Welfare Check          RGV
   1115
05/27/2018
                Welfare Check          RGV
   1159
05/27/2018
             Served meal(Accepted)     RGV                    Hot Meal
   1159
05/27/2018
                Perm Book Out          RGV
   1258




DIXIANA                                                                  Printed:      8/11/18
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Event:
   Case 2:85-cv-04544-DMG-AGR Document 475-4 Filed 08/24/18 Page 64 of 250 Page ID
                                     #:23715




Subject Activity Log


MARIA A
                                     Gender:                F
                                     DOB:                         (33 yoa)
                                     Nationality:           HONDURAS
                                     Accompanying Adult(s):




                                     Event:
                                     A-File #:
                                     FINS #:
                                     Disposition:
Medical Conditions:                                 Detention Reasons:
No Medical Conditions Found                         Immigration Violation




Arrest Date/Time:   06/04/2018 2100
Book In Date/Time:  06/05/2018 1115
Book Out Date/Time: 06/06/2018 1139

Processing Agent:
Transport Officer:
Apprehending Agents:

ORR Facility:

Possible Trafficking?                                     Expresses Fear of Return?




MARIA A                                                                     Printed:      8/14/18
DOB:                     A-File #:                                          Page 1 of 4
Event:
    Case 2:85-cv-04544-DMG-AGR Document 475-4 Filed 08/24/18 Page 65 of 250 Page ID
                                      #:23716

                                            Subject Activity Log


                                             Station /
Date/Time             Activity                           Agent Name                    Comments
                                             Facility
06/04/2018
                        Arrest                 N/A
   2100
06/05/2018
                       Book In                 MCS
   0044
06/05/2018
                   Welfare Check               MCS
   0310
06/05/2018
                   Welfare Check               MCS
   0630
06/05/2018
                   Welfare Check               MCS
   0645
06/05/2018
               Served meal(Accepted)           MCS                    Cold Meal
   0645
06/05/2018
                   Welfare Check               MCS
   0930
06/05/2018
             Snacks, Milk, Juice Provided      MCS
   1012
06/05/2018
                   Welfare Check               MCS
   1012
06/05/2018
                   Welfare Check               MCS
   1034
06/05/2018
                      In Transit               MCS
   1059
06/05/2018
                   Welfare Check               RGV
   1115
06/05/2018
                      Received                 RGV
   1115
06/05/2018
                  Shower Provided              RGV
   1116
06/05/2018
              Medical Treatment (OBP)          RGV
   1116
06/05/2018
               Served meal(Accepted)           RGV                    Hot Meal
   1116
06/05/2018
                   Welfare Check               RGV
   1116
06/05/2018
                   Welfare Check               RGV
   1207
06/05/2018
               Served meal(Accepted)           RGV                    Hot Meal
   1207
06/05/2018
                   Welfare Check               RGV
   1230

MARIA A                                                                           Printed:      8/14/18
DOB:                        A-File #:                                             Page 2 of 4
Event:
    Case 2:85-cv-04544-DMG-AGR Document 475-4 Filed 08/24/18 Page 66 of 250 Page ID
                                      #:23717




                                            Station /
Date/Time             Activity                          Agent Name                    Comments
                                            Facility
06/05/2018
               Served meal(Accepted)          RGV                    Hot Meal
   1230
06/05/2018
                   Welfare Check              RGV
   1317
06/05/2018
                   Welfare Check              RGV
   1408
06/05/2018
                   Welfare Check              RGV
   1452
06/05/2018
                   Welfare Check              RGV
   1600
06/05/2018
               Served meal(Accepted)          RGV                    Cold Meal
   1600
06/05/2018
                   Welfare Check              RGV
   1703
06/05/2018
                   Welfare Check              RGV
   1757
06/05/2018
                   Welfare Check              RGV
   2000
06/05/2018
                   Welfare Check              RGV
   2056
06/05/2018
                Processing Complete           RGV
   2146
06/05/2018
             Snacks, Milk, Juice Provided     RGV
   2159
06/05/2018
                   Welfare Check              RGV
   2159
06/05/2018
                   Welfare Check              RGV
   2326
06/06/2018
                   Welfare Check              RGV
   0054
06/06/2018
                   Welfare Check              RGV
   0105
06/06/2018
                   Welfare Check              RGV
   0406
06/06/2018
                   Welfare Check              RGV
   0533
06/06/2018
                   Welfare Check              RGV
   0706
06/06/2018
               Served meal(Accepted)          RGV                    Hot Meal
   0717
06/06/2018
                   Welfare Check              RGV
   0800


MARIA                                                                            Printed:      8/14/18
DOB:               A-File #:                                                     Page 3 of 4
Event:
    Case 2:85-cv-04544-DMG-AGR Document 475-4 Filed 08/24/18 Page 67 of 250 Page ID
                                      #:23718




                                 Station /
Date/Time         Activity                   Agent Name             Comments
                                 Facility
06/06/2018
                Welfare Check      RGV
   0900
06/06/2018
               Perm Book Out       RGV
   1139




MARIA A                                                        Printed:      8/14/18
DOB:           A-File #:                                       Page 4 of 4
Event:
   Case 2:85-cv-04544-DMG-AGR Document 475-4 Filed 08/24/18 Page 68 of 250 Page ID
                                     #:23719




Subject Activity Log


JENRRY N
                                     Gender:                M
                                     DOB:                          4 yoa)
                                     Nationality:           HONDURAS
                                     Accompanying Adult(s): MARIA         A




                                     Event:
                                     A-File #:
                                     FINS #:
                                     Disposition:
Medical Conditions:                                 Detention Reasons:
No Medical Conditions Found                         Immigration Violation




Arrest Date/Time:   06/04/2018 2100
Book In Date/Time:  06/05/2018 1115
Book Out Date/Time: 06/06/2018 1139

Processing Agent:
Transport Officer:
Apprehending Agents

ORR Facility:

Possible Trafficking?                                     Expresses Fear of Return?




JENRRY N                                                                    Printed:      8/14/18
DOB:                     A-File #:                                          Page 1 of 4
Event:
    Case 2:85-cv-04544-DMG-AGR Document 475-4 Filed 08/24/18 Page 69 of 250 Page ID
                                      #:23720

                                            Subject Activity Log


                                             Station /
Date/Time             Activity                           Agent Name                    Comments
                                             Facility
06/04/2018
                        Arrest                 N/A
   2100
06/05/2018
                       Book In                 MCS
   0046
06/05/2018
                   Welfare Check               MCS
   0310
06/05/2018
                   Welfare Check               MCS
   0630
06/05/2018
                   Welfare Check               MCS
   0645
06/05/2018
               Served meal(Accepted)           MCS                    Cold Meal
   0645
06/05/2018
                   Welfare Check               MCS
   0930
06/05/2018
             Snacks, Milk, Juice Provided      MCS
   1012
06/05/2018
                   Welfare Check               MCS
   1012
06/05/2018
                   Welfare Check               MCS
   1034
06/05/2018
                      In Transit               MCS
   1059
06/05/2018
                   Welfare Check               RGV
   1115
06/05/2018
                      Received                 RGV
   1115
06/05/2018
                  Shower Provided              RGV
   1116
06/05/2018
              Medical Treatment (OBP)          RGV
   1116
06/05/2018
               Served meal(Accepted)           RGV                    Hot Meal
   1116
06/05/2018
                   Welfare Check               RGV
   1116
06/05/2018
                   Welfare Check               RGV
   1207
06/05/2018
               Served meal(Accepted)           RGV                    Hot Meal
   1207
06/05/2018
                   Welfare Check               RGV
   1230

JENRRY N                                                                          Printed:      8/14/18
DOB:                        A-File #:                                             Page 2 of 4
Event:
    Case 2:85-cv-04544-DMG-AGR Document 475-4 Filed 08/24/18 Page 70 of 250 Page ID
                                      #:23721




                                            Station /
Date/Time             Activity                          Agent Name                    Comments
                                            Facility
06/05/2018
               Served meal(Accepted)          RGV                    Hot Meal
   1230
06/05/2018
                   Welfare Check              RGV
   1317
06/05/2018
                   Welfare Check              RGV
   1408
06/05/2018
                   Welfare Check              RGV
   1452
06/05/2018
                   Welfare Check              RGV
   1600
06/05/2018
               Served meal(Accepted)          RGV                    Cold Meal
   1600
06/05/2018
                   Welfare Check              RGV
   1703
06/05/2018
                   Welfare Check              RGV
   1757
06/05/2018
                   Welfare Check              RGV
   2000
06/05/2018
                   Welfare Check              RGV
   2056
06/05/2018
                Processing Complete           RGV
   2146
06/05/2018
             Snacks, Milk, Juice Provided     RGV
   2159
06/05/2018
                   Welfare Check              RGV
   2159
06/05/2018
                   Welfare Check              RGV
   2326
06/06/2018
                   Welfare Check              RGV
   0054
06/06/2018
                   Welfare Check              RGV
   0105
06/06/2018
                   Welfare Check              RGV
   0406
06/06/2018
                   Welfare Check              RGV
   0533
06/06/2018
                   Welfare Check              RGV
   0706
06/06/2018
               Served meal(Accepted)          RGV                    Hot Meal
   0717
06/06/2018
                   Welfare Check              RGV
   0800


JENRRY N                                                                         Printed:      8/14/18
DOB:               A-File #:                                                     Page 3 of 4
Event:
    Case 2:85-cv-04544-DMG-AGR Document 475-4 Filed 08/24/18 Page 71 of 250 Page ID
                                      #:23722




                                 Station /
Date/Time         Activity                   Agent Name             Comments
                                 Facility
06/06/2018
                Welfare Check      RGV
   0900
06/06/2018
               Perm Book Out       RGV
   1139




JENRRY N                                                       Printed:      8/14/18
DOB:           A-File #:                                       Page 4 of 4
Event:
   Case 2:85-cv-04544-DMG-AGR Document 475-4 Filed 08/24/18 Page 72 of 250 Page ID
                                     #:23723




Subject Activity Log


ANA M
                                     Gender:                F
                                     DOB:                           (26 yoa)
                                     Nationality:           EL SALVADOR
                                     Accompanying Adult(s):




                                     Event:
                                     A-File #:
                                     FINS #:
                                     Disposition:
Medical Conditions:                                  Detention Reasons:
No Medical Conditions Found                          Immigration Violation




Arrest Date/Time:   05/05/2018 0505
Book In Date/Time:  05/05/2018 0905
Book Out Date/Time: 05/09/2018 1011

Processing Agent:
Transport Officer:
Apprehending Agents:

ORR Facility:

Possible Trafficking?                                      Expresses Fear of Return?




ANA M                                                                        Printed:      8/8/18
DOB:                     A-File #:                                           Page 1 of 6
Event:
    Case 2:85-cv-04544-DMG-AGR Document 475-4 Filed 08/24/18 Page 73 of 250 Page ID
                                      #:23724

                                     Subject Activity Log


                                      Station /
Date/Time          Activity                       Agent Name                    Comments
                                      Facility
05/05/2018
                    Arrest              N/A
   0505
05/05/2018
                   Book In              RGV
   0905
05/05/2018
                Welfare Check           RGV
   0913
05/05/2018
             Served meal(Accepted)      RGV                    Hot Meal
   0913
05/05/2018
                Welfare Check           RGV
   0917
05/05/2018
                Welfare Check           RGV
   1256
05/05/2018
             Served meal(Accepted)      RGV                    Hot Meal
   1256
05/05/2018
                Welfare Check           RGV
   1514
05/05/2018
                Welfare Check           RGV
   1600
05/05/2018
             Served meal(Accepted)      RGV                    Cold Meal
   1600
05/05/2018
                Welfare Check           RGV
   1910
05/05/2018
                Welfare Check           RGV
   2018
05/05/2018
                Welfare Check           RGV
   2116
05/05/2018
                Welfare Check           RGV
   2202
05/05/2018
             Served meal(Accepted)      RGV                    Cold Meal - Snacks
   2202
05/06/2018
               Shower Provided          RGV
   0721
05/06/2018
                Welfare Check           RGV
   0802
05/06/2018
                Welfare Check           RGV
   0940
05/06/2018
             Served meal(Accepted)      RGV                    Hot Meal
   0940
05/06/2018
                Welfare Check           RGV
   1001



ANA M                                                                      Printed:      8/8/18
DOB:                    A-File #:                                          Page 2 of 6
Event:
    Case 2:85-cv-04544-DMG-AGR Document 475-4 Filed 08/24/18 Page 74 of 250 Page ID
                                      #:23725




                                     Station /
Date/Time          Activity                      Agent Name                    Comments
                                     Facility
05/06/2018
                Welfare Check          RGV
   1111
05/06/2018
                Welfare Check          RGV
   1206
05/06/2018
             Served meal(Accepted)     RGV                    Hot Meal
   1206
05/06/2018
                Welfare Check          RGV
   1303
05/06/2018
                Welfare Check          RGV
   1402
05/06/2018
                Welfare Check          RGV
   1413
05/06/2018
                Welfare Check          RGV
   1507
05/06/2018
                Welfare Check          RGV
   1559
05/06/2018
             Served meal(Accepted)     RGV                    Cold Meal
   1559
05/06/2018
                Welfare Check          RGV
   1716
05/06/2018
                Welfare Check          RGV
   1902
05/06/2018
                Welfare Check          RGV
   2009
05/06/2018
                Welfare Check          RGV
   2107
05/06/2018
                Welfare Check          RGV
   2200
05/06/2018
             Served meal(Accepted)     RGV                    Cold Meal - Snacks
   2200
05/07/2018
                Welfare Check          RGV
   0421
05/07/2018
                Welfare Check          RGV
   0539
05/07/2018
                Welfare Check          RGV
   0556
05/07/2018
                Welfare Check          RGV
   0810
05/07/2018
                Welfare Check          RGV
   0812
05/07/2018
             Served meal(Accepted)     RGV                    Hot Meal
   0812


ANA M                                                                     Printed:      8/8/18
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Event:
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                                      #:23726




                                            Station /
Date/Time             Activity                          Agent Name                    Comments
                                            Facility
05/07/2018
                   Welfare Check              RGV
   0814
05/07/2018
                   Welfare Check              RGV
   0901
05/07/2018
                Processing Complete           RGV
   1001
05/07/2018
                   Welfare Check              RGV
   1002
05/07/2018
                   Welfare Check              RGV
   1303
05/07/2018
                   Welfare Check              RGV
   1428
05/07/2018
                   Welfare Check              RGV
   1447
05/07/2018
                   Welfare Check              RGV
   1506
05/07/2018
                   Welfare Check              RGV
   1601
05/07/2018
               Served meal(Accepted)          RGV                    Cold Meal
   1601
05/07/2018
                   Welfare Check              RGV
   1701
05/07/2018
                   Welfare Check              RGV
   1805
05/07/2018
                   Welfare Check              RGV
   1859
05/07/2018
                   Welfare Check              RGV
   2058
05/07/2018
             Snacks, Milk, Juice Provided     RGV
   2219
05/07/2018
                   Welfare Check              RGV
   2219
05/08/2018
                   Welfare Check              RGV
   0656
05/08/2018
             Snacks, Milk, Juice Provided     RGV
   0753
05/08/2018
               Served meal(Accepted)          RGV                    Hot Meal
   0753
05/08/2018
                   Welfare Check              RGV
   0753
05/08/2018
                   Welfare Check              RGV
   0755


ANA M                                                                            Printed:      8/8/18
DOB:                -File #:                                                     Page 4 of 6
Event:
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                                      #:23727




                                            Station /
Date/Time             Activity                          Agent Name                   Comments
                                            Facility
05/08/2018
                   Welfare Check              RGV
   0857
05/08/2018
                   Welfare Check              RGV
   1043
05/08/2018
                   Welfare Check              RGV
   1317
05/08/2018
             Snacks, Milk, Juice Provided     RGV
   1318
05/08/2018
               Served meal(Accepted)          RGV                    Hot Meal
   1318
05/08/2018
                   Welfare Check              RGV
   1318
05/08/2018
                   Welfare Check              RGV
   1503
05/08/2018
                   Welfare Check              RGV
   1604
05/08/2018
                   Welfare Check              RGV
   1713
05/08/2018
                   Welfare Check              RGV
   1815
05/08/2018
                   Welfare Check              RGV
   2013
05/08/2018
                   Welfare Check              RGV
   2106
05/08/2018
             Snacks, Milk, Juice Provided     RGV
   2203
05/08/2018
                   Welfare Check              RGV
   2203
05/09/2018
                   Welfare Check              RGV
   0700
05/09/2018
                   Welfare Check              RGV
   0701
05/09/2018
               Served meal(Accepted)          RGV                    Hot Meal
   0701
05/09/2018
                   Welfare Check              RGV
   0800
05/09/2018
              Bodily Cleansing Product        RGV
   0903
05/09/2018
               Dental Hygiene Product         RGV
   0903
05/09/2018
               Clean Clothing Provided        RGV
   0903


ANA M                                                                           Printed:      8/8/18
DOB:               A-File #:                                                    Page 5 of 6
Event:
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                                      #:23728




                                 Station /
Date/Time         Activity                   Agent Name             Comments
                                 Facility
05/09/2018
               Shower Provided     RGV
   0903
05/09/2018
               Perm Book Out       RGV
   1011




ANA M                                                          Printed:      8/8/18
DOB:           A-File #:                                       Page 6 of 6
Event:
   Case 2:85-cv-04544-DMG-AGR Document 475-4 Filed 08/24/18 Page 78 of 250 Page ID
                                     #:23729




Subject Activity Log


ASHLI R
                                     Gender:                F
                                     DOB:                           (6 yoa)
                                     Nationality:           EL SALVADOR
                                     Accompanying Adult(s): ANA         M




                                     Event:
                                     A-File #:
                                     FINS #:
                                     Disposition:
Medical Conditions:                                  Detention Reasons:
No Medical Conditions Found                          Immigration Violation




Arrest Date/Time:   05/05/2018 0505
Book In Date/Time:  05/05/2018 0905
Book Out Date/Time: 05/09/2018 1011

Processing Agent:
Transport Officer:
Apprehending Agents:

ORR Facility:

Possible Trafficking?                                      Expresses Fear of Return?




ASHLI R                                                                      Printed:      8/8/18
DOB:                     A-File #:                                           Page 1 of 6
Event:
    Case 2:85-cv-04544-DMG-AGR Document 475-4 Filed 08/24/18 Page 79 of 250 Page ID
                                      #:23730

                                     Subject Activity Log


                                      Station /
Date/Time          Activity                       Agent Name                    Comments
                                      Facility
05/05/2018
                    Arrest              N/A
   0505
05/05/2018
                   Book In              RGV
   0905
05/05/2018
                Welfare Check           RGV
   0913
05/05/2018
             Served meal(Accepted)      RGV                    Hot Meal
   0913
05/05/2018
                Welfare Check           RGV
   0917
05/05/2018
              UAC Video Shown           RGV
   0918
05/05/2018
                Welfare Check           RGV
   1245
05/05/2018
             Served meal(Accepted)      RGV                    Hot Meal
   1245
05/05/2018
                Welfare Check           RGV
   1256
05/05/2018
             Served meal(Accepted)      RGV                    Hot Meal
   1256
05/05/2018
                Welfare Check           RGV
   1514
05/05/2018
                Welfare Check           RGV
   1600
05/05/2018
             Served meal(Accepted)      RGV                    Cold Meal
   1600
05/05/2018
                Welfare Check           RGV
   1910
05/05/2018
                Welfare Check           RGV
   2018
05/05/2018
                Welfare Check           RGV
   2116
05/05/2018
                Welfare Check           RGV
   2202
05/05/2018
             Served meal(Accepted)      RGV                    Cold Meal - Snacks
   2202
05/06/2018
               Shower Provided          RGV
   0721
05/06/2018
                Welfare Check           RGV
   0802



ASHLI R                                                                    Printed:      8/8/18
DOB:                    A-File #:                                          Page 2 of 6
Event:
Case 2:85-cv-04544-DMG-AGR Document 475-4 Filed 08/24/18 Page 80 of 250 Page ID
                                  #:23731
Case 2:85-cv-04544-DMG-AGR Document 475-4 Filed 08/24/18 Page 81 of 250 Page ID
                                  #:23732
Case 2:85-cv-04544-DMG-AGR Document 475-4 Filed 08/24/18 Page 82 of 250 Page ID
                                  #:23733
    Case 2:85-cv-04544-DMG-AGR Document 475-4 Filed 08/24/18 Page 83 of 250 Page ID
                                      #:23734




                                     Station /
Date/Time          Activity                      Agent Name                   Comments
                                     Facility
05/09/2018
                Welfare Check          RGV
   0700
05/09/2018
                Welfare Check          RGV
   0701
05/09/2018
             Served meal(Accepted)     RGV                    Hot Meal
   0701
05/09/2018
                Welfare Check          RGV
   0800
05/09/2018
                Perm Book Out          RGV
   1011




ASHLI R                                                                  Printed:      8/8/18
DOB:             -File #:                                                Page 6 of 6
Event:
   Case 2:85-cv-04544-DMG-AGR Document 475-4 Filed 08/24/18 Page 84 of 250 Page ID
                                     #:23735




Subject Activity Log


JUSTIN G
                                      Gender:
                                      DOB:                           13 yoa)
                                      Nationality:           EL SALVADOR
                                      Accompanying Adult(s):




                                      Event:
                                      A-File #:
                                      FINS #:
                                      Disposition:
Medical Conditions:                                  Detention Reasons:
No Medical Conditions Found                          Immigration Violation




Arrest Date/Time:   06/13/2018 2000
Book In Date/Time:  06/15/2018 0020
Book Out Date/Time: 06/15/2018 2348

Processing Agent:
Transport Officer:
Apprehending Agents:

ORR Facility:           BAPTIST CHILD & FAMILY SVCS-HLG

Possible Trafficking?                                      Expresses Fear of Return?




JUSTIN G                                                                     Printed:      8/7/18
DOB:                      A-File #:                                          Page 1 of 5
Event:
    Case 2:85-cv-04544-DMG-AGR Document 475-4 Filed 08/24/18 Page 85 of 250 Page ID
                                      #:23736

                                            Subject Activity Log


                                             Station /
Date/Time             Activity                           Agent Name                    Comments
                                             Facility
06/13/2018
                        Arrest                 N/A
   2000
06/13/2018
                       Book In                 MCS
   2357
06/14/2018
                   Welfare Check               MCS
   0243
06/14/2018
                Served meal(Accepted)          MCS                    Cold Meal - sandwich juice
   0243
06/14/2018
                   Welfare Check               MCS
   0654
06/14/2018
                   Welfare Check               MCS
   0719
06/14/2018
                Served meal(Accepted)          MCS                    Cold Meal
   0719
06/14/2018
                   Welfare Check               MCS
   0805
06/14/2018
                   Welfare Check               MCS
   1146
06/14/2018
                   Welfare Check               MCS
   1253
06/14/2018
                   Welfare Check               MCS
   1304
06/14/2018
                Served meal(Accepted)          MCS                    Cold Meal
   1304
06/14/2018
                   Welfare Check               MCS
   1357
06/14/2018
             Snacks, Milk, Juice Provided      MCS
   1519
06/14/2018
             Medical Screening Completed       MCS
   1519
06/14/2018
                   Welfare Check               MCS
   1519
06/14/2018
             Snacks, Milk, Juice Provided      MCS
   1619
06/14/2018
             Medical Screening Completed       MCS
   1619
06/14/2018
                   Welfare Check               MCS
   1619
06/14/2018
             Snacks, Milk, Juice Provided      MCS
   1820



JUSTIN G                                                                          Printed:      8/7/18
DOB:                        A-File #:                                             Page 2 of 5
Event:
    Case 2:85-cv-04544-DMG-AGR Document 475-4 Filed 08/24/18 Page 86 of 250 Page ID
                                      #:23737




                                            Station /
Date/Time             Activity                          Agent Name                    Comments
                                            Facility
06/14/2018
             Medical Screening Completed      MCS
   1820
06/14/2018
                    Welfare Check             MCS
   1820
06/14/2018   Sleeping Cot/Mat and Blanket
                                              MCS
   1900                Provided
06/14/2018
                    Welfare Check             MCS
   1900
06/14/2018
             Snacks, Milk, Juice Provided     MCS
   1900
06/14/2018
                    Welfare Check             MCS
   1905
06/14/2018
                Served meal(Accepted)         MCS                    Cold Meal
   1905
06/14/2018
                    Welfare Check             MCS
   1939
06/14/2018
                Served meal(Accepted)         MCS                    Cold Meal
   1939
06/14/2018
               FOJC and ORR Notified          MCS                    Transaction ID:
   1942
06/14/2018
             Snacks, Milk, Juice Provided     MCS
   2035
06/14/2018
             Medical Screening Completed      MCS
   2035
06/14/2018
                    Welfare Check             MCS
   2035
06/14/2018
             Snacks, Milk, Juice Provided     MCS
   2123
06/14/2018
             Medical Screening Completed      MCS
   2123
06/14/2018
                    Welfare Check             MCS
   2123
06/15/2018
                      In Transit              MCS
   0014
06/15/2018
                      Received                RGV
   0020
06/15/2018   Sleeping Cot/Mat and Blanket
                                              RGV
   0021                Provided
06/15/2018
             Medical Screening Completed      RGV
   0021
06/15/2018                                                           subjects will be offered a shower at
                        Other                 RGV
   0021                                                              0700hrs


JUSTIN G                                                                         Printed:      8/7/18
DOB:               A-File #:                                                     Page 3 of 5
Event:
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Case 2:85-cv-04544-DMG-AGR Document 475-4 Filed 08/24/18 Page 88 of 250 Page ID
                                  #:23739
   Case 2:85-cv-04544-DMG-AGR Document 475-4 Filed 08/24/18 Page 89 of 250 Page ID
                                     #:23740




Subject Activity Log


RUTH M
                                     Gender:                F
                                     DOB:                         (28 yoa)
                                     Nationality:           HONDURAS
                                     Accompanying Adult(s):




                                     Event:
                                     A-File #:
                                     FINS #:
                                     Disposition:
Medical Conditions:                                 Detention Reasons:
No Medical Conditions Found                         Immigration Violation




Arrest Date/Time:   06/04/2018 2100
Book In Date/Time:  06/06/2018 1648
Book Out Date/Time: 06/09/2018 1350

Processing Agent:
Transport Officer:
Apprehending Agents:

ORR Facility:

Possible Trafficking?                                     Expresses Fear of Return?




RUTH M                                                                      Printed:      8/14/18
DOB:                     A-File #:                                          Page 1 of 7
Event:
    Case 2:85-cv-04544-DMG-AGR Document 475-4 Filed 08/24/18 Page 90 of 250 Page ID
                                      #:23741

                                            Subject Activity Log


                                             Station /
Date/Time             Activity                           Agent Name                    Comments
                                             Facility
06/04/2018
                        Arrest                 N/A
   2100
06/05/2018
                       Book In                 MCS
   0102
06/05/2018
                   Welfare Check               MCS
   0310
06/05/2018
                   Welfare Check               MCS
   0630
06/05/2018
                   Welfare Check               MCS
   0645
06/05/2018
               Served meal(Accepted)           MCS                    Cold Meal
   0645
06/05/2018
                   Welfare Check               MCS
   0930
06/05/2018
             Snacks, Milk, Juice Provided      MCS
   1012
06/05/2018
                   Welfare Check               MCS
   1012
06/05/2018
                   Welfare Check               MCS
   1034
06/05/2018
                   Welfare Check               MCS
   1104
06/05/2018
                   Welfare Check               MCS
   1207
06/05/2018
                   Welfare Check               MCS
   1314
06/05/2018
                   Welfare Check               MCS
   1342
06/05/2018
                   Welfare Check               MCS                    subject is doing well
   2158
06/05/2018
                   Welfare Check               MCS
   2234
06/05/2018
               Served meal(Accepted)           MCS                    Cold Meal - Sandwich and juice
   2234
06/05/2018
                      In Transit               MCS
   2353
06/06/2018
                      Received                 RGV
   0049
06/06/2018
                   Welfare Check               RGV
   0054

RUTH M                                                                            Printed:      8/14/18
DOB:                        A-File #:                                             Page 2 of 7
Event:
    Case 2:85-cv-04544-DMG-AGR Document 475-4 Filed 08/24/18 Page 91 of 250 Page ID
                                      #:23742




                                     Station /
Date/Time          Activity                      Agent Name                    Comments
                                     Facility
06/06/2018
                Welfare Check          RGV
   0105
06/06/2018
                Welfare Check          RGV
   0406
06/06/2018
                Welfare Check          RGV
   0533
06/06/2018
             Served meal(Accepted)     RGV                    Cold Meal
   0700
06/06/2018
                Welfare Check          RGV
   0706
06/06/2018
                Welfare Check          RGV
   0800
06/06/2018
                Welfare Check          RGV
   0900
06/06/2018
                Perm Book Out          RGV
   0948
06/06/2018
                    Book In            RGV
   1648
06/06/2018
                Welfare Check          RGV
   1701
06/06/2018
                Welfare Check          RGV
   1800
06/06/2018
                Welfare Check          RGV
   1900
06/06/2018
                Welfare Check          RGV
   1959
06/06/2018
                Welfare Check          RGV
   2100
06/06/2018
                Welfare Check          RGV
   2200
06/07/2018
                Welfare Check          RGV
   0041
06/07/2018
                Welfare Check          RGV
   0136
06/07/2018
                Welfare Check          RGV
   0301
06/07/2018
                Welfare Check          RGV
   0400
06/07/2018
                Welfare Check          RGV
   0818
06/07/2018
             Served meal(Accepted)     RGV                    Cold Meal - fed
   0818


RUTH M                                                                    Printed:      8/14/18
DOB:            A-File #:                                                 Page 3 of 7
Event:
Case 2:85-cv-04544-DMG-AGR Document 475-4 Filed 08/24/18 Page 92 of 250 Page ID
                                  #:23743
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                                      #:23744




                                     Station /
Date/Time          Activity                      Agent Name                    Comments
                                     Facility
06/07/2018
             Served meal(Accepted)     RGV                    Cold Meal - snacks
   2235
06/07/2018
                Welfare Check          RGV                    Subject is sound and well
   2300
06/07/2018
             Served meal(Accepted)     RGV                    Cold Meal - Snack provided
   2300
06/08/2018
                Welfare Check          RGV                    Subject is sound and well
   0000
06/08/2018
                Welfare Check          RGV                    Subject is sound and well
   0100
06/08/2018
                Welfare Check          RGV                    Subject is sound and well
   0200
06/08/2018
                Welfare Check          RGV                    Subject is sound and well
   0300
06/08/2018
                Welfare Check          RGV                    Subject is sound and well
   0400
06/08/2018
                Welfare Check          RGV
   0911
06/08/2018
                Welfare Check          RGV
   1009
06/08/2018
                Welfare Check          RGV
   1120
06/08/2018
                Welfare Check          RGV
   1206
06/08/2018
             Served meal(Accepted)     RGV                    Hot Meal
   1206
06/08/2018
                Welfare Check          RGV
   1333
06/08/2018
                Welfare Check          RGV
   1414
06/08/2018
                Welfare Check          RGV
   1558
06/08/2018
             Served meal(Accepted)     RGV                    Cold Meal
   1558
06/08/2018
                Welfare Check          RGV
   1703
06/08/2018
                Welfare Check          RGV
   1803
06/08/2018
                Welfare Check          RGV
   1900
06/08/2018
                Welfare Check          RGV
   2002


RUTH M                                                                    Printed:      8/14/18
DOB:             -File #:                                                 Page 5 of 7
Event:
    Case 2:85-cv-04544-DMG-AGR Document 475-4 Filed 08/24/18 Page 94 of 250 Page ID
                                      #:23745




                                     Station /
Date/Time          Activity                      Agent Name                    Comments
                                     Facility
06/08/2018
                Welfare Check          RGV
   2100
06/08/2018
                Welfare Check          RGV
   2103
06/08/2018
                Welfare Check          RGV
   2200
06/08/2018
                Welfare Check          RGV
   2256
06/08/2018
             Served meal(Accepted)     RGV                    Cold Meal - Snacks
   2256
06/08/2018
                Welfare Check          RGV                    Subject is sound and well
   2300
06/08/2018
                Welfare Check          RGV
   2330
06/08/2018
             Served meal(Accepted)     RGV                    Cold Meal - Snack provided during roll call
   2330
06/09/2018
                Welfare Check          RGV                    Subject is sound and well
   0000
06/09/2018
                Welfare Check          RGV                    Subject is sound and well
   0100
06/09/2018
                Welfare Check          RGV                    Subject is sound and well
   0200
06/09/2018
                Welfare Check          RGV                    Subject is sound and well
   0300
06/09/2018
                Welfare Check          RGV                    Subject is sound and well
   0400
06/09/2018
                Welfare Check          RGV
   0433
06/09/2018
                Welfare Check          RGV                    Subject is sound and well
   0500
06/09/2018
                Welfare Check          RGV                    Subject is sound and well
   0600
06/09/2018
                Welfare Check          RGV
   0620
06/09/2018
             Served meal(Accepted)     RGV                    Cold Meal
   0658
06/09/2018
                Welfare Check          RGV
   1228
06/09/2018
             Served meal(Accepted)     RGV                    Hot Meal
   1228
06/09/2018
                Welfare Check          RGV
   1231


RUTH M                                                                    Printed:      8/14/18
DOB:            A-File #:                                                 Page 6 of 7
Event:
    Case 2:85-cv-04544-DMG-AGR Document 475-4 Filed 08/24/18 Page 95 of 250 Page ID
                                      #:23746




                                     Station /
Date/Time          Activity                      Agent Name                    Comments
                                     Facility
06/09/2018
             Served meal(Accepted)     RGV                    Cold Meal
   1231
06/09/2018
                Perm Book Out          RGV
   1350




RUTH M                                                                    Printed:      8/14/18
DOB:            A-File #:                                                 Page 7 of 7
Event:
   Case 2:85-cv-04544-DMG-AGR Document 475-4 Filed 08/24/18 Page 96 of 250 Page ID
                                     #:23747




Subject Activity Log


CARLOS M
                                     Gender:                M
                                     DOB:                         (7 yoa)
                                     Nationality:           HONDURAS
                                     Accompanying Adult(s): RUTH          M




                                     Event:
                                     A-File #:
                                     FINS #:
                                     Disposition:
Medical Conditions:                                 Detention Reasons:
No Medical Conditions Found                         Immigration Violation




Arrest Date/Time:   06/04/2018 2100
Book In Date/Time:  06/05/2018 1941
Book Out Date/Time: 06/09/2018 1350

Processing Agent:
Transport Officer:
Apprehending Agents:

ORR Facility:

Possible Trafficking?                                     Expresses Fear of Return?




CARLOS M                                                                    Printed:      8/14/18
DOB:                     A-File #:                                          Page 1 of 8
Event:
    Case 2:85-cv-04544-DMG-AGR Document 475-4 Filed 08/24/18 Page 97 of 250 Page ID
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                                            Subject Activity Log


                                             Station /
Date/Time             Activity                           Agent Name                    Comments
                                             Facility
06/04/2018
                        Arrest                 N/A
   2100
06/05/2018
                       Book In                 MCS
   0103
06/05/2018
                    Welfare Check              MCS
   0310
06/05/2018
                    Welfare Check              MCS
   0630
06/05/2018
                    Welfare Check              MCS
   0645
06/05/2018
                Served meal(Accepted)          MCS                    Cold Meal
   0645
06/05/2018
                    Welfare Check              MCS
   0930
06/05/2018
             Snacks, Milk, Juice Provided      MCS
   1012
06/05/2018
                    Welfare Check              MCS
   1012
06/05/2018
                    Welfare Check              MCS
   1034
06/05/2018
                    Welfare Check              MCS
   1104
06/05/2018
                    Welfare Check              MCS
   1207
06/05/2018
                    Welfare Check              MCS
   1314
06/05/2018
                    Welfare Check              MCS
   1342
06/05/2018
               FOJC and ORR Notified           MCS                    Transaction ID:
   1615
06/05/2018
                      In Transit               MCS
   1833
06/05/2018
                      Received                 RGV
   1941
06/05/2018   Sleeping Cot/Mat and Blanket
                                               RGV
   1954                Provided
06/05/2018
             Medical Screening Completed       RGV
   1954
06/05/2018                                                            showers will be provided once facilities
                        Other                  RGV
   1954                                                               open up at 700am.

CARLOS M                                                                          Printed:      8/14/18
DOB:                        A-File #:                                             Page 2 of 8
Event:
Case 2:85-cv-04544-DMG-AGR Document 475-4 Filed 08/24/18 Page 98 of 250 Page ID
                                  #:23749
    Case 2:85-cv-04544-DMG-AGR Document 475-4 Filed 08/24/18 Page 99 of 250 Page ID
                                      #:23750




                                     Station /
Date/Time          Activity                      Agent Name                    Comments
                                     Facility
06/06/2018
                Welfare Check          RGV
   1500
06/06/2018
                Welfare Check          RGV
   1559
06/06/2018
             Served meal(Accepted)     RGV                    Cold Meal
   1559
06/06/2018
              UAC Video Shown          RGV
   1659
06/06/2018
                Welfare Check          RGV
   1701
06/06/2018
                Welfare Check          RGV
   1800
06/06/2018
                Welfare Check          RGV
   1900
06/06/2018
                Welfare Check          RGV
   1959
06/06/2018
                Welfare Check          RGV
   2100
06/06/2018
                Welfare Check          RGV
   2200
06/07/2018
                Welfare Check          RGV
   0041
06/07/2018
                Welfare Check          RGV
   0136
06/07/2018
                Welfare Check          RGV
   0301
06/07/2018
                Welfare Check          RGV
   0400
06/07/2018
                Welfare Check          RGV
   0817
06/07/2018
              UAC Video Shown          RGV                    know what to expect
   0817
06/07/2018
             Served meal(Accepted)     RGV                    Hot Meal - fed
   0817
06/07/2018
                Welfare Check          RGV
   0833
06/07/2018
                Welfare Check          RGV
   0919
06/07/2018
                Welfare Check          RGV
   1008
06/07/2018
                Welfare Check          RGV
   1111


CARLOS M                                                                  Printed:      8/14/18
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Event:
    Case 2:85-cv-04544-DMG-AGR Document 475-4 Filed 08/24/18 Page 100 of 250 Page ID
                                      #:23751




                                     Station /
Date/Time          Activity                      Agent Name                    Comments
                                     Facility
06/07/2018
                Welfare Check          RGV
   1145
06/07/2018
              UAC Video Shown          RGV                    know what to expect
   1145
06/07/2018
             Served meal(Accepted)     RGV                    Hot Meal - fed
   1145
06/07/2018
                Welfare Check          RGV
   1151
06/07/2018
                Welfare Check          RGV
   1246
06/07/2018
                Welfare Check          RGV
   1310
06/07/2018
                Welfare Check          RGV
   1404
06/07/2018
                Welfare Check          RGV
   1513
06/07/2018
                Welfare Check          RGV
   1600
06/07/2018
             Served meal(Accepted)     RGV                    Cold Meal
   1600
06/07/2018
                Welfare Check          RGV
   1605
06/07/2018
                Welfare Check          RGV
   1718
06/07/2018
                Welfare Check          RGV
   1802
06/07/2018
                Welfare Check          RGV
   1931
06/07/2018
                Welfare Check          RGV
   2015
06/07/2018
                Welfare Check          RGV
   2117
06/07/2018
                Welfare Check          RGV
   2226
06/07/2018
                Welfare Check          RGV
   2235
06/07/2018
             Served meal(Accepted)     RGV                    Cold Meal - snacks
   2235
06/07/2018
                Welfare Check          RGV                    Subject is sound and well
   2300
06/07/2018
             Served meal(Accepted)     RGV                    Cold Meal - Snack provided
   2300


CARLOS M                                                                  Printed:      8/14/18
DOB:            A-File #:                                                 Page 5 of 8
Event:
Case 2:85-cv-04544-DMG-AGR Document 475-4 Filed 08/24/18 Page 101 of 250 Page ID
                                  #:23752
    Case 2:85-cv-04544-DMG-AGR Document 475-4 Filed 08/24/18 Page 102 of 250 Page ID
                                      #:23753




                                     Station /
Date/Time          Activity                      Agent Name                   Comments
                                     Facility
06/08/2018
                Welfare Check          RGV
   2100
06/08/2018
                Welfare Check          RGV
   2103
06/08/2018
                Welfare Check          RGV
   2200
06/08/2018
                Welfare Check          RGV
   2256
06/08/2018
             Served meal(Accepted)     RGV                    Cold Meal - Snacks
   2256
06/08/2018
                Welfare Check          RGV                    Subject is sound and well
   2300
06/08/2018
                Welfare Check          RGV
   2330
06/08/2018
             Served meal(Accepted)     RGV                    Cold Meal - Snack provided during roll call
   2330
06/09/2018
                Welfare Check          RGV                    Subject is sound and well
   0000
06/09/2018
                Welfare Check          RGV                    Subject is sound and well
   0100
06/09/2018
                Welfare Check          RGV                    Subject is sound and well
   0200
06/09/2018
                Welfare Check          RGV                    Subject is sound and well
   0300
06/09/2018
                Welfare Check          RGV                    Subject is sound and well
   0400
06/09/2018
                Welfare Check          RGV
   0433
06/09/2018
                Welfare Check          RGV                    Subject is sound and well
   0500
06/09/2018
                Welfare Check          RGV                    Subject is sound and well
   0600
06/09/2018
                Welfare Check          RGV
   0620
06/09/2018
                Welfare Check          RGV
   0956
06/09/2018
             Served meal(Accepted)     RGV                    Hot Meal
   0956
06/09/2018
                Welfare Check          RGV
   1228
06/09/2018
             Served meal(Accepted)     RGV                    Hot Meal
   1228


CARLOS M                                                                 Printed:      8/14/18
DOB:            A-File #:                                                Page 7 of 8
Event:
Case 2:85-cv-04544-DMG-AGR Document 475-4 Filed 08/24/18 Page 103 of 250 Page ID
                                  #:23754
   Case 2:85-cv-04544-DMG-AGR Document 475-4 Filed 08/24/18 Page 104 of 250 Page ID
                                     #:23755




Subject Activity Log


BRIDIS F
                                     Gender:                F
                                     DOB:                         (23 yoa)
                                     Nationality:           HONDURAS
                                     Accompanying Adult(s):




                                     Event:
                                     A-File #:
                                     FINS #:
                                     Disposition:
Medical Conditions:                                 Detention Reasons:
No Medical Conditions Found                         Immigration Violation




Arrest Date/Time:   06/15/2018 1800
Book In Date/Time:  06/15/2018 2352
Book Out Date/Time: 06/18/2018 1345

Processing Agent:
Transport Officer:
Apprehending Agents

ORR Facility:

Possible Trafficking?                                     Expresses Fear of Return?




BRIDIS F                                                                    Printed:      8/14/18
DOB:                     A-File #:                                          Page 1 of 6
Event:
    Case 2:85-cv-04544-DMG-AGR Document 475-4 Filed 08/24/18 Page 105 of 250 Page ID
                                      #:23756

                                            Subject Activity Log


                                             Station /
Date/Time             Activity                           Agent Name                   Comments
                                             Facility
06/15/2018
                        Arrest                 N/A
   1800
06/15/2018
                       Book In                 MCS
   1936
06/15/2018
                    Welfare Check              MCS
   1955
06/15/2018
                    Welfare Check              MCS
   2014
06/15/2018
             Snacks, Milk, Juice Provided      MCS
   2025
06/15/2018
                    Welfare Check              MCS
   2025
06/15/2018
                    Welfare Check              MCS
   2112
06/15/2018
                    Welfare Check              MCS
   2141
06/15/2018
                      In Transit               MCS
   2314
06/15/2018
                      Received                 RGV
   2352
06/15/2018   Sleeping Cot/Mat and Blanket
                                               RGV
   2353                Provided
06/15/2018
             Medical Screening Completed       RGV
   2353
06/15/2018                                                            subjects will be offered a shower at
                        Other                  RGV
   2353                                                               0700hrs
06/15/2018
                    Welfare Check              RGV
   2353
06/16/2018
                    Welfare Check              RGV
   0207
06/16/2018
                    Welfare Check              RGV
   0302
06/16/2018
                    Welfare Check              RGV
   0403
06/16/2018
                    Welfare Check              RGV
   0523
06/16/2018
                    Welfare Check              RGV
   0744
06/16/2018
                Served meal(Accepted)          RGV                    Cold Meal - fed
   0744



BRIDIS F                                                                         Printed:      8/14/18
DOB:                        A-File #:                                            Page 2 of 6
Event:
    Case 2:85-cv-04544-DMG-AGR Document 475-4 Filed 08/24/18 Page 106 of 250 Page ID
                                      #:23757




                                     Station /
Date/Time          Activity                      Agent Name                    Comments
                                     Facility
06/16/2018
                Welfare Check          RGV
   0748
06/16/2018
             Served meal(Accepted)     RGV                    Hot Meal - fed
   0748
06/16/2018
                Welfare Check          RGV
   0749
06/16/2018
                Welfare Check          RGV
   0914
06/16/2018
                Welfare Check          RGV
   1153
06/16/2018
                Welfare Check          RGV
   1249
06/16/2018
             Served meal(Accepted)     RGV                    Cold Meal - fed
   1249
06/16/2018
                Welfare Check          RGV
   1253
06/16/2018
             Served meal(Accepted)     RGV                    Hot Meal - fed
   1253
06/16/2018
                Welfare Check          RGV
   1319
06/16/2018
                Welfare Check          RGV
   1404
06/16/2018
                Welfare Check          RGV
   1458
06/16/2018
                Welfare Check          RGV
   1557
06/16/2018
                Welfare Check          RGV
   1658
06/16/2018
             Served meal(Accepted)     RGV                    Cold Meal
   1658
06/16/2018
                Welfare Check          RGV
   1753
06/16/2018
                Welfare Check          RGV
   1904
06/16/2018
                Welfare Check          RGV
   2052
06/16/2018
                Welfare Check          RGV
   2247
06/17/2018
                Welfare Check          RGV
   0028
06/17/2018
                Welfare Check          RGV
   0100


BRIDIS                                                                    Printed:      8/14/18
DOB:            A-File #:                                                 Page 3 of 6
Event:
    Case 2:85-cv-04544-DMG-AGR Document 475-4 Filed 08/24/18 Page 107 of 250 Page ID
                                      #:23758




                                     Station /
Date/Time          Activity                      Agent Name                   Comments
                                     Facility
06/17/2018
                Welfare Check          RGV
   0200
06/17/2018
                Welfare Check          RGV
   0302
06/17/2018
                Welfare Check          RGV
   0400
06/17/2018
                Welfare Check          RGV
   0405
06/17/2018
                Welfare Check          RGV
   0500
06/17/2018
                Welfare Check          RGV
   0559
06/17/2018
                Welfare Check          RGV
   0654
06/17/2018
                Welfare Check          RGV
   0700
06/17/2018
                Welfare Check          RGV
   0736
06/17/2018
             Served meal(Accepted)     RGV                    Hot Meal
   0736
06/17/2018
                Welfare Check          RGV
   0822
06/17/2018
                Welfare Check          RGV
   0903
06/17/2018
                Welfare Check          RGV
   1004
06/17/2018
                Welfare Check          RGV
   1105
06/17/2018
                Welfare Check          RGV
   1206
06/17/2018
                Welfare Check          RGV
   1208
06/17/2018
             Served meal(Accepted)     RGV                    Hot Meal
   1208
06/17/2018
                Welfare Check          RGV
   1305
06/17/2018
                Welfare Check          RGV
   1402
06/17/2018
                Welfare Check          RGV
   1504
06/17/2018
                Welfare Check          RGV
   1602


BRIDIS                                                                   Printed:      8/14/18
DOB:            A-File #:                                                Page 4 of 6
Event:
Case 2:85-cv-04544-DMG-AGR Document 475-4 Filed 08/24/18 Page 108 of 250 Page ID
                                  #:23759
    Case 2:85-cv-04544-DMG-AGR Document 475-4 Filed 08/24/18 Page 109 of 250 Page ID
                                      #:23760




                                     Station /
Date/Time          Activity                      Agent Name                   Comments
                                     Facility
06/18/2018
                Welfare Check          RGV
   1002
06/18/2018
                Welfare Check          RGV
   1100
06/18/2018
                Welfare Check          RGV
   1200
06/18/2018
             Served meal(Accepted)     RGV                    Hot Meal
   1223
06/18/2018
                Welfare Check          RGV
   1300
06/18/2018
                  REROUTE              RGV
   1301
06/18/2018
                Perm Book Out          RGV
   1345




BRIDIS F                                                                 Printed:      8/14/18
DOB:             -File #:                                                Page 6 of 6
Event:
   Case 2:85-cv-04544-DMG-AGR Document 475-4 Filed 08/24/18 Page 110 of 250 Page ID
                                     #:23761




Subject Activity Log


SANDER F
                                    Gender:                M
                                    DOB:                          3 yoa)
                                    Nationality:           HONDURAS
                                    Accompanying Adult(s): BRIDIS        F




                                    Event:
                                    A-File #:
                                    FINS #:
                                    Disposition:
Medical Conditions:                                Detention Reasons:
No Medical Conditions Found                        Immigration Violation




Arrest Date/Time:   06/15/2018 1800
Book In Date/Time:  06/15/2018 2352
Book Out Date/Time: 06/18/2018 1345

Processing Agent:
Transport Officer:
Apprehending Agents

ORR Facility:

Possible Trafficking?                                    Expresses Fear of Return?




SANDER                                                                     Printed:      8/14/18
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                                            Subject Activity Log


                                             Station /
Date/Time             Activity                           Agent Name                   Comments
                                             Facility
06/15/2018
                        Arrest                 N/A
   1800
06/15/2018
                       Book In                 MCS
   1936
06/15/2018
                    Welfare Check              MCS
   1955
06/15/2018
                    Welfare Check              MCS
   2014
06/15/2018
             Snacks, Milk, Juice Provided      MCS
   2025
06/15/2018
                    Welfare Check              MCS
   2025
06/15/2018
                    Welfare Check              MCS
   2112
06/15/2018
                    Welfare Check              MCS
   2141
06/15/2018
                      In Transit               MCS
   2314
06/15/2018
                      Received                 RGV
   2352
06/15/2018   Sleeping Cot/Mat and Blanket
                                               RGV
   2353                Provided
06/15/2018
             Medical Screening Completed       RGV
   2353
06/15/2018                                                            subjects will be offered a shower at
                        Other                  RGV
   2353                                                               0700hrs
06/15/2018
                    Welfare Check              RGV
   2353
06/16/2018
                    Welfare Check              RGV
   0207
06/16/2018
                    Welfare Check              RGV
   0302
06/16/2018
                    Welfare Check              RGV
   0403
06/16/2018
                    Welfare Check              RGV
   0523
06/16/2018
                    Welfare Check              RGV
   0742
06/16/2018
                 UAC Video Shown               RGV                    know what to expect
   0742



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                                         Station /
Date/Time            Activity                        Agent Name                    Comments
                                         Facility
06/16/2018
              Served meal(Accepted)        RGV                    Hot Meal - fed
   0742
06/16/2018
                  Welfare Check            RGV
   0748
06/16/2018
              Served meal(Accepted)        RGV                    Hot Meal - fed
   0748
06/16/2018
                  Welfare Check            RGV
   0749
06/16/2018
                  Welfare Check            RGV
   0914
06/16/2018
                  Welfare Check            RGV
   1153
06/16/2018
                  Welfare Check            RGV
   1245
06/16/2018
                UAC Video Shown            RGV                    know what to expect
   1245
06/16/2018
              Served meal(Accepted)        RGV                    Hot Meal - fed
   1245
06/16/2018
                  Welfare Check            RGV
   1253
06/16/2018
              Served meal(Accepted)        RGV                    Hot Meal - fed
   1253
06/16/2018
                  Welfare Check            RGV
   1319
06/16/2018
                  Welfare Check            RGV
   1404
06/16/2018
                  Welfare Check            RGV
   1458
06/16/2018
                  Welfare Check            RGV
   1557
06/16/2018
                  Welfare Check            RGV
   1658
06/16/2018
              Served meal(Accepted)        RGV                    Cold Meal
   1658
06/16/2018
                  Welfare Check            RGV
   1753
06/16/2018
             Rejoined With Family Unit     RGV
   1800
06/16/2018
                  Welfare Check            RGV
   1904
06/16/2018
                  Welfare Check            RGV
   2052


SANDER F                                                                      Printed:      8/14/18
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                                       Station /
Date/Time            Activity                      Agent Name                   Comments
                                       Facility
06/16/2018
                   Welfare Check         RGV
   2247
06/17/2018
                   Welfare Check         RGV
   0028
06/17/2018
                   Welfare Check         RGV
   0100
06/17/2018
                   Welfare Check         RGV
   0200
06/17/2018
                   Welfare Check         RGV
   0302
06/17/2018
                   Welfare Check         RGV
   0400
06/17/2018
                   Welfare Check         RGV
   0405
06/17/2018
                   Welfare Check         RGV
   0500
06/17/2018
                   Welfare Check         RGV
   0559
06/17/2018
                   Welfare Check         RGV
   0654
06/17/2018
                   Welfare Check         RGV
   0700
06/17/2018
                   Welfare Check         RGV
   0736
06/17/2018
               Served meal(Accepted)     RGV                    Hot Meal
   0736
06/17/2018
                   Welfare Check         RGV
   0822
06/17/2018
                   Welfare Check         RGV
   0903
06/17/2018
                   Welfare Check         RGV
   1004
06/17/2018
                   Welfare Check         RGV
   1105
06/17/2018
                   Welfare Check         RGV
   1206
06/17/2018
                   Welfare Check         RGV
   1208
06/17/2018
               Served meal(Accepted)     RGV                    Hot Meal
   1208
06/17/2018
                   Welfare Check         RGV
   1305


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                                            Station /
Date/Time             Activity                          Agent Name                    Comments
                                            Facility
06/17/2018
              Bodily Cleansing Product        RGV
   1401
06/17/2018
               Dental Hygiene Product         RGV
   1401
06/17/2018
               Clean Clothing Provided        RGV
   1401
06/17/2018
                  Shower Provided             RGV
   1401
06/17/2018
                   Welfare Check              RGV
   1402
06/17/2018
                   Welfare Check              RGV
   1504
06/17/2018
                   Welfare Check              RGV
   1602
06/17/2018
                   Welfare Check              RGV
   1702
06/17/2018
                Processing Complete           RGV
   1703
06/17/2018
                   Welfare Check              RGV
   1704
06/17/2018
               Served meal(Accepted)          RGV                    Cold Meal
   1704
06/17/2018
                   Welfare Check              RGV
   1922
06/17/2018
                   Welfare Check              RGV
   2000
06/17/2018
                   Welfare Check              RGV
   2120
06/17/2018
             Snacks, Milk, Juice Provided     RGV
   2228
06/17/2018
                   Welfare Check              RGV
   2228
06/17/2018
                   Welfare Check              RGV
   2356
06/18/2018
                   Welfare Check              RGV
   0059
06/18/2018
                   Welfare Check              RGV
   0150
06/18/2018
                   Welfare Check              RGV
   0210
06/18/2018
                   Welfare Check              RGV
   0308


SANDER F                                                                         Printed:      8/14/18
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                                     Station /
Date/Time          Activity                      Agent Name                   Comments
                                     Facility
06/18/2018
                Welfare Check          RGV
   0402
06/18/2018
                Welfare Check          RGV
   0505
06/18/2018
                Welfare Check          RGV
   0551
06/18/2018
                Welfare Check          RGV
   0700
06/18/2018
             Served meal(Accepted)     RGV                    Hot Meal
   0701
06/18/2018
                Welfare Check          RGV
   0800
06/18/2018
                Welfare Check          RGV
   0900
06/18/2018
                Welfare Check          RGV
   1002
06/18/2018
                Welfare Check          RGV
   1100
06/18/2018
                Welfare Check          RGV
   1200
06/18/2018
             Served meal(Accepted)     RGV                    Hot Meal
   1223
06/18/2018
                Welfare Check          RGV
   1300
06/18/2018
                  REROUTE              RGV
   1301
06/18/2018
                Perm Book Out          RGV
   1345




SANDER F                                                                 Printed:      8/14/18
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Subject Activity Log


LOURDES R
                                     Gender:                F
                                     DOB:                         (28 yoa)
                                     Nationality:           HONDURAS
                                     Accompanying Adult(s):




                                     Event:
                                     A-File #:
                                     FINS #:
                                     Disposition:
Medical Conditions:                                 Detention Reasons:
No Medical Conditions Found                         Immigration Violation




Arrest Date/Time:   05/04/2018 2310
Book In Date/Time:  05/05/2018 0417
Book Out Date/Time: 05/10/2018 1001

Processing Agent:
Transport Officer:
Apprehending Agents:

ORR Facility:

Possible Trafficking?                                     Expresses Fear of Return?




LOURDES R                                                                   Printed:      8/14/18
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                                            Subject Activity Log


                                             Station /
Date/Time             Activity                           Agent Name                    Comments
                                             Facility
05/04/2018
                        Arrest                 N/A
   2310
05/05/2018
                       Book In                 RGV
   0417
05/05/2018
                    Welfare Check              RGV
   0913
05/05/2018
                Served meal(Accepted)          RGV                    Hot Meal
   0913
05/05/2018
                    Welfare Check              RGV
   0917
05/05/2018   Sleeping Cot/Mat and Blanket
                                               RGV
   1238                Provided
05/05/2018
              Medical Treatment (OBP)          RGV
   1238
05/05/2018
                Served meal(Accepted)          RGV                    Hot Meal
   1238
05/05/2018
                    Welfare Check              RGV
   1238
05/05/2018
                   Shower Provided             RGV
   1238
05/05/2018
                    Welfare Check              RGV
   1256
05/05/2018
                Served meal(Accepted)          RGV                    Hot Meal
   1256
05/05/2018
                    Welfare Check              RGV
   1514
05/05/2018
                    Welfare Check              RGV
   1600
05/05/2018
                Served meal(Accepted)          RGV                    Cold Meal
   1600
05/05/2018
                    Welfare Check              RGV
   1910
05/05/2018
                    Welfare Check              RGV
   2018
05/05/2018
                    Welfare Check              RGV
   2116
05/05/2018
                    Welfare Check              RGV
   2202
05/05/2018
                Served meal(Accepted)          RGV                    Cold Meal - Snacks
   2202



LOURDES R                                                                         Printed:      8/14/18
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                                     Station /
Date/Time          Activity                      Agent Name                    Comments
                                     Facility
05/06/2018
                Welfare Check          RGV
   0802
05/06/2018
                Welfare Check          RGV
   0940
05/06/2018
             Served meal(Accepted)     RGV                    Hot Meal
   0940
05/06/2018
                Welfare Check          RGV
   1001
05/06/2018
                Welfare Check          RGV
   1111
05/06/2018
                Welfare Check          RGV
   1206
05/06/2018
             Served meal(Accepted)     RGV                    Hot Meal
   1206
05/06/2018
                Welfare Check          RGV
   1303
05/06/2018
                Welfare Check          RGV
   1402
05/06/2018
                Welfare Check          RGV
   1413
05/06/2018
                Welfare Check          RGV
   1507
05/06/2018
                Welfare Check          RGV
   1559
05/06/2018
             Served meal(Accepted)     RGV                    Cold Meal
   1559
05/06/2018
                Welfare Check          RGV
   1716
05/06/2018
                Welfare Check          RGV
   1902
05/06/2018
                Welfare Check          RGV
   2009
05/06/2018
                Welfare Check          RGV
   2107
05/06/2018
                Welfare Check          RGV
   2200
05/06/2018
             Served meal(Accepted)     RGV                    Cold Meal - Snacks
   2200
05/07/2018
                Welfare Check          RGV
   0421
05/07/2018
                Welfare Check          RGV
   0539


LOURDES R                                                                 Printed:      8/14/18
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                                            Station /
Date/Time             Activity                          Agent Name                    Comments
                                            Facility
05/07/2018
                   Welfare Check              RGV
   0556
05/07/2018
                   Welfare Check              RGV
   0810
05/07/2018
                   Welfare Check              RGV
   0812
05/07/2018
               Served meal(Accepted)          RGV                    Hot Meal
   0812
05/07/2018
                   Welfare Check              RGV
   0814
05/07/2018
                   Welfare Check              RGV
   0901
05/07/2018
                Processing Complete           RGV
   0919
05/07/2018
                   Welfare Check              RGV
   1002
05/07/2018
                   Welfare Check              RGV
   1303
05/07/2018
                   Welfare Check              RGV
   1428
05/07/2018
                   Welfare Check              RGV
   1447
05/07/2018
                   Welfare Check              RGV
   1506
05/07/2018
                   Welfare Check              RGV
   1601
05/07/2018
               Served meal(Accepted)          RGV                    Cold Meal
   1601
05/07/2018
                   Welfare Check              RGV
   1701
05/07/2018
                   Welfare Check              RGV
   1805
05/07/2018
                   Welfare Check              RGV
   1859
05/07/2018
                   Welfare Check              RGV
   2058
05/07/2018
             Snacks, Milk, Juice Provided     RGV
   2219
05/07/2018
                   Welfare Check              RGV
   2219
05/08/2018
                   Welfare Check              RGV
   0656


LOURDES R                                                                        Printed:      8/14/18
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                                            Station /
Date/Time             Activity                          Agent Name                   Comments
                                            Facility
05/08/2018
               Bodily Cleansing Product       RGV
   0741
05/08/2018
               Dental Hygiene Product         RGV
   0741
05/08/2018
               Clean Clothing Provided        RGV
   0741
05/08/2018
                   Shower Provided            RGV
   0741
05/08/2018   Sleeping Cot/Mat and Blanket
                                              RGV
   0741                Provided
05/08/2018
             Snacks, Milk, Juice Provided     RGV
   0753
05/08/2018
                Served meal(Accepted)         RGV                    Hot Meal
   0753
05/08/2018
                    Welfare Check             RGV
   0753
05/08/2018
                    Welfare Check             RGV
   0755
05/08/2018
                    Welfare Check             RGV
   0857
05/08/2018
                    Welfare Check             RGV
   1043
05/08/2018
                    Welfare Check             RGV
   1317
05/08/2018
             Snacks, Milk, Juice Provided     RGV
   1318
05/08/2018
                Served meal(Accepted)         RGV                    Hot Meal
   1318
05/08/2018
                    Welfare Check             RGV
   1318
05/08/2018
                    Welfare Check             RGV
   1503
05/08/2018
                    Welfare Check             RGV
   1604
05/08/2018
                    Welfare Check             RGV
   1713
05/08/2018
                    Welfare Check             RGV
   1815
05/08/2018
                    Welfare Check             RGV
   2013
05/08/2018
                    Welfare Check             RGV
   2106


LOURDES R                                                                       Printed:      8/14/18
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                                            Station /
Date/Time             Activity                          Agent Name                    Comments
                                            Facility
05/08/2018
             Snacks, Milk, Juice Provided     RGV
   2203
05/08/2018
                   Welfare Check              RGV
   2203
05/09/2018
                   Welfare Check              RGV
   0700
05/09/2018
                   Welfare Check              RGV
   0701
05/09/2018
               Served meal(Accepted)          RGV                    Hot Meal
   0701
05/09/2018
                   Welfare Check              RGV
   0800
05/09/2018
                   Welfare Check              RGV
   0915
05/09/2018
                   Welfare Check              RGV
   1001
05/09/2018
                   Welfare Check              RGV
   1100
05/09/2018
                   Welfare Check              RGV
   1200
05/09/2018
                   Welfare Check              RGV
   1201
05/09/2018
               Served meal(Accepted)          RGV                    Hot Meal
   1201
05/09/2018
                   Welfare Check              RGV
   1300
05/09/2018
                   Welfare Check              RGV
   1458
05/09/2018
                   Welfare Check              RGV
   1658
05/09/2018
                   Welfare Check              RGV
   1659
05/09/2018
                   Welfare Check              RGV
   1900
05/09/2018
               Served meal(Accepted)          RGV                    Cold Meal
   1900
05/09/2018
                   Welfare Check              RGV
   1912
05/09/2018
                   Welfare Check              RGV
   2022
05/09/2018
                   Welfare Check              RGV
   2058


LOURDES R                                                                        Printed:      8/14/18
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Subject Activity Log


LOURDES P
                                     Gender:                F
                                     DOB:                          (5 yoa)
                                     Nationality:           HONDURAS
                                     Accompanying Adult(s): LOURDES R




                                     Event:
                                     A-File #:
                                     FINS #:
                                     Disposition:
Medical Conditions:                                 Detention Reasons:
No Medical Conditions Found                         Immigration Violation




Arrest Date/Time:   05/04/2018 2310
Book In Date/Time:  05/05/2018 0419
Book Out Date/Time: 05/10/2018 1001

Processing Agent:
Transport Officer:
Apprehending Agents

ORR Facility:

Possible Trafficking?                                     Expresses Fear of Return?




LOURDES P                                                                   Printed:      8/14/18
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                                            Subject Activity Log


                                             Station /
Date/Time             Activity                           Agent Name                    Comments
                                             Facility
05/04/2018
                        Arrest                 N/A
   2310
05/05/2018
                       Book In                 RGV
   0419
05/05/2018
                    Welfare Check              RGV
   0913
05/05/2018
                Served meal(Accepted)          RGV                    Hot Meal
   0913
05/05/2018
                    Welfare Check              RGV
   0917
05/05/2018   Sleeping Cot/Mat and Blanket
                                               RGV
   1238                Provided
05/05/2018
              Medical Treatment (OBP)          RGV
   1238
05/05/2018
                Served meal(Accepted)          RGV                    Hot Meal
   1238
05/05/2018
                    Welfare Check              RGV
   1238
05/05/2018
                   Shower Provided             RGV
   1238
05/05/2018
                    Welfare Check              RGV
   1245
05/05/2018
                Served meal(Accepted)          RGV                    Hot Meal
   1245
05/05/2018
                    Welfare Check              RGV
   1256
05/05/2018
                Served meal(Accepted)          RGV                    Hot Meal
   1256
05/05/2018
                    Welfare Check              RGV
   1514
05/05/2018
                    Welfare Check              RGV
   1600
05/05/2018
                Served meal(Accepted)          RGV                    Cold Meal
   1600
05/05/2018
                    Welfare Check              RGV
   1910
05/05/2018
                    Welfare Check              RGV
   2018
05/05/2018
                    Welfare Check              RGV
   2116



LOURDES P                                                                         Printed:      8/14/18
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                                     Station /
Date/Time          Activity                      Agent Name                    Comments
                                     Facility
05/05/2018
                Welfare Check          RGV
   2202
05/05/2018
             Served meal(Accepted)     RGV                    Cold Meal - Snacks
   2202
05/06/2018
                Welfare Check          RGV
   0802
05/06/2018
                Welfare Check          RGV
   0940
05/06/2018
             Served meal(Accepted)     RGV                    Hot Meal
   0940
05/06/2018
                Welfare Check          RGV
   1001
05/06/2018
                Welfare Check          RGV
   1111
05/06/2018
                Welfare Check          RGV
   1206
05/06/2018
             Served meal(Accepted)     RGV                    Hot Meal
   1206
05/06/2018
                Welfare Check          RGV
   1303
05/06/2018
                Welfare Check          RGV
   1402
05/06/2018
                Welfare Check          RGV
   1413
05/06/2018
                Welfare Check          RGV
   1507
05/06/2018
                Welfare Check          RGV
   1559
05/06/2018
             Served meal(Accepted)     RGV                    Cold Meal
   1559
05/06/2018
                Welfare Check          RGV
   1716
05/06/2018
                Welfare Check          RGV
   1902
05/06/2018
                Welfare Check          RGV
   2009
05/06/2018
                Welfare Check          RGV
   2107
05/06/2018
                Welfare Check          RGV
   2200
05/06/2018
             Served meal(Accepted)     RGV                    Cold Meal - Snacks
   2200


LOURDES P                                                                 Printed:      8/14/18
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                                            Station /
Date/Time             Activity                          Agent Name                    Comments
                                            Facility
05/07/2018
                    Welfare Check             RGV
   0421
05/07/2018
                    Welfare Check             RGV
   0539
05/07/2018
                    Welfare Check             RGV
   0556
05/07/2018
                    Welfare Check             RGV
   0810
05/07/2018
                    Welfare Check             RGV
   0812
05/07/2018
                Served meal(Accepted)         RGV                    Hot Meal
   0812
05/07/2018
                    Welfare Check             RGV
   0814
05/07/2018
                    Welfare Check             RGV
   0901
05/07/2018
                 Processing Complete          RGV
   0919
05/07/2018
               Bodily Cleansing Product       RGV
   0959
05/07/2018
               Dental Hygiene Product         RGV
   0959
05/07/2018
               Clean Clothing Provided        RGV
   0959
05/07/2018
                   Shower Provided            RGV
   0959
05/07/2018   Sleeping Cot/Mat and Blanket
                                              RGV
   0959                Provided
05/07/2018
                    Welfare Check             RGV
   1002
05/07/2018
                    Welfare Check             RGV
   1303
05/07/2018
                    Welfare Check             RGV
   1428
05/07/2018
                    Welfare Check             RGV
   1447
05/07/2018
                    Welfare Check             RGV
   1506
05/07/2018
                    Welfare Check             RGV
   1601
05/07/2018
                Served meal(Accepted)         RGV                    Cold Meal
   1601


LOURDES P                                                                        Printed:      8/14/18
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                                            Station /
Date/Time             Activity                          Agent Name                   Comments
                                            Facility
05/07/2018
                   Welfare Check              RGV
   1701
05/07/2018
                   Welfare Check              RGV
   1805
05/07/2018
                   Welfare Check              RGV
   1859
05/07/2018
                   Welfare Check              RGV
   2058
05/07/2018
             Snacks, Milk, Juice Provided     RGV
   2219
05/07/2018
                   Welfare Check              RGV
   2219
05/08/2018
                   Welfare Check              RGV
   0656
05/08/2018
             Snacks, Milk, Juice Provided     RGV
   0753
05/08/2018
               Served meal(Accepted)          RGV                    Hot Meal
   0753
05/08/2018
                   Welfare Check              RGV
   0753
05/08/2018
                   Welfare Check              RGV
   0755
05/08/2018
                   Welfare Check              RGV
   0857
05/08/2018
                   Welfare Check              RGV
   1043
05/08/2018
                   Welfare Check              RGV
   1317
05/08/2018
             Snacks, Milk, Juice Provided     RGV
   1318
05/08/2018
               Served meal(Accepted)          RGV                    Hot Meal
   1318
05/08/2018
                   Welfare Check              RGV
   1318
05/08/2018
                   Welfare Check              RGV
   1503
05/08/2018
                   Welfare Check              RGV
   1604
05/08/2018
                   Welfare Check              RGV
   1713
05/08/2018
                   Welfare Check              RGV
   1815


LOURDES P                                                                       Printed:      8/14/18
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                                            Station /
Date/Time             Activity                          Agent Name                   Comments
                                            Facility
05/08/2018
                   Welfare Check              RGV
   2013
05/08/2018
                   Welfare Check              RGV
   2106
05/08/2018
             Snacks, Milk, Juice Provided     RGV
   2203
05/08/2018
                   Welfare Check              RGV
   2203
05/09/2018
                   Welfare Check              RGV
   0700
05/09/2018
                   Welfare Check              RGV
   0701
05/09/2018
               Served meal(Accepted)          RGV                    Hot Meal
   0701
05/09/2018
                   Welfare Check              RGV
   0800
05/09/2018
              Bodily Cleansing Product        RGV
   0902
05/09/2018
               Dental Hygiene Product         RGV
   0902
05/09/2018
               Clean Clothing Provided        RGV
   0902
05/09/2018
                  Shower Provided             RGV
   0902
05/09/2018
                   Welfare Check              RGV
   0915
05/09/2018
                   Welfare Check              RGV
   1001
05/09/2018
                   Welfare Check              RGV
   1100
05/09/2018
                   Welfare Check              RGV
   1200
05/09/2018
                   Welfare Check              RGV
   1201
05/09/2018
               Served meal(Accepted)          RGV                    Hot Meal
   1201
05/09/2018
                   Welfare Check              RGV
   1234
05/09/2018
               Served meal(Accepted)          RGV                    Hot Meal
   1234
05/09/2018
                   Welfare Check              RGV
   1300


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                                            Station /
Date/Time             Activity                          Agent Name                    Comments
                                            Facility
05/09/2018
                   Welfare Check              RGV
   1458
05/09/2018
                   Welfare Check              RGV
   1658
05/09/2018
                   Welfare Check              RGV
   1659
05/09/2018
                   Welfare Check              RGV
   1900
05/09/2018
               Served meal(Accepted)          RGV                    Cold Meal
   1900
05/09/2018
                   Welfare Check              RGV
   1912
05/09/2018
                   Welfare Check              RGV
   2022
05/09/2018
                   Welfare Check              RGV
   2058
05/09/2018
             Snacks, Milk, Juice Provided     RGV
   2153
05/09/2018
                   Welfare Check              RGV
   2153
05/10/2018
                   Welfare Check              RGV
   0600
05/10/2018
                   Welfare Check              RGV
   0700
05/10/2018
               Served meal(Accepted)          RGV                    Hot Meal
   0730
05/10/2018
                   Perm Book Out              RGV
   1001




LOURDES P                                                                        Printed:      8/14/18
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Subject Activity Log


BLANCA M
                                     Gender:                F
                                     DOB:                          25 yoa)
                                     Nationality:           GUATEMALA
                                     Accompanying Adult(s):




                                     Event:
                                     A-File #:
                                     FINS #:
                                     Disposition:
Medical Conditions:                                 Detention Reasons:
No Medical Conditions Found                         Immigration Violation




Arrest Date/Time:   05/24/2018 2030
Book In Date/Time:  05/25/2018 1807
Book Out Date/Time: 05/30/2018 1006

Processing Agent:
Transport Officer:
Apprehending Agents:

ORR Facility:

Possible Trafficking?                                     Expresses Fear of Return?




BLANCA M                                                                    Printed:      8/16/18
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                                            Station /
Date/Time             Activity                          Agent Name                    Comments
                                            Facility
05/26/2018
                   Welfare Check              RGV
   2313
05/26/2018
                   Welfare Check              RGV
   2347
05/27/2018
                   Welfare Check              RGV
   0058
05/27/2018
             Snacks, Milk, Juice Provided     RGV                    Snacks/ Juice
   0117
05/27/2018
                   Welfare Check              RGV
   0117
05/27/2018
                   Welfare Check              RGV
   0159
05/27/2018
                   Welfare Check              RGV
   0259
05/27/2018
                   Welfare Check              RGV
   0359
05/27/2018
                   Welfare Check              RGV
   0516
05/27/2018
                   Welfare Check              RGV
   0602
05/27/2018
                   Welfare Check              RGV
   0715
05/27/2018
                   Welfare Check              RGV
   0800
05/27/2018
                   Welfare Check              RGV
   1006
05/27/2018
                   Welfare Check              RGV
   1008
05/27/2018
                   Welfare Check              RGV
   1028
05/27/2018
               Served meal(Accepted)          RGV                    Cold Meal
   1028
05/27/2018
                   Welfare Check              RGV
   1115
05/27/2018
                   Welfare Check              RGV
   1159
05/27/2018
               Served meal(Accepted)          RGV                    Hot Meal
   1159
05/27/2018
                  Shower Provided             RGV
   1200
05/27/2018
                   Welfare Check              RGV
   1202


BLANCA M                                                                         Printed:      8/16/18
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                                            Station /
Date/Time             Activity                          Agent Name                    Comments
                                            Facility
05/27/2018
               Served meal(Accepted)          RGV                    Cold Meal
   1202
05/27/2018
                   Welfare Check              RGV
   1210
05/27/2018
               Served meal(Accepted)          RGV                    Hot Meal - Hot meal served
   1210
05/27/2018
                   Welfare Check              RGV
   1305
05/27/2018
                   Welfare Check              RGV
   1403
05/27/2018
                   Welfare Check              RGV
   1500
05/27/2018
                   Welfare Check              RGV
   1603
05/27/2018
               Served meal(Accepted)          RGV                    Cold Meal
   1700
05/27/2018
                   Welfare Check              RGV
   1706
05/27/2018
                   Welfare Check              RGV
   1813
05/27/2018
                   Welfare Check              RGV
   1858
05/27/2018
                   Welfare Check              RGV
   1958
05/27/2018
             Snacks, Milk, Juice Provided     RGV
   2024
05/27/2018
                   Welfare Check              RGV
   2024
05/27/2018
                   Welfare Check              RGV
   2056
05/27/2018
                   Welfare Check              RGV
   2205
05/27/2018
                   Welfare Check              RGV
   2319
05/28/2018
                   Welfare Check              RGV
   0000
05/28/2018
                   Welfare Check              RGV
   0102
05/28/2018
                   Welfare Check              RGV
   0203
05/28/2018
             Snacks, Milk, Juice Provided     RGV                    Available Juice, Granola Bars, and cookies.
   0221


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                                            Station /
Date/Time             Activity                          Agent Name        Comments
                                            Facility
05/30/2018
             Snacks, Milk, Juice Provided     RGV
   0829
05/30/2018
                   Shower Provided            RGV
   0829
05/30/2018   Sleeping Cot/Mat and Blanket
                                              RGV
   0829                Provided
05/30/2018
                    Welfare Check             RGV
   0904
05/30/2018
                   Perm Book Out              RGV
   1006
05/30/2018
                    Welfare Check             RGV
   1007




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                                    Subject Activity Log


                                     Station /
Date/Time         Activity                       Agent Name                  Comments
                                     Facility
05/24/2018
                   Arrest              N/A
   2030
05/24/2018
                  Book In              MCS
   2148
05/25/2018
                Welfare Check          MCS
   0134
05/25/2018
                Welfare Check          MCS
   0600
05/25/2018
                Welfare Check          MCS                    subject appeared fine
   0733
05/25/2018
                Welfare Check          MCS                    SUBJECT APPEARS FINE
   0848
05/25/2018
                Welfare Check          MCS                    subject appeared to be fine
   1030
05/25/2018
                Welfare Check          MCS
   1134
05/25/2018
                Welfare Check          MCS
   1310
05/25/2018
                  In Transit           MCS
   1802
05/25/2018
                  Received             RGV
   1807
05/25/2018
                Welfare Check          RGV
   1815
05/25/2018
                Welfare Check          RGV
   1906
05/25/2018
                Welfare Check          RGV
   2042
05/25/2018
                Welfare Check          RGV
   2153
05/25/2018
                Welfare Check          RGV
   2200
05/25/2018
                Welfare Check          RGV
   2321
05/26/2018
                Welfare Check          RGV
   0032
05/26/2018
                Welfare Check          RGV
   0103
05/26/2018
                Welfare Check          RGV
   0201



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                                     Station /
Date/Time          Activity                      Agent Name                   Comments
                                     Facility
05/26/2018
                Welfare Check          RGV
   0308
05/26/2018
                Welfare Check          RGV
   0402
05/26/2018
                Welfare Check          RGV
   0520
05/26/2018
                Welfare Check          RGV
   0630
05/26/2018
                Welfare Check          RGV
   0644
05/26/2018
                Welfare Check          RGV
   0651
05/26/2018
                Welfare Check          RGV
   0810
05/26/2018
             Served meal(Accepted)     RGV                    Hot Meal
   0810
05/26/2018
                Welfare Check          RGV
   0908
05/26/2018
                Welfare Check          RGV
   0957
05/26/2018
                Welfare Check          RGV
   1057
05/26/2018
                Welfare Check          RGV
   1201
05/26/2018
                Welfare Check          RGV
   1302
05/26/2018
                Welfare Check          RGV
   1514
05/26/2018
                Welfare Check          RGV
   1605
05/26/2018
                Welfare Check          RGV
   1706
05/26/2018
                Welfare Check          RGV
   1757
05/26/2018
                Welfare Check          RGV
   1902
05/26/2018
                Welfare Check          RGV
   1959
05/26/2018
                Welfare Check          RGV
   2054
05/26/2018
                Welfare Check          RGV
   2205


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                                            Station /
Date/Time             Activity                          Agent Name                    Comments
                                            Facility
05/27/2018
                   Welfare Check              RGV
   1159
05/27/2018
               Served meal(Accepted)          RGV                    Hot Meal
   1159
05/27/2018
                   Welfare Check              RGV
   1305
05/27/2018
                   Welfare Check              RGV
   1403
05/27/2018
                   Welfare Check              RGV
   1500
05/27/2018
               Served meal(Accepted)          RGV                    Cold Meal
   1600
05/27/2018
                   Welfare Check              RGV
   1603
05/27/2018
                   Welfare Check              RGV
   1706
05/27/2018
                 UAC Video Shown              RGV
   1706
05/27/2018
                   Welfare Check              RGV
   1813
05/27/2018
                   Welfare Check              RGV
   1858
05/27/2018
                   Welfare Check              RGV
   1958
05/27/2018
             Snacks, Milk, Juice Provided     RGV
   2024
05/27/2018
                   Welfare Check              RGV
   2024
05/27/2018
                   Welfare Check              RGV
   2056
05/27/2018
                   Welfare Check              RGV
   2205
05/27/2018
                   Welfare Check              RGV
   2319
05/28/2018
                   Welfare Check              RGV
   0000
05/28/2018
                   Welfare Check              RGV
   0102
05/28/2018
                   Welfare Check              RGV
   0203
05/28/2018
             Snacks, Milk, Juice Provided     RGV                    Available Juice, Granola Bars, and cookies.
   0221


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                                     Station /
Date/Time          Activity                      Agent Name                    Comments
                                     Facility
05/28/2018
                Welfare Check          RGV
   0221
05/28/2018
                Welfare Check          RGV
   0300
05/28/2018
                Welfare Check          RGV
   0302
05/28/2018                                                    Cold Meal - subjects are offered food and
             Served meal(Accepted)     RGV
   0302                                                       drink
05/28/2018
                Welfare Check          RGV
   0359
05/28/2018
                Welfare Check          RGV
   0501
05/28/2018
                Welfare Check          RGV
   0632
05/28/2018
                Welfare Check          RGV
   0705
05/28/2018
             Served meal(Accepted)     RGV                    Hot Meal
   0705
05/28/2018
                Welfare Check          RGV
   0826
05/28/2018
                Welfare Check          RGV
   1001
05/28/2018
                Welfare Check          RGV
   1115
05/28/2018
                Welfare Check          RGV
   1205
05/28/2018
             Served meal(Accepted)     RGV                    Hot Meal
   1205
05/28/2018
              Processing Complete      RGV
   1257
05/28/2018
                Welfare Check          RGV
   1315
05/28/2018
                Welfare Check          RGV
   1400
05/28/2018
                Welfare Check          RGV                    D166 assisted w/ checks 22k
   1503
05/28/2018
                Welfare Check          RGV                    D166 assisted w/ checks 22k
   1559
05/28/2018
             Served meal(Accepted)     RGV                    Cold Meal
   1559
05/28/2018
                Welfare Check          RGV                    D166 assisted w/ checks 22k
   1656


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                                            Station /
Date/Time             Activity                          Agent Name                    Comments
                                            Facility
05/28/2018
                 UAC Video Shown              RGV
   1658
05/28/2018
                   Welfare Check              RGV
   1812
05/28/2018
                   Welfare Check              RGV
   1858
05/28/2018
               Served meal(Accepted)          RGV                    Cold Meal
   1900
05/28/2018
                   Welfare Check              RGV
   1959
05/28/2018
             Snacks, Milk, Juice Provided     RGV
   2100
05/28/2018
                   Welfare Check              RGV
   2100
05/28/2018
                   Welfare Check              RGV
   2158
05/29/2018
                   Welfare Check              RGV
   0018
05/29/2018
                   Welfare Check              RGV
   0108
05/29/2018
                   Welfare Check              RGV
   0225
05/29/2018
                   Welfare Check              RGV
   0312
05/29/2018
                   Welfare Check              RGV
   0405
05/29/2018
                   Welfare Check              RGV
   0506
05/29/2018
                   Welfare Check              RGV
   0607
05/29/2018
                   Welfare Check              RGV
   0700
05/29/2018
                   Welfare Check              RGV
   0832
05/29/2018
               Served meal(Accepted)          RGV                    Hot Meal
   0832
05/29/2018
                   Welfare Check              RGV
   1030
05/29/2018
                   Welfare Check              RGV
   1130
05/29/2018
                   Welfare Check              RGV
   1230


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                                            Station /
Date/Time             Activity                          Agent Name                    Comments
                                            Facility
05/17/2018
                   Welfare Check              RGV
   0449
05/17/2018
                   Welfare Check              RGV
   0705
05/17/2018
                   Welfare Check              RGV
   0723
05/17/2018
               Served meal(Accepted)          RGV                    Hot Meal
   0723
05/17/2018
                   Welfare Check              RGV                    0600 0700
   0742
05/17/2018
                   Welfare Check              RGV                    0800
   0817
05/17/2018
               Served meal(Accepted)          RGV                    Hot Meal
   0817
05/17/2018
                   Welfare Check              RGV                    0900
   0902
05/17/2018
                   Welfare Check              RGV                    1000
   1001
05/17/2018
             Snacks, Milk, Juice Provided     RGV
   1218
05/17/2018
               Served meal(Accepted)          RGV                    Hot Meal
   1218
05/17/2018
                   Welfare Check              RGV
   1218
05/17/2018
                   Welfare Check              RGV                    1200 1300
   1304
05/17/2018
                   Welfare Check              RGV                    1400
   1402
05/17/2018
                   Welfare Check              RGV
   1520
05/17/2018
                   Welfare Check              RGV
   1605
05/17/2018
               Served meal(Accepted)          RGV                    Cold Meal
   1605
05/17/2018
                   Welfare Check              RGV
   1623
05/17/2018
                   Welfare Check              RGV
   1703
05/17/2018
                   Welfare Check              RGV
   1801
05/17/2018
                   Welfare Check              RGV
   1915


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                                            Station /
Date/Time             Activity                          Agent Name                    Comments
                                            Facility
05/18/2018
                   Welfare Check              RGV
   1410
05/18/2018
                   Welfare Check              RGV
   1609
05/18/2018
                   Welfare Check              RGV
   1657
05/18/2018
                   Welfare Check              RGV
   1658
05/18/2018
               Served meal(Accepted)          RGV                    Cold Meal
   1658
05/18/2018
                   Welfare Check              RGV
   1814
05/18/2018
                   Welfare Check              RGV
   1905
05/18/2018
                   Welfare Check              RGV
   2022
05/18/2018
                   Welfare Check              RGV
   2107
05/18/2018
             Snacks, Milk, Juice Provided     RGV
   2155
05/18/2018
                   Welfare Check              RGV
   2155
05/18/2018
                   Welfare Check              RGV
   2332
05/19/2018
                   Welfare Check              RGV
   0000
05/19/2018
                   Welfare Check              RGV
   0145
05/19/2018
                   Welfare Check              RGV
   0207
05/19/2018
                   Welfare Check              RGV
   0216
05/19/2018
                   Welfare Check              RGV
   0233
05/19/2018
                   Welfare Check              RGV
   0309
05/19/2018
                   Welfare Check              RGV
   0317
05/19/2018
                   Welfare Check              RGV
   0342
05/19/2018
                      In Transit              RGV
   0353


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                                     Station /
Date/Time          Activity                      Agent Name                    Comments
                                     Facility
05/19/2018
                   Received            HRL
   0549
05/19/2018
                Welfare Check          HRL
   0633
05/19/2018
               Shower Provided         HRL                    HRL DOES NOT PROVIDE SHOWERS
   0639
05/19/2018
                Welfare Check          HRL
   0639
05/19/2018
                Welfare Check          HRL
   0722
05/19/2018
             Served meal(Accepted)     HRL                    Cold Meal
   0722
05/19/2018
                Welfare Check          HRL
   0920
05/19/2018
                Welfare Check          HRL
   0936
05/19/2018
               Shower Provided         HRL                    HRL DOES NOT PROVIDE SHOWERS
   1026
05/19/2018
                Welfare Check          HRL
   1026
05/19/2018
                Welfare Check          HRL
   1028
05/19/2018
                Welfare Check          HRL
   1106
05/19/2018
                Welfare Check          HRL
   1202
05/19/2018
                Welfare Check          HRL
   1326
05/19/2018
                Welfare Check          HRL
   1352
05/19/2018
             Served meal(Accepted)     HRL                    Cold Meal
   1352
05/19/2018
              Processing Complete      HRL
   1606
05/19/2018
                Welfare Check          HRL
   1614
05/19/2018
                Welfare Check          HRL
   1750
05/19/2018
                   In Transit          HRL
   2051
05/19/2018
                   Received            RGV
   2341


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                                            Station /
Date/Time             Activity                          Agent Name                   Comments
                                            Facility
05/19/2018   Sleeping Cot/Mat and Blanket
                                              RGV
   2346                Provided
05/19/2018
             Medical Screening Completed      RGV
   2346
05/19/2018                                                           Subject will shower at 7am when staff
                        Other                 RGV
   2346                                                              arrives
05/19/2018
                    Welfare Check             RGV
   2346
05/19/2018
             Snacks, Milk, Juice Provided     RGV
   2346
05/20/2018
                    Welfare Check             RGV
   0259
05/20/2018
                    Welfare Check             RGV
   0415
05/20/2018
                    Welfare Check             RGV
   0459
05/20/2018
                    Welfare Check             RGV
   0553
05/20/2018
                   Shower Provided            RGV
   0719
05/20/2018
                    Welfare Check             RGV
   0832
05/20/2018
                Served meal(Accepted)         RGV                    Hot Meal
   0832
05/20/2018
                    Welfare Check             RGV
   0926
05/20/2018
                    Welfare Check             RGV                    Welfare check conducted at 1030 hrs
   1053
05/20/2018
                   Perm Book Out              RGV
   1055




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                                            Subject Activity Log


                                             Station /
Date/Time             Activity                           Agent Name                    Comments
                                             Facility
05/15/2018
                        Arrest                 N/A
   1205
05/15/2018
                       Book In                 MCS
   1328
05/15/2018
                    Welfare Check              MCS
   1342
05/16/2018
                      In Transit               MCS
   0114
05/16/2018
                      Received                 RGV
   0206
05/16/2018   Sleeping Cot/Mat and Blanket
                                               RGV
   0215                Provided
05/16/2018
             Medical Screening Completed       RGV
   0215
05/16/2018                                                            Subject will shower in the morning when
                        Other                  RGV
   0215                                                               staff arrives
05/16/2018
                    Welfare Check              RGV
   0215
05/16/2018
             Snacks, Milk, Juice Provided      RGV
   0215
05/16/2018
                    Welfare Check              RGV
   0255
05/16/2018
                    Welfare Check              RGV
   0413
05/16/2018
                    Welfare Check              RGV
   0523
05/16/2018
                    Welfare Check              RGV
   0751
05/16/2018
                 UAC Video Shown               RGV                    know what to expect
   0751
05/16/2018
                Served meal(Accepted)          RGV                    Hot Meal - FED
   0751
05/16/2018
                    Welfare Check              RGV
   0757
05/16/2018
                Served meal(Accepted)          RGV                    Hot Meal - fed
   0757
05/16/2018
               Bodily Cleansing Product        RGV
   0832
05/16/2018
               Dental Hygiene Product          RGV
   0832



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                                            Station /
Date/Time              Activity                         Agent Name                   Comments
                                            Facility
05/16/2018
               Clean Clothing Provided        RGV
   0832
05/16/2018
                   Shower Provided            RGV
   0832
05/16/2018   Sleeping Cot/Mat and Blanket
                                              RGV
   0832                Provided
05/16/2018
                    Welfare Check             RGV
   0943
05/16/2018
                    Welfare Check             RGV
   1001
05/16/2018
                    Welfare Check             RGV
   1004
05/16/2018
                    Welfare Check             RGV
   1142
05/16/2018
                    Welfare Check             RGV
   1203
05/16/2018
                    Welfare Check             RGV
   1311
05/16/2018
                Served meal(Accepted)         RGV                    Hot Meal
   1311
05/16/2018
                    Welfare Check             RGV
   1423
05/16/2018
                    Welfare Check             RGV                    At 1600 hrs.
   1612
05/16/2018
                Served meal(Accepted)         RGV                    Cold Meal - All meals served at 1600 hrs.
   1612
05/16/2018
                    Welfare Check             RGV                    At 1700
   1701
05/16/2018
                    Welfare Check             RGV                    At 1815
   1820
05/16/2018
                    Welfare Check             RGV
   1928
05/16/2018
                    Welfare Check             RGV
   2000
05/16/2018
                    Welfare Check             RGV
   2058
05/16/2018
                    Welfare Check             RGV
   2209
05/16/2018
                Served meal(Accepted)         RGV                    Cold Meal - Snacks
   2209
05/17/2018
                    Welfare Check             RGV
   0027


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                                            Station /
Date/Time             Activity                          Agent Name                   Comments
                                            Facility
05/17/2018
                   Welfare Check              RGV
   1915
05/17/2018
                   Welfare Check              RGV
   2004
05/17/2018
                   Welfare Check              RGV
   2109
05/17/2018
             Snacks, Milk, Juice Provided     RGV
   2201
05/17/2018
                   Welfare Check              RGV
   2201
05/17/2018
                   Welfare Check              RGV
   2300
05/18/2018
                   Welfare Check              RGV
   0044
05/18/2018
                   Welfare Check              RGV
   0108
05/18/2018
                   Welfare Check              RGV
   0201
05/18/2018
                   Welfare Check              RGV
   0226
05/18/2018
                   Welfare Check              RGV
   0239
05/18/2018
                   Welfare Check              RGV
   0302
05/18/2018
                   Welfare Check              RGV
   0333
05/18/2018
                   Welfare Check              RGV
   0401
05/18/2018
                   Welfare Check              RGV
   0416
05/18/2018
                   Welfare Check              RGV
   0458
05/18/2018
                   Welfare Check              RGV
   0527
05/18/2018
                   Welfare Check              RGV
   0602
05/18/2018
                   Welfare Check              RGV
   0647
05/18/2018
                 UAC Video Shown              RGV
   0647
05/18/2018
               Served meal(Accepted)          RGV                    Hot Meal
   0647


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                                            Station /
Date/Time             Activity                          Agent Name                    Comments
                                            Facility
05/18/2018
                   Welfare Check              RGV
   0755
05/18/2018
                   Welfare Check              RGV
   0857
05/18/2018
                   Welfare Check              RGV
   0956
05/18/2018
                   Welfare Check              RGV
   1058
05/18/2018
                   Welfare Check              RGV
   1239
05/18/2018
                   Welfare Check              RGV
   1410
05/18/2018
                   Welfare Check              RGV
   1609
05/18/2018
                   Welfare Check              RGV
   1657
05/18/2018
                   Welfare Check              RGV
   1658
05/18/2018
               Served meal(Accepted)          RGV                    Cold Meal
   1658
05/18/2018
                   Welfare Check              RGV
   1814
05/18/2018
                   Welfare Check              RGV
   1905
05/18/2018
                   Welfare Check              RGV
   2022
05/18/2018
                   Welfare Check              RGV
   2107
05/18/2018
             Snacks, Milk, Juice Provided     RGV
   2155
05/18/2018
                   Welfare Check              RGV
   2155
05/18/2018
                   Welfare Check              RGV
   2332
05/19/2018
                   Welfare Check              RGV
   0000
05/19/2018
                   Welfare Check              RGV
   0030
05/19/2018
               Served meal(Accepted)          RGV                    Cold Meal - SNACKS
   0030
05/19/2018
                   Welfare Check              RGV
   0145


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                                     Station /
Date/Time          Activity                      Agent Name                   Comments
                                     Facility
05/19/2018
                Welfare Check          RGV
   0207
05/19/2018
                Welfare Check          RGV
   0216
05/19/2018
                Welfare Check          RGV
   0233
05/19/2018
                Welfare Check          RGV
   0309
05/19/2018
                Welfare Check          RGV
   0317
05/19/2018
                Welfare Check          RGV
   0342
05/19/2018
                   In Transit          RGV
   0353
05/19/2018
                   Received            HRL
   0549
05/19/2018
                Welfare Check          HRL
   0633
05/19/2018
               Shower Provided         HRL                    no shower facilities available at hrl
   0634
05/19/2018
               Shower Provided         HRL                    HRL DOES NOT PROVIDE SHOWERS
   0639
05/19/2018
                Welfare Check          HRL
   0639
05/19/2018
                Welfare Check          HRL
   0722
05/19/2018
             Served meal(Accepted)     HRL                    Hot Meal - with juice and chips
   0722
05/19/2018
                Welfare Check          HRL
   0920
05/19/2018
                Welfare Check          HRL
   0936
05/19/2018
               Shower Provided         HRL                    HRL DOES NOT PROVIDE SHOWERS
   1026
05/19/2018
                Welfare Check          HRL
   1026
05/19/2018
                Welfare Check          HRL
   1028
05/19/2018
                Welfare Check          HRL
   1106
05/19/2018
                Welfare Check          HRL
   1202


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Subject Activity Log


DORIS M
                                     Gender:                F
                                     DOB:                         (41 yoa)
                                     Nationality:           HONDURAS
                                     Accompanying Adult(s):




                                     Event:
                                     A-File #:
                                     FINS #:
                                     Disposition:
Medical Conditions:                                 Detention Reasons:
No Medical Conditions Found                         Immigration Violation




Arrest Date/Time:   05/19/2018 1520
Book In Date/Time:  05/25/2018 1319
Book Out Date/Time: 05/26/2018 1341

Processing Agent:
Transport Officer:
Apprehending Agents

ORR Facility:

Possible Trafficking?                                     Expresses Fear of Return?




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                                            Subject Activity Log


                                             Station /
Date/Time             Activity                           Agent Name                   Comments
                                             Facility
05/19/2018
                        Arrest                 N/A
   1520
05/19/2018
                       Book In                 MCS
   1620
05/19/2018
                    Welfare Check              MCS
   1757
05/19/2018
                Served meal(Accepted)          MCS                    Cold Meal
   1757
05/19/2018
                    Welfare Check              MCS
   1810
05/19/2018                                                            Cold Meal - served mea (sandwich drink
                Served meal(Accepted)          MCS
   1810                                                               and cookies l at 1800
05/20/2018
                      In Transit               MCS
   0023
05/20/2018
                      Received                 RGV
   0042
05/20/2018   Sleeping Cot/Mat and Blanket
                                               RGV
   0044                Provided
05/20/2018
              Medical Treatment (OBP)          RGV                    Examined and cleared by Ursula Medical
   0044
05/20/2018
                Served meal(Accepted)          RGV                    Cold Meal - Snack provided upon arrival
   0044
05/20/2018
                    Welfare Check              RGV                    Subject arrived well
   0044
05/20/2018
                   Shower Provided             RGV                    Shower will be provided at 0700 hs.
   0044
05/20/2018   Sleeping Cot/Mat and Blanket
                                               RGV
   0057                Provided
05/20/2018
             Medical Screening Completed       RGV
   0057
05/20/2018                                                            Subject will shower at 7am when staff
                        Other                  RGV
   0057                                                               arrives
05/20/2018
                    Welfare Check              RGV
   0057
05/20/2018
             Snacks, Milk, Juice Provided      RGV
   0057
05/20/2018
                    Welfare Check              RGV
   0259
05/20/2018
                    Welfare Check              RGV
   0415



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                                     Station /
Date/Time          Activity                      Agent Name                  Comments
                                     Facility
05/20/2018
                Welfare Check          RGV
   0459
05/20/2018
                Welfare Check          RGV
   0553
05/20/2018
               Shower Provided         RGV
   0719
05/20/2018
                Welfare Check          RGV
   0832
05/20/2018
             Served meal(Accepted)     RGV                    Hot Meal
   0832
05/20/2018
                Welfare Check          RGV
   0926
05/20/2018
                Welfare Check          RGV                    Welfare check conducted at 1030 hrs
   1053
05/20/2018
                Welfare Check          RGV
   1132
05/20/2018
                Welfare Check          RGV
   1228
05/20/2018
                Welfare Check          RGV
   1249
05/20/2018
             Served meal(Accepted)     RGV                    Hot Meal
   1249
05/20/2018
                Welfare Check          RGV
   1301
05/20/2018
                Welfare Check          RGV
   1359
05/20/2018
                Welfare Check          RGV
   1509
05/20/2018
                Welfare Check          RGV
   1513
05/20/2018
                Welfare Check          RGV
   1555
05/20/2018
             Served meal(Accepted)     RGV                    Hot Meal
   1555
05/20/2018
                Welfare Check          RGV
   1758
05/20/2018
                Welfare Check          RGV
   1901
05/20/2018
                Welfare Check          RGV
   2002
05/20/2018
                Welfare Check          RGV
   2056


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                                     Station /
Date/Time          Activity                      Agent Name                  Comments
                                     Facility
05/20/2018
                Welfare Check          RGV
   2154
05/20/2018
                Welfare Check          RGV
   2307
05/20/2018
                Welfare Check          RGV
   2357
05/21/2018
                Welfare Check          RGV
   0102
05/21/2018
                Welfare Check          RGV
   0154
05/21/2018
                Welfare Check          RGV
   0251
05/21/2018
                Welfare Check          RGV
   0306
05/21/2018
                Welfare Check          RGV
   0351
05/21/2018
                Welfare Check          RGV
   0452
05/21/2018
                Welfare Check          RGV
   0554
05/21/2018
                Welfare Check          RGV
   0638
05/21/2018
             Served meal(Accepted)     RGV                    Hot Meal
   0700
05/21/2018
                Welfare Check          RGV
   0700
05/21/2018
                Welfare Check          RGV
   0734
05/21/2018
                Welfare Check          RGV
   0800
05/21/2018
                Welfare Check          RGV
   0930
05/21/2018
                Welfare Check          RGV
   1052
05/21/2018
                Welfare Check          RGV
   1100
05/21/2018
                Welfare Check          RGV
   1200
05/21/2018
             Served meal(Accepted)     RGV                    Hot Meal
   1200
05/21/2018
                Welfare Check          RGV
   1300


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                                            Station /
Date/Time             Activity                          Agent Name                   Comments
                                            Facility
05/21/2018
                   Welfare Check              RGV
   1419
05/21/2018
                   Welfare Check              RGV
   1605
05/21/2018
               Served meal(Accepted)          RGV                    Cold Meal
   1605
05/21/2018
                   Welfare Check              RGV
   1701
05/21/2018
                   Welfare Check              RGV
   1806
05/21/2018
                   Welfare Check              RGV
   1900
05/21/2018
                   Welfare Check              RGV
   2034
05/21/2018
                   Welfare Check              RGV
   2101
05/21/2018
             Snacks, Milk, Juice Provided     RGV
   2200
05/21/2018
                   Welfare Check              RGV
   2200
05/21/2018
                   Welfare Check              RGV
   2319
05/22/2018
                   Welfare Check              RGV
   0001
05/22/2018
                   Welfare Check              RGV
   0100
05/22/2018
                   Welfare Check              RGV
   0200
05/22/2018
                   Welfare Check              RGV
   0223
05/22/2018
                   Welfare Check              RGV
   0300
05/22/2018
                   Welfare Check              RGV
   0400
05/22/2018
                   Welfare Check              RGV
   0500
05/22/2018
                   Welfare Check              RGV
   0600
05/22/2018
                   Welfare Check              RGV
   0700
05/22/2018
               Served meal(Accepted)          RGV                    Hot Meal
   0700


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                                     Station /
Date/Time          Activity                      Agent Name                   Comments
                                     Facility
05/23/2018
                Welfare Check          RGV
   0400
05/23/2018
                Welfare Check          RGV
   0700
05/23/2018
             Served meal(Accepted)     RGV                    Hot Meal
   0705
05/23/2018
                Welfare Check          RGV
   0800
05/23/2018
                Welfare Check          RGV
   0900
05/23/2018
                Welfare Check          RGV
   1000
05/23/2018
                Welfare Check          RGV
   1100
05/23/2018
               Shower Provided         RGV
   1215
05/23/2018
                Welfare Check          RGV
   1245
05/23/2018
                Welfare Check          RGV
   1304
05/23/2018
             Served meal(Accepted)     RGV                    Hot Meal
   1306
05/23/2018
                Welfare Check          RGV
   1400
05/23/2018
                Welfare Check          RGV
   1530
05/23/2018
                Welfare Check          RGV
   1605
05/23/2018
                Welfare Check          RGV
   1715
05/23/2018
                Welfare Check          RGV
   1805
05/23/2018
                Welfare Check          RGV
   1857
05/23/2018
                Temp Book Out        Hospital
   1858
05/23/2018
                   Book In             RGV
   2024
05/23/2018
                Welfare Check          RGV
   2055
05/23/2018
             Served meal(Accepted)     RGV                    Cold Meal
   2100


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                                            Station /
Date/Time             Activity                          Agent Name                  Comments
                                            Facility
05/23/2018
             Snacks, Milk, Juice Provided     RGV
   2154
05/23/2018
                   Welfare Check              RGV
   2154
05/24/2018
                Processing Complete           RGV
   0427
05/24/2018
                   Welfare Check              RGV
   0649
05/24/2018
               Served meal(Accepted)          RGV                    Hot Meal
   0650
05/24/2018
                   Welfare Check              RGV
   0803
05/24/2018
                   Welfare Check              RGV
   0806
05/24/2018
               Served meal(Accepted)          RGV                    Hot Meal
   0806
05/24/2018
                   Welfare Check              RGV
   1039
05/24/2018
                   Welfare Check              RGV
   1341
05/24/2018
               Served meal(Accepted)          RGV                    Hot Meal
   1341
05/24/2018
                   Welfare Check              RGV                    ALL OK.
   1528
05/24/2018
                   Welfare Check              RGV
   1550
05/24/2018
                   Welfare Check              RGV
   1615
05/24/2018
               Served meal(Accepted)          RGV                    Cold Meal - SNACK/DRINK
   1615
05/24/2018
                   Welfare Check              RGV                    ALL OK.
   1702
05/24/2018
                   Welfare Check              RGV                    ALL IS OK.
   1800
05/24/2018
                   Welfare Check              RGV                    ALL IS OK.
   1900
05/24/2018
                   Welfare Check              RGV                    ALL IS OK.
   2001
05/24/2018
                   Welfare Check              RGV                    ALL IS OK.
   2100
05/24/2018
                   Welfare Check              RGV
   2245


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                                     Station /
Date/Time          Activity                      Agent Name                    Comments
                                     Facility
05/25/2018
                Welfare Check          RGV
   1412
05/25/2018
                Welfare Check          RGV
   1544
05/25/2018
                Welfare Check          RGV
   1613
05/25/2018
             Served meal(Accepted)     RGV                    Cold Meal
   1613
05/25/2018
                Welfare Check          RGV
   1623
05/25/2018
             Served meal(Accepted)     RGV                    Cold Meal
   1623
05/25/2018
                Welfare Check          RGV
   1723
05/25/2018
                Welfare Check          RGV
   1815
05/25/2018
                Welfare Check          RGV
   1906
05/25/2018
                Welfare Check          RGV
   2042
05/25/2018
                Welfare Check          RGV
   2153
05/25/2018
                Welfare Check          RGV
   2200
05/25/2018
                Welfare Check          RGV
   2321
05/26/2018
                Welfare Check          RGV
   0032
05/26/2018
                Welfare Check          RGV
   0103
05/26/2018
                Welfare Check          RGV
   0201
05/26/2018
                Welfare Check          RGV
   0308
05/26/2018
                Welfare Check          RGV
   0402
05/26/2018
                Welfare Check          RGV
   0520
05/26/2018
                Welfare Check          RGV
   0630
05/26/2018
                Welfare Check          RGV
   0644


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                                     Station /
Date/Time          Activity                      Agent Name                   Comments
                                     Facility
05/26/2018
                Welfare Check          RGV
   0651
05/26/2018
                Welfare Check          RGV
   0810
05/26/2018
             Served meal(Accepted)     RGV                    Hot Meal
   0810
05/26/2018
                Welfare Check          RGV
   0908
05/26/2018
                Welfare Check          RGV
   0957
05/26/2018
                Welfare Check          RGV
   1057
05/26/2018
                Welfare Check          RGV
   1201
05/26/2018
                Welfare Check          RGV
   1302
05/26/2018
                Perm Book Out          RGV
   1341




DORIS M                                                                  Printed:      7/26/18
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Subject Activity Log


JORDAN Z
                                     Gender:                M
                                     DOB:                         (2 yoa)
                                     Nationality:           HONDURAS
                                     Accompanying Adult(s): DORIS         M




                                     Event:
                                     A-File #:
                                     FINS #:
                                     Disposition:
Medical Conditions:                                 Detention Reasons:
No Medical Conditions Found                         Immigration Violation




Arrest Date/Time:   05/19/2018 1520
Book In Date/Time:  05/25/2018 1319
Book Out Date/Time: 05/26/2018 1341

Processing Agent:
Transport Officer:
Apprehending Agents:

ORR Facility:

Possible Trafficking?                                     Expresses Fear of Return?




JORDAN Z                                                                    Printed:     7/26/18
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                                            Subject Activity Log


                                             Station /
Date/Time             Activity                           Agent Name                   Comments
                                             Facility
05/19/2018
                        Arrest                 N/A
   1520
05/19/2018
                       Book In                 MCS
   1621
05/19/2018
                    Welfare Check              MCS
   1757
05/19/2018
                Served meal(Accepted)          MCS                    Cold Meal
   1757
05/19/2018
                    Welfare Check              MCS
   1810
05/19/2018                                                            Cold Meal - served mea (sandwich drink
                Served meal(Accepted)          MCS
   1810                                                               and cookies l at 1800
05/20/2018
                      In Transit               MCS
   0023
05/20/2018
                      Received                 RGV
   0042
05/20/2018   Sleeping Cot/Mat and Blanket
                                               RGV
   0044                Provided
05/20/2018
              Medical Treatment (OBP)          RGV                    Examined and cleared by Ursula Medical
   0044
05/20/2018
                Served meal(Accepted)          RGV                    Cold Meal - Snack provided upon arrival
   0044
05/20/2018
                    Welfare Check              RGV                    Subject arrived well
   0044
05/20/2018
                   Shower Provided             RGV                    Shower will be provided at 0700 hs.
   0044
05/20/2018   Sleeping Cot/Mat and Blanket
                                               RGV
   0057                Provided
05/20/2018
             Medical Screening Completed       RGV
   0057
05/20/2018                                                            Subject will shower at 7am when staff
                        Other                  RGV
   0057                                                               arrives
05/20/2018
                    Welfare Check              RGV
   0057
05/20/2018
             Snacks, Milk, Juice Provided      RGV
   0057
05/20/2018
                    Welfare Check              RGV
   0259
05/20/2018
                    Welfare Check              RGV
   0415



JORDAN Z                                                                          Printed:     7/26/18
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                                     Station /
Date/Time          Activity                      Agent Name                  Comments
                                     Facility
05/20/2018
                Welfare Check          RGV
   0459
05/20/2018
                Welfare Check          RGV
   0553
05/20/2018
               Shower Provided         RGV
   0719
05/20/2018
                Welfare Check          RGV
   0832
05/20/2018
             Served meal(Accepted)     RGV                    Hot Meal
   0832
05/20/2018
                Welfare Check          RGV
   0926
05/20/2018
                Welfare Check          RGV                    Welfare check conducted at 1030 hrs
   1053
05/20/2018
                Welfare Check          RGV
   1132
05/20/2018
                Welfare Check          RGV
   1228
05/20/2018
                Welfare Check          RGV
   1249
05/20/2018
             Served meal(Accepted)     RGV                    Hot Meal
   1249
05/20/2018
                Welfare Check          RGV
   1301
05/20/2018
                Welfare Check          RGV
   1359
05/20/2018
                Welfare Check          RGV
   1509
05/20/2018
                Welfare Check          RGV
   1513
05/20/2018
                Welfare Check          RGV
   1555
05/20/2018
             Served meal(Accepted)     RGV                    Hot Meal
   1555
05/20/2018
              UAC Video Shown          RGV
   1655
05/20/2018
                Welfare Check          RGV
   1700
05/20/2018
             Served meal(Accepted)     RGV                    Hot Meal
   1700
05/20/2018
                Welfare Check          RGV
   1758


JORDAN Z                                                                 Printed:     7/26/18
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                                     Station /
Date/Time          Activity                      Agent Name                  Comments
                                     Facility
05/20/2018
                Welfare Check          RGV
   1901
05/20/2018
                Welfare Check          RGV
   2002
05/20/2018
                Welfare Check          RGV
   2056
05/20/2018
                Welfare Check          RGV
   2154
05/20/2018
                Welfare Check          RGV
   2307
05/20/2018
                Welfare Check          RGV
   2357
05/21/2018
                Welfare Check          RGV
   0102
05/21/2018
                Welfare Check          RGV
   0154
05/21/2018
                Welfare Check          RGV
   0251
05/21/2018
                Welfare Check          RGV
   0306
05/21/2018
                Welfare Check          RGV
   0351
05/21/2018
                Welfare Check          RGV
   0452
05/21/2018
                Welfare Check          RGV
   0554
05/21/2018
                Welfare Check          RGV
   0638
05/21/2018
             Served meal(Accepted)     RGV                    Hot Meal
   0700
05/21/2018
                Welfare Check          RGV
   0700
05/21/2018
                Welfare Check          RGV
   0734
05/21/2018
                Welfare Check          RGV
   0800
05/21/2018
                Welfare Check          RGV
   0930
05/21/2018
                Welfare Check          RGV
   1052
05/21/2018
                Welfare Check          RGV
   1100


JORDAN Z                                                                 Printed:     7/26/18
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                                            Station /
Date/Time             Activity                          Agent Name                       Comments
                                            Facility
05/21/2018
                   Welfare Check              RGV
   1200
05/21/2018
               Served meal(Accepted)          RGV                        Hot Meal
   1200
05/21/2018
                   Welfare Check              RGV
   1300
05/21/2018
                   Welfare Check              RGV
   1419
05/21/2018
                   Welfare Check              RGV
   1603
05/21/2018
                   Welfare Check              RGV
   1605
05/21/2018
               Served meal(Accepted)          RGV                        Cold Meal
   1605
05/21/2018
                   Welfare Check              RGV
   1701
05/21/2018
                 UAC Video Shown              RGV
   1702
05/21/2018
                   Welfare Check              RGV
   1806
05/21/2018
                   Welfare Check              RGV
   1900
05/21/2018
                   Welfare Check              RGV
   2034
05/21/2018
                   Welfare Check              RGV
   2101
05/21/2018
             Snacks, Milk, Juice Provided     RGV
   2200
05/21/2018
                   Welfare Check              RGV
   2200
05/21/2018
                   Welfare Check              RGV                    .
   2319
05/22/2018
                   Welfare Check              RGV                    .
   0001
05/22/2018
                   Welfare Check              RGV                    .
   0100
05/22/2018
                   Welfare Check              RGV                    .
   0200
05/22/2018
                   Welfare Check              RGV                    .
   0223
05/22/2018
                   Welfare Check              RGV                    .
   0300


JORDAN Z                                                                             Printed:     7/26/18
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                                            Station /
Date/Time             Activity                          Agent Name                   Comments
                                            Facility
05/22/2018
                   Welfare Check              RGV
   0400
05/22/2018
                   Welfare Check              RGV
   0500
05/22/2018
                   Welfare Check              RGV
   0600
05/22/2018
                   Welfare Check              RGV
   0700
05/22/2018
               Served meal(Accepted)          RGV                    Hot Meal
   0700
05/22/2018
                   Welfare Check              RGV
   0800
05/22/2018
                   Welfare Check              RGV
   0901
05/22/2018
                   Welfare Check              RGV
   1013
05/22/2018
                   Welfare Check              RGV                    All subjects appear to be in good health.
   1053
05/22/2018
                   Welfare Check              RGV
   1100
05/22/2018
                  Shower Provided             RGV
   1100
05/22/2018
                   Welfare Check              RGV
   1200
05/22/2018
               Served meal(Accepted)          RGV                    Hot Meal
   1200
05/22/2018
                   Welfare Check              RGV
   1230
05/22/2018
                   Welfare Check              RGV
   1315
05/22/2018
                   Welfare Check              RGV
   1407
05/22/2018
             Snacks, Milk, Juice Provided     RGV
   1458
05/22/2018
                   Welfare Check              RGV
   1458
05/22/2018
                   Welfare Check              RGV
   1559
05/22/2018
               Served meal(Accepted)          RGV                    Cold Meal
   1559
05/22/2018
                   Welfare Check              RGV
   1651


JORDAN Z                                                                         Printed:     7/26/18
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                                            Station /
Date/Time             Activity                          Agent Name                   Comments
                                            Facility
05/22/2018
                   Welfare Check              RGV
   1757
05/22/2018
                   Welfare Check              RGV
   1904
05/22/2018
                   Welfare Check              RGV
   1957
05/22/2018
                   Welfare Check              RGV
   2000
05/22/2018
               Served meal(Accepted)          RGV                    Cold Meal
   2000
05/22/2018
             Snacks, Milk, Juice Provided     RGV
   2158
05/22/2018
                   Welfare Check              RGV
   2158
05/23/2018
                   Welfare Check              RGV
   0200
05/23/2018
                   Welfare Check              RGV
   0400
05/23/2018
                   Welfare Check              RGV
   0700
05/23/2018
               Served meal(Accepted)          RGV                    Hot Meal
   0705
05/23/2018
                   Welfare Check              RGV
   0800
05/23/2018
                   Welfare Check              RGV
   0900
05/23/2018
                   Welfare Check              RGV
   1000
05/23/2018
                   Welfare Check              RGV
   1100
05/23/2018
                   Welfare Check              RGV
   1245
05/23/2018
                   Welfare Check              RGV
   1304
05/23/2018
               Served meal(Accepted)          RGV                    Hot Meal
   1306
05/23/2018
                   Welfare Check              RGV
   1400
05/23/2018
                   Welfare Check              RGV
   1530
05/23/2018
                   Welfare Check              RGV
   1605


JORDAN Z                                                                         Printed:     7/26/18
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                                     Station /
Date/Time          Activity                      Agent Name                   Comments
                                     Facility
05/26/2018
                Welfare Check          RGV
   0103
05/26/2018
                Welfare Check          RGV
   0201
05/26/2018
                Welfare Check          RGV
   0308
05/26/2018
                Welfare Check          RGV
   0402
05/26/2018
                Welfare Check          RGV
   0520
05/26/2018
                Welfare Check          RGV
   0630
05/26/2018
                Welfare Check          RGV
   0644
05/26/2018
                Welfare Check          RGV
   0651
05/26/2018
                Welfare Check          RGV
   0810
05/26/2018
             Served meal(Accepted)     RGV                    Hot Meal
   0810
05/26/2018
                Welfare Check          RGV
   0908
05/26/2018
                Welfare Check          RGV
   0957
05/26/2018
                Welfare Check          RGV
   1057
05/26/2018
                Welfare Check          RGV
   1201
05/26/2018
                Welfare Check          RGV
   1302
05/26/2018
                Perm Book Out          RGV
   1341




JORDAN Z                                                                 Printed:      7/26/18
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Subject Activity Log


KAREN P
                                     Gender:                F
                                     DOB:                           19 yoa)
                                     Nationality:           EL SALVADOR
                                     Accompanying Adult(s):




                                     Event:
                                     A-File #:
                                     FINS #:
                                     Disposition:
Medical Conditions:                                 Detention Reasons:
No Medical Conditions Found                         Immigration Violation




Arrest Date/Time:   06/13/2018 1745
Book In Date/Time:  06/15/2018 2021
Book Out Date/Time: 06/16/2018 1044

Processing Agent:
Transport Officer:
Apprehending Agents:

ORR Facility:

Possible Trafficking?                                     Expresses Fear of Return?




KAREN P                                                                     Printed:      8/16/18
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                                            Subject Activity Log


                                             Station /
Date/Time             Activity                           Agent Name                    Comments
                                             Facility
06/13/2018
                        Arrest                 N/A
   1745
06/13/2018
                       Book In                 MCS
   2034
06/13/2018
             Snacks, Milk, Juice Provided      MCS
   2059
06/13/2018
                   Welfare Check               MCS
   2059
06/13/2018
             Medical Screening Completed       MCS
   2059
06/14/2018
                   Welfare Check               MCS
   0243
06/14/2018
                Served meal(Accepted)          MCS                    Cold Meal - sandwich juice
   0243
06/14/2018
                   Welfare Check               MCS
   0654
06/14/2018
                   Welfare Check               MCS
   0719
06/14/2018
                Served meal(Accepted)          MCS                    Cold Meal
   0719
06/14/2018
                   Welfare Check               MCS
   0805
06/14/2018
                   Welfare Check               MCS
   0949
06/14/2018
                   Welfare Check               MCS
   1146
06/14/2018
                   Welfare Check               MCS
   1253
06/14/2018
                   Welfare Check               MCS
   1304
06/14/2018
                Served meal(Accepted)          MCS                    Cold Meal
   1304
06/14/2018
                   Welfare Check               MCS
   1357
06/14/2018
             Snacks, Milk, Juice Provided      MCS
   1519
06/14/2018
             Medical Screening Completed       MCS
   1519
06/14/2018
                   Welfare Check               MCS
   1519



KAREN P                                                                           Printed:      8/16/18
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                                            Station /
Date/Time             Activity                          Agent Name                    Comments
                                            Facility
06/14/2018
             Snacks, Milk, Juice Provided     MCS
   1619
06/14/2018
             Medical Screening Completed      MCS
   1619
06/14/2018
                    Welfare Check             MCS
   1619
06/14/2018
             Snacks, Milk, Juice Provided     MCS
   1820
06/14/2018
             Medical Screening Completed      MCS
   1820
06/14/2018
                    Welfare Check             MCS
   1820
06/14/2018   Sleeping Cot/Mat and Blanket
                                              MCS
   1900                Provided
06/14/2018
                    Welfare Check             MCS
   1900
06/14/2018
             Snacks, Milk, Juice Provided     MCS
   1900
06/14/2018
                    Welfare Check             MCS
   1905
06/14/2018
                Served meal(Accepted)         MCS                    Cold Meal
   1905
06/14/2018
                    Welfare Check             MCS
   1939
06/14/2018
                Served meal(Accepted)         MCS                    Cold Meal
   1939
06/14/2018
             Snacks, Milk, Juice Provided     MCS
   2035
06/14/2018
             Medical Screening Completed      MCS
   2035
06/14/2018
                    Welfare Check             MCS
   2035
06/14/2018
             Snacks, Milk, Juice Provided     MCS
   2123
06/14/2018
             Medical Screening Completed      MCS
   2123
06/14/2018
                    Welfare Check             MCS
   2123
06/15/2018
                    Welfare Check             MCS
   0436
06/15/2018
                Served meal(Accepted)         MCS                    Cold Meal - sandwich juice
   0436


KAREN P                                                                          Printed:      8/16/18
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                                            Station /
Date/Time             Activity                          Agent Name                    Comments
                                            Facility
06/15/2018
                    Welfare Check             MCS
   0654
06/15/2018
                Served meal(Accepted)         MCS                    Cold Meal
   0654
06/15/2018
                      In Transit              MCS
   0842
06/15/2018
                     REROUTE                  MCS
   0915
06/15/2018
                      Received                WSL
   1001
06/15/2018
                    Welfare Check             WSL
   1236
06/15/2018
                 Processing Complete          WSL
   1256
06/15/2018
                    Welfare Check             WSL
   1536
06/15/2018
                Served meal(Accepted)         WSL                    Hot Meal
   1536
06/15/2018
                    Welfare Check             WSL
   1854
06/15/2018
                Served meal(Accepted)         WSL                    Hot Meal
   1854
06/15/2018
                      In Transit              WSL
   1926
06/15/2018
                      Received                RGV
   2021
06/15/2018   Sleeping Cot/Mat and Blanket
                                              RGV
   2023                Provided
06/15/2018
             Medical Screening Completed      RGV
   2023
06/15/2018
                Served meal(Accepted)         RGV                    Cold Meal
   2023
06/15/2018                                                           Subject will shower when staff arrives at
                        Other                 RGV
   2023                                                              0700
06/15/2018
                    Welfare Check             RGV
   2023
06/15/2018
                    Welfare Check             RGV
   2105
06/15/2018
                    Welfare Check             RGV
   2202
06/15/2018
                    Welfare Check             RGV
   2300


KAREN P                                                                          Printed:      8/16/18
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                                     Station /
Date/Time          Activity                      Agent Name                    Comments
                                     Facility
06/16/2018
                Welfare Check          RGV
   0207
06/16/2018
                Welfare Check          RGV
   0302
06/16/2018
                Welfare Check          RGV
   0403
06/16/2018
                Welfare Check          RGV
   0523
06/16/2018
                Welfare Check          RGV
   0744
06/16/2018
             Served meal(Accepted)     RGV                    Cold Meal - fed
   0744
06/16/2018
                Welfare Check          RGV
   0748
06/16/2018
             Served meal(Accepted)     RGV                    Hot Meal - fed
   0748
06/16/2018
                Welfare Check          RGV
   0749
06/16/2018
               Shower Provided         RGV
   0814
06/16/2018
                Welfare Check          RGV
   0914
06/16/2018
                Perm Book Out          RGV
   1044




KAREN                                                                   Printed:      8/16/18
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Subject Activity Log


NEHEMIAS B
                                     Gender:                M
                                     DOB:                           (5 yoa)
                                     Nationality:           EL SALVADOR
                                     Accompanying Adult(s): KAREN                 P




                                     Event:
                                     A-File #:
                                     FINS #:
                                     Disposition:
Medical Conditions:                                  Detention Reasons:
No Medical Conditions Found                          Immigration Violation




Arrest Date/Time:   06/13/2018 1745
Book In Date/Time:  06/15/2018 2021
Book Out Date/Time: 06/16/2018 1044

Processing Agent:
Transport Officer:
Apprehending Agents

ORR Facility:

Possible Trafficking?                                      Expresses Fear of Return?




NEHEMIAS B                                                                   Printed:      8/16/18
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                                            Subject Activity Log


                                             Station /
Date/Time             Activity                           Agent Name                    Comments
                                             Facility
06/13/2018
                        Arrest                 N/A
   1745
06/13/2018
                       Book In                 MCS
   2036
06/13/2018
             Snacks, Milk, Juice Provided      MCS
   2059
06/13/2018
                   Welfare Check               MCS
   2059
06/13/2018
             Medical Screening Completed       MCS
   2059
06/14/2018
                   Welfare Check               MCS
   0053
06/14/2018
                Served meal(Accepted)          MCS                    Cold Meal - sandwich and juice
   0053
06/14/2018
                   Welfare Check               MCS
   0654
06/14/2018
                   Welfare Check               MCS
   0719
06/14/2018
                Served meal(Accepted)          MCS                    Cold Meal
   0719
06/14/2018
                   Welfare Check               MCS
   0805
06/14/2018
                   Welfare Check               MCS
   0949
06/14/2018
                   Welfare Check               MCS
   1146
06/14/2018
                   Welfare Check               MCS
   1253
06/14/2018
                   Welfare Check               MCS
   1304
06/14/2018
                Served meal(Accepted)          MCS                    Cold Meal
   1304
06/14/2018
                   Welfare Check               MCS
   1357
06/14/2018
             Snacks, Milk, Juice Provided      MCS
   1519
06/14/2018
             Medical Screening Completed       MCS
   1519
06/14/2018
                   Welfare Check               MCS
   1519



NEHEMIAS B                                                                        Printed:      8/16/18
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                                            Station /
Date/Time             Activity                          Agent Name                    Comments
                                            Facility
06/14/2018
             Snacks, Milk, Juice Provided     MCS
   1619
06/14/2018
             Medical Screening Completed      MCS
   1619
06/14/2018
                    Welfare Check             MCS
   1619
06/14/2018
             Snacks, Milk, Juice Provided     MCS
   1820
06/14/2018
             Medical Screening Completed      MCS
   1820
06/14/2018
                    Welfare Check             MCS
   1820
06/14/2018   Sleeping Cot/Mat and Blanket
                                              MCS
   1900                Provided
06/14/2018
                    Welfare Check             MCS
   1900
06/14/2018
             Snacks, Milk, Juice Provided     MCS
   1900
06/14/2018
                    Welfare Check             MCS
   1905
06/14/2018
                Served meal(Accepted)         MCS                    Cold Meal
   1905
06/14/2018
                    Welfare Check             MCS
   1939
06/14/2018
                Served meal(Accepted)         MCS                    Cold Meal
   1939
06/14/2018
             Snacks, Milk, Juice Provided     MCS
   2035
06/14/2018
             Medical Screening Completed      MCS
   2035
06/14/2018
                    Welfare Check             MCS
   2035
06/14/2018
             Snacks, Milk, Juice Provided     MCS
   2123
06/14/2018
             Medical Screening Completed      MCS
   2123
06/14/2018
                    Welfare Check             MCS
   2123
06/15/2018
                    Welfare Check             MCS
   0223
06/15/2018
                Served meal(Accepted)         MCS                    Cold Meal - SANDWICH JUICE
   0223


NEHEMIAS B                                                                       Printed:      8/16/18
DOB:               A-File #:                                                     Page 3 of 5
Event:
    Case 2:85-cv-04544-DMG-AGR Document 475-4 Filed 08/24/18 Page 195 of 250 Page ID
                                      #:23846




                                            Station /
Date/Time             Activity                          Agent Name                    Comments
                                            Facility
06/15/2018
                    Welfare Check             MCS
   0654
06/15/2018
                Served meal(Accepted)         MCS                    Cold Meal
   0654
06/15/2018
                      In Transit              MCS
   0842
06/15/2018
                     REROUTE                  MCS
   0915
06/15/2018
                      Received                WSL
   1001
06/15/2018
                    Welfare Check             WSL
   1236
06/15/2018
                 Processing Complete          WSL
   1257
06/15/2018
                    Welfare Check             WSL
   1536
06/15/2018
                Served meal(Accepted)         WSL                    Hot Meal
   1536
06/15/2018
                    Welfare Check             WSL
   1854
06/15/2018
                Served meal(Accepted)         WSL                    Hot Meal
   1854
06/15/2018
                      In Transit              WSL
   1926
06/15/2018
                      Received                RGV
   2021
06/15/2018   Sleeping Cot/Mat and Blanket
                                              RGV
   2023                Provided
06/15/2018
             Medical Screening Completed      RGV
   2023
06/15/2018
                Served meal(Accepted)         RGV                    Cold Meal
   2023
06/15/2018                                                           Subject will shower when staff arrives at
                        Other                 RGV
   2023                                                              0700
06/15/2018
                    Welfare Check             RGV
   2023
06/15/2018
                    Welfare Check             RGV
   2105
06/15/2018
                    Welfare Check             RGV
   2202
06/15/2018
                    Welfare Check             RGV
   2300


NEHEMIAS B                                                                       Printed:      8/16/18
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Event:
    Case 2:85-cv-04544-DMG-AGR Document 475-4 Filed 08/24/18 Page 196 of 250 Page ID
                                      #:23847




                                     Station /
Date/Time          Activity                      Agent Name                    Comments
                                     Facility
06/16/2018
                Welfare Check          RGV
   0207
06/16/2018
                Welfare Check          RGV
   0302
06/16/2018
                Welfare Check          RGV
   0403
06/16/2018
                Welfare Check          RGV
   0523
06/16/2018
                Welfare Check          RGV
   0742
06/16/2018
              UAC Video Shown          RGV                    know what to expect
   0742
06/16/2018
             Served meal(Accepted)     RGV                    Hot Meal - fed
   0742
06/16/2018
                Welfare Check          RGV
   0748
06/16/2018
             Served meal(Accepted)     RGV                    Hot Meal - fed
   0748
06/16/2018
                Welfare Check          RGV
   0749
06/16/2018
               Shower Provided         RGV
   0814
06/16/2018
                Welfare Check          RGV
   0914
06/16/2018
                Perm Book Out          RGV
   1044




NEHEMIAS B                                                              Printed:      8/16/18
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Event:
   Case 2:85-cv-04544-DMG-AGR Document 475-4 Filed 08/24/18 Page 197 of 250 Page ID
                                     #:23848




Subject Activity Log


DINORA C
                                  Gender:                F
                                  DOB:                         (17 yoa)
                                  Nationality:           HONDURAS
                                  Accompanying Adult(s):




                                  Event:
                                  A-File #:
                                  FINS #:
                                  Disposition:
Medical Conditions:                              Detention Reasons:
No Medical Conditions Found                      Immigration Violation




Arrest Date/Time:   06/13/2018 1845
Book In Date/Time:  06/14/2018 1159
Book Out Date/Time: 06/17/2018 1059

Processing Agent:
Transport Officer:
Apprehending Agents:

ORR Facility:           SOUTHWEST KEY CAMPBELL

Possible Trafficking?                                  Expresses Fear of Return?




DINORA CASTRO-SERRANO                                                    Printed:      8/16/18
DOB:                  A-File #:                                          Page 1 of 7
Event:
    Case 2:85-cv-04544-DMG-AGR Document 475-4 Filed 08/24/18 Page 198 of 250 Page ID
                                      #:23849

                                            Subject Activity Log


                                             Station /
Date/Time             Activity                           Agent Name                    Comments
                                             Facility
06/13/2018
                        Arrest                 N/A
   1845
06/13/2018
                       Book In                 MCS
   2055
06/13/2018
             Snacks, Milk, Juice Provided      MCS
   2059
06/13/2018
                    Welfare Check              MCS
   2059
06/13/2018
             Medical Screening Completed       MCS
   2059
06/14/2018
                    Welfare Check              MCS
   0053
06/14/2018
                Served meal(Accepted)          MCS                    Cold Meal - sandwich and juice
   0053
06/14/2018
                    Welfare Check              MCS
   0654
06/14/2018
                    Welfare Check              MCS
   0719
06/14/2018
                Served meal(Accepted)          MCS                    Cold Meal
   0719
06/14/2018
                    Welfare Check              MCS
   0805
06/14/2018
               FOJC and ORR Notified           MCS                    Transaction ID:
   0912
06/14/2018
                      In Transit               MCS
   1126
06/14/2018
                      Received                 RGV
   1159
06/14/2018
               Bodily Cleansing Product        RGV
   1202
06/14/2018
               Dental Hygiene Product          RGV
   1202
06/14/2018
               Clean Clothing Provided         RGV
   1202
06/14/2018
             Medical Screening Completed       RGV
   1202
06/14/2018
                Served meal(Accepted)          RGV                    Hot Meal
   1202
06/14/2018
                    Welfare Check              RGV
   1202



DINORA C                                                                          Printed:      8/16/18
DOB:                        A-File #:                                             Page 2 of 7
Event:
Case 2:85-cv-04544-DMG-AGR Document 475-4 Filed 08/24/18 Page 199 of 250 Page ID
                                  #:23850
    Case 2:85-cv-04544-DMG-AGR Document 475-4 Filed 08/24/18 Page 200 of 250 Page ID
                                      #:23851




                                     Station /
Date/Time          Activity                      Agent Name                   Comments
                                     Facility
06/14/2018
                Welfare Check          RGV
   2111
06/14/2018
                Welfare Check          RGV
   2222
06/14/2018
                Welfare Check          RGV
   2300
06/15/2018
                Welfare Check          RGV
   0011
06/15/2018
                Welfare Check          RGV
   0100
06/15/2018
                Welfare Check          RGV
   0354
06/15/2018
                Welfare Check          RGV
   0400
06/15/2018
                Welfare Check          RGV
   0500
06/15/2018
              UAC Video Shown          RGV
   0700
06/15/2018
             Served meal(Accepted)     RGV                    Hot Meal
   0705
06/15/2018
                Welfare Check          RGV
   0712
06/15/2018
                Welfare Check          RGV
   0800
06/15/2018
                Welfare Check          RGV
   1038
06/15/2018
                Welfare Check          RGV
   1147
06/15/2018
                Welfare Check          RGV
   1207
06/15/2018
             Served meal(Accepted)     RGV                    Hot Meal
   1207
06/15/2018
                Welfare Check          RGV
   1318
06/15/2018
                Welfare Check          RGV
   1400
06/15/2018
                Welfare Check          RGV
   1500
06/15/2018
                Welfare Check          RGV
   1538
06/15/2018
                Welfare Check          RGV
   1600


DINORA C                                                                 Printed:      8/16/18
DOB:            A-File #:                                                Page 4 of 7
Event:
Case 2:85-cv-04544-DMG-AGR Document 475-4 Filed 08/24/18 Page 201 of 250 Page ID
                                  #:23852
    Case 2:85-cv-04544-DMG-AGR Document 475-4 Filed 08/24/18 Page 202 of 250 Page ID
                                      #:23853




                                      Station /
Date/Time           Activity                      Agent Name                    Comments
                                      Facility
06/16/2018
                Shower Provided         RGV
   1200
06/16/2018
                 Welfare Check          RGV
   1248
06/16/2018
               UAC Video Shown          RGV                    know what to expect
   1248
06/16/2018
              Served meal(Accepted)     RGV                    Hot Meal - fed
   1248
06/16/2018
                 Welfare Check          RGV
   1319
06/16/2018
                 Welfare Check          RGV
   1404
06/16/2018
                 Welfare Check          RGV
   1458
06/16/2018
                 Welfare Check          RGV
   1557
06/16/2018
                 Welfare Check          RGV
   1658
06/16/2018
              Served meal(Accepted)     RGV                    Cold Meal
   1658
06/16/2018
               UAC Video Shown          RGV
   1659
06/16/2018
                 Welfare Check          RGV
   1753
06/16/2018
                 Telephone Used         RGV
   1815
06/16/2018
             ORR Placement Received     RGV                    SWK Campbell
   1822
06/16/2018
                 Welfare Check          RGV
   1904
06/16/2018
                 Welfare Check          RGV
   2052
06/16/2018
                 Welfare Check          RGV
   2247
06/17/2018
                 Welfare Check          RGV
   0028
06/17/2018
                 Welfare Check          RGV
   0100
06/17/2018
                 Welfare Check          RGV
   0200
06/17/2018
                 Welfare Check          RGV
   0302


DINORA C                                                                   Printed:      8/16/18
DOB:             A-File #:                                                 Page 6 of 7
Event:
    Case 2:85-cv-04544-DMG-AGR Document 475-4 Filed 08/24/18 Page 203 of 250 Page ID
                                      #:23854




                                     Station /
Date/Time          Activity                      Agent Name                   Comments
                                     Facility
06/17/2018
                Welfare Check          RGV
   0400
06/17/2018
                Welfare Check          RGV
   0405
06/17/2018
                Welfare Check          RGV
   0500
06/17/2018
                Welfare Check          RGV
   0559
06/17/2018
                Welfare Check          RGV
   0654
06/17/2018
                Welfare Check          RGV
   0700
06/17/2018
                Welfare Check          RGV
   0730
06/17/2018
             Served meal(Accepted)     RGV                    Hot Meal
   0730
06/17/2018
                Welfare Check          RGV
   0822
06/17/2018
                Welfare Check          RGV
   0903
06/17/2018
                Welfare Check          RGV
   1004
06/17/2018
                Perm Book Out          RGV
   1059




DINORA C                                                                 Printed:      8/16/18
DOB:            A-File #:                                                Page 7 of 7
Event:
   Case 2:85-cv-04544-DMG-AGR Document 475-4 Filed 08/24/18 Page 204 of 250 Page ID
                                     #:23855




Subject Activity Log


RIGOBERTO C
                                  Gender:                M
                                  DOB:
                                  Nationality:           HONDURAS
                                  Accompanying Adult(s):




                                  Event:
                                  A-File #:
                                  FINS #:
                                  Disposition:
Medical Conditions:                              Detention Reasons:
No Medical Conditions Found                      Immigration Violation




Arrest Date/Time:   06/13/2018 1845
Book In Date/Time:  06/14/2018 1159
Book Out Date/Time: 06/17/2018 1059

Processing Agent:
Transport Officer:
Apprehending Agents:

ORR Facility:           SOUTHWEST KEY CAMPBELL

Possible Trafficking?                                  Expresses Fear of Return?




RIGOBERTO CASTRO-SERRANO                                                 Printed:      8/16/18
DOB: 04/21/2017(1 yoa) A-File #: 215763681                               Page 1 of 7
Event: MCS1806000486
    Case 2:85-cv-04544-DMG-AGR Document 475-4 Filed 08/24/18 Page 205 of 250 Page ID
                                      #:23856

                                            Subject Activity Log


                                             Station /
Date/Time             Activity                           Agent Name                    Comments
                                             Facility
06/13/2018
                        Arrest                 N/A
   1845
06/13/2018
                       Book In                 MCS
   2056
06/13/2018
             Snacks, Milk, Juice Provided      MCS
   2059
06/13/2018
                    Welfare Check              MCS
   2059
06/13/2018
             Medical Screening Completed       MCS
   2059
06/14/2018
                    Welfare Check              MCS
   0053
06/14/2018
                Served meal(Accepted)          MCS                    Cold Meal - sandwich and juice
   0053
06/14/2018
                    Welfare Check              MCS
   0654
06/14/2018
                    Welfare Check              MCS
   0719
06/14/2018
                Served meal(Accepted)          MCS                    Cold Meal
   0719
06/14/2018
                    Welfare Check              MCS
   0805
06/14/2018
               FOJC and ORR Notified           MCS                    Transaction ID:
   0913
06/14/2018
                      In Transit               MCS
   1126
06/14/2018
                      Received                 RGV
   1159
06/14/2018
               Bodily Cleansing Product        RGV
   1202
06/14/2018
               Dental Hygiene Product          RGV
   1202
06/14/2018
               Clean Clothing Provided         RGV
   1202
06/14/2018
             Medical Screening Completed       RGV
   1202
06/14/2018
                Served meal(Accepted)          RGV                    Hot Meal
   1202
06/14/2018
                    Welfare Check              RGV
   1202



RIGOBERTO C                                                                       Printed:      8/16/18
DOB:                        A-File #:                                             Page 2 of 7
Event:
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                                  #:23857
    Case 2:85-cv-04544-DMG-AGR Document 475-4 Filed 08/24/18 Page 207 of 250 Page ID
                                      #:23858




                                      Station /
Date/Time           Activity                      Agent Name                   Comments
                                      Facility
06/14/2018
                 Welfare Check          RGV
   2111
06/14/2018
                 Welfare Check          RGV
   2222
06/14/2018
                 Welfare Check          RGV
   2300
06/15/2018
                 Welfare Check          RGV
   0011
06/15/2018
                 Welfare Check          RGV
   0100
06/15/2018
                 Welfare Check          RGV
   0354
06/15/2018
                 Welfare Check          RGV
   0400
06/15/2018
                 Welfare Check          RGV
   0500
06/15/2018
               UAC Video Shown          RGV
   0700
06/15/2018
              Served meal(Accepted)     RGV                    Hot Meal
   0705
06/15/2018
                 Welfare Check          RGV
   0712
06/15/2018
                 Welfare Check          RGV
   0800
06/15/2018
                 Welfare Check          RGV
   1038
06/15/2018
                 Welfare Check          RGV
   1147
06/15/2018
                 Welfare Check          RGV
   1207
06/15/2018
              Served meal(Accepted)     RGV                    Hot Meal
   1207
06/15/2018
                 Welfare Check          RGV
   1318
06/15/2018
                 Welfare Check          RGV
   1400
06/15/2018
                 Welfare Check          RGV
   1500
06/15/2018
                 Welfare Check          RGV
   1538
06/15/2018
                 Welfare Check          RGV
   1600


RIGOBERTO C                                                               Printed:      8/16/18
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Event:
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                                      #:23859




                                            Station /
Date/Time             Activity                          Agent Name                    Comments
                                            Facility
06/15/2018
               Served meal(Accepted)          RGV                    Cold Meal
   1600
06/15/2018
                   Welfare Check              RGV
   1701
06/15/2018
                 UAC Video Shown              RGV
   1712
06/15/2018
                   Welfare Check              RGV
   1800
06/15/2018
                   Welfare Check              RGV
   1901
06/15/2018
                   Telephone Used             RGV
   1902
06/15/2018
             Snacks, Milk, Juice Provided     RGV
   2008
06/15/2018
                   Welfare Check              RGV
   2008
06/15/2018
                   Welfare Check              RGV
   2105
06/15/2018
                   Welfare Check              RGV
   2202
06/15/2018
                   Welfare Check              RGV
   2300
06/16/2018
                   Welfare Check              RGV
   0207
06/16/2018
                   Welfare Check              RGV
   0302
06/16/2018
                   Welfare Check              RGV
   0403
06/16/2018
                   Welfare Check              RGV
   0523
06/16/2018
                   Welfare Check              RGV
   0742
06/16/2018
                 UAC Video Shown              RGV                    know what to expect
   0742
06/16/2018
               Served meal(Accepted)          RGV                    Hot Meal - fed
   0742
06/16/2018
                   Welfare Check              RGV
   0749
06/16/2018
                   Welfare Check              RGV
   0914
06/16/2018
                   Welfare Check              RGV
   1153


RIGOBERTO C                                                                      Printed:      8/16/18
DOB:               A-File #:                                                     Page 5 of 7
Event:
    Case 2:85-cv-04544-DMG-AGR Document 475-4 Filed 08/24/18 Page 209 of 250 Page ID
                                      #:23860




                                       Station /
Date/Time            Activity                      Agent Name                    Comments
                                       Facility
06/16/2018
                 Shower Provided         RGV
   1200
06/16/2018
                  Welfare Check          RGV
   1248
06/16/2018
                UAC Video Shown          RGV                    know what to expect
   1248
06/16/2018
               Served meal(Accepted)     RGV                    Hot Meal - fed
   1248
06/16/2018
                  Welfare Check          RGV
   1319
06/16/2018
                  Welfare Check          RGV
   1404
06/16/2018
                  Welfare Check          RGV
   1458
06/16/2018
                  Welfare Check          RGV
   1557
06/16/2018
                  Welfare Check          RGV
   1658
06/16/2018
               Served meal(Accepted)     RGV                    Cold Meal
   1658
06/16/2018
                UAC Video Shown          RGV
   1659
06/16/2018
                  Welfare Check          RGV
   1753
06/16/2018
                  Telephone Used         RGV
   1815
06/16/2018
              ORR Placement Received     RGV                    SWK Campbell
   1822
06/16/2018
                  Welfare Check          RGV
   1904
06/16/2018
                  Welfare Check          RGV
   2052
06/16/2018
                  Welfare Check          RGV
   2247
06/17/2018
                  Welfare Check          RGV
   0028
06/17/2018
                  Welfare Check          RGV
   0100
06/17/2018
                  Welfare Check          RGV
   0200
06/17/2018
                  Welfare Check          RGV
   0302


RIGOBERTO C                                                                 Printed:      8/16/18
DOB:              A-File #:                                                 Page 6 of 7
Event:
    Case 2:85-cv-04544-DMG-AGR Document 475-4 Filed 08/24/18 Page 210 of 250 Page ID
                                      #:23861




                                      Station /
Date/Time           Activity                      Agent Name                   Comments
                                      Facility
06/17/2018
                 Welfare Check          RGV
   0400
06/17/2018
                 Welfare Check          RGV
   0405
06/17/2018
                 Welfare Check          RGV
   0500
06/17/2018
                 Welfare Check          RGV
   0559
06/17/2018
                 Welfare Check          RGV
   0654
06/17/2018
                 Welfare Check          RGV
   0700
06/17/2018
                 Welfare Check          RGV
   0730
06/17/2018
              Served meal(Accepted)     RGV                    Hot Meal
   0730
06/17/2018
                 Welfare Check          RGV
   0822
06/17/2018
                 Welfare Check          RGV
   0903
06/17/2018
                 Welfare Check          RGV
   1004
06/17/2018
                 Perm Book Out          RGV
   1059




RIGOBERTO C                                                               Printed:      8/16/18
DOB:             A-File #:                                                Page 7 of 7
Event:
   Case 2:85-cv-04544-DMG-AGR Document 475-4 Filed 08/24/18 Page 211 of 250 Page ID
                                     #:23862




Subject Activity Log


LEYDI V
                                     Gender:                F
                                     DOB:                          32 yoa)
                                     Nationality:           HONDURAS
                                     Accompanying Adult(s):




                                     Event:
                                     A-File #:
                                     FINS #:
                                     Disposition:
Medical Conditions:                                 Detention Reasons:
No Medical Conditions Found                         Immigration Violation




Arrest Date/Time:   06/02/2018 2035
Book In Date/Time:  06/03/2018 1738
Book Out Date/Time: 06/06/2018 1139

Processing Agent:
Transport Officer:
Apprehending Agents:

ORR Facility:

Possible Trafficking?                                     Expresses Fear of Return?




LEYDI V                                                                     Printed:      8/16/18
DOB:                     A-File #:                                          Page 1 of 7
Event:
    Case 2:85-cv-04544-DMG-AGR Document 475-4 Filed 08/24/18 Page 212 of 250 Page ID
                                      #:23863

                                            Subject Activity Log


                                             Station /
Date/Time             Activity                           Agent Name                    Comments
                                             Facility
06/02/2018
                        Arrest                 N/A
   2035
06/03/2018
                       Book In                 MCS
   0131
06/03/2018   Sleeping Cot/Mat and Blanket
                                               MCS
   0200                Provided
06/03/2018
             Snacks, Milk, Juice Provided      MCS
   0200
06/03/2018
                    Welfare Check              MCS
   0200
06/03/2018
             Medical Screening Completed       MCS
   0200
06/03/2018
                    Welfare Check              MCS
   0735
06/03/2018
                Served meal(Accepted)          MCS                    Cold Meal
   0735
06/03/2018
                    Welfare Check              MCS
   0800
06/03/2018
                    Welfare Check              MCS
   0900
06/03/2018
                    Welfare Check              MCS
   1004
06/03/2018
                    Welfare Check              MCS
   1100
06/03/2018
                Served meal(Accepted)          MCS                    Cold Meal
   1100
06/03/2018
                    Welfare Check              MCS
   1108
06/03/2018
                    Welfare Check              MCS
   1200
06/03/2018
                    Welfare Check              MCS
   1318
06/03/2018
                    Welfare Check              MCS
   1400
06/03/2018
                    Welfare Check              MCS
   1533
06/03/2018
                      In Transit               MCS
   1711
06/03/2018
                      Received                 RGV
   1738



LEYDI V                                                                           Printed:      8/16/18
DOB:                        A-File #:                                             Page 2 of 7
Event:
Case 2:85-cv-04544-DMG-AGR Document 475-4 Filed 08/24/18 Page 213 of 250 Page ID
                                  #:23864
    Case 2:85-cv-04544-DMG-AGR Document 475-4 Filed 08/24/18 Page 214 of 250 Page ID
                                      #:23865




                                     Station /
Date/Time          Activity                      Agent Name                    Comments
                                     Facility
06/04/2018
                Welfare Check          RGV
   0321
06/04/2018
                Welfare Check          RGV
   0402
06/04/2018
                Welfare Check          RGV
   0403
06/04/2018
                Welfare Check          RGV
   0459
06/04/2018
                Welfare Check          RGV
   0613
06/04/2018
                Welfare Check          RGV                    welfare
   0700
06/04/2018
                Welfare Check          RGV
   0800
06/04/2018
             Served meal(Accepted)     RGV                    Hot Meal - breakfast served
   0800
06/04/2018
                Welfare Check          RGV                    welfare check
   0916
06/04/2018
                Welfare Check          RGV                    Welfare Check
   1002
06/04/2018
                Welfare Check          RGV                    Welfare Check
   1110
06/04/2018
                Welfare Check          RGV
   1226
06/04/2018
                Welfare Check          RGV                    welfare check
   1255
06/04/2018
                Welfare Check          RGV
   1311
06/04/2018
             Served meal(Accepted)     RGV                    Hot Meal - lunch served at 1200
   1311
06/04/2018
                Welfare Check          RGV                    welfare check for 1400
   1415
06/04/2018
                Welfare Check          RGV
   1457
06/04/2018
                Welfare Check          RGV
   1559
06/04/2018
             Served meal(Accepted)     RGV                    Cold Meal
   1559
06/04/2018
                Welfare Check          RGV
   1809
06/04/2018
                Welfare Check          RGV
   1851


LEYDI V                                                                   Printed:      8/16/18
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Event:
    Case 2:85-cv-04544-DMG-AGR Document 475-4 Filed 08/24/18 Page 215 of 250 Page ID
                                      #:23866




                                            Station /
Date/Time             Activity                          Agent Name                   Comments
                                            Facility
06/04/2018
                   Welfare Check              RGV
   2007
06/04/2018
                   Welfare Check              RGV
   2052
06/04/2018
             Snacks, Milk, Juice Provided     RGV
   2155
06/04/2018
                   Welfare Check              RGV
   2155
06/05/2018
                   Welfare Check              RGV
   0238
06/05/2018
                   Welfare Check              RGV
   0300
06/05/2018
                   Welfare Check              RGV
   0305
06/05/2018
                   Welfare Check              RGV
   0406
06/05/2018
                   Welfare Check              RGV
   0506
06/05/2018
                   Welfare Check              RGV
   0604
06/05/2018
                   Welfare Check              RGV
   0705
06/05/2018
                   Welfare Check              RGV
   0708
06/05/2018
               Served meal(Accepted)          RGV                    Hot Meal
   0708
06/05/2018
                   Welfare Check              RGV
   0800
06/05/2018
                   Welfare Check              RGV
   0930
06/05/2018
                   Welfare Check              RGV
   1015
06/05/2018
                Processing Complete           RGV
   1032
06/05/2018
                   Welfare Check              RGV
   1115
06/05/2018
                   Welfare Check              RGV
   1207
06/05/2018
               Served meal(Accepted)          RGV                    Hot Meal
   1207
06/05/2018
                   Welfare Check              RGV
   1230


LEYDI V                                                                         Printed:      8/16/18
DOB:               A-File #                                                     Page 5 of 7
Event:
    Case 2:85-cv-04544-DMG-AGR Document 475-4 Filed 08/24/18 Page 216 of 250 Page ID
                                      #:23867




                                            Station /
Date/Time             Activity                          Agent Name                    Comments
                                            Facility
06/05/2018
               Served meal(Accepted)          RGV                    Hot Meal
   1230
06/05/2018
                   Welfare Check              RGV
   1317
06/05/2018
                   Welfare Check              RGV
   1408
06/05/2018
                   Welfare Check              RGV
   1452
06/05/2018
                   Welfare Check              RGV
   1600
06/05/2018
               Served meal(Accepted)          RGV                    Cold Meal
   1600
06/05/2018
                   Welfare Check              RGV
   1703
06/05/2018
                   Welfare Check              RGV
   1757
06/05/2018
                   Welfare Check              RGV
   2000
06/05/2018
                   Welfare Check              RGV
   2056
06/05/2018
             Snacks, Milk, Juice Provided     RGV
   2159
06/05/2018
                   Welfare Check              RGV
   2159
06/05/2018
                   Welfare Check              RGV
   2326
06/06/2018
                   Welfare Check              RGV
   0054
06/06/2018
                   Welfare Check              RGV
   0105
06/06/2018
                   Welfare Check              RGV
   0406
06/06/2018
                   Welfare Check              RGV
   0533
06/06/2018
                   Welfare Check              RGV
   0706
06/06/2018
               Served meal(Accepted)          RGV                    Hot Meal
   0717
06/06/2018
                   Welfare Check              RGV
   0800
06/06/2018
                   Welfare Check              RGV
   0900


LEYDI V                                                                          Printed:      8/16/18
DOB:               A-File #                                                      Page 6 of 7
Event:
    Case 2:85-cv-04544-DMG-AGR Document 475-4 Filed 08/24/18 Page 217 of 250 Page ID
                                      #:23868




                                  Station /
Date/Time          Activity                   Agent Name             Comments
                                  Facility
06/06/2018
                Perm Book Out       RGV
   1139




LEYDI V                                                         Printed:      8/16/18
DOB:             -File #:                                       Page 7 of 7
Event:
   Case 2:85-cv-04544-DMG-AGR Document 475-4 Filed 08/24/18 Page 218 of 250 Page ID
                                     #:23869




Subject Activity Log


SOHELLYN V
                                     Gender:                F
                                     DOB:                         (9 yoa)
                                     Nationality:           HONDURAS
                                     Accompanying Adult(s): LEYDI         V




                                     Event:
                                     A-File #:
                                     FINS #:
                                     Disposition:
Medical Conditions:                                 Detention Reasons:
No Medical Conditions Found                         Immigration Violation




Arrest Date/Time:   06/02/2018 2035
Book In Date/Time:  06/03/2018 1738
Book Out Date/Time: 06/06/2018 1139

Processing Agent:
Transport Officer:
Apprehending Agents:

ORR Facility:

Possible Trafficking?                                     Expresses Fear of Return?




SOHELLYN V                                                                  Printed:      8/16/18
DOB:                     A-File #:                                          Page 1 of 7
Event:
    Case 2:85-cv-04544-DMG-AGR Document 475-4 Filed 08/24/18 Page 219 of 250 Page ID
                                      #:23870

                                            Subject Activity Log


                                             Station /
Date/Time             Activity                           Agent Name                    Comments
                                             Facility
06/02/2018
                        Arrest                 N/A
   2035
06/03/2018
                       Book In                 MCS
   0132
06/03/2018   Sleeping Cot/Mat and Blanket
                                               MCS
   0200                Provided
06/03/2018
             Snacks, Milk, Juice Provided      MCS
   0200
06/03/2018
                    Welfare Check              MCS
   0200
06/03/2018
             Medical Screening Completed       MCS
   0200
06/03/2018
                    Welfare Check              MCS
   0735
06/03/2018
                Served meal(Accepted)          MCS                    Cold Meal
   0735
06/03/2018
                    Welfare Check              MCS
   0800
06/03/2018
                    Welfare Check              MCS
   0900
06/03/2018
                    Welfare Check              MCS
   1004
06/03/2018
                    Welfare Check              MCS
   1100
06/03/2018
                Served meal(Accepted)          MCS                    Cold Meal
   1100
06/03/2018
                    Welfare Check              MCS
   1108
06/03/2018
                    Welfare Check              MCS
   1200
06/03/2018
                    Welfare Check              MCS
   1318
06/03/2018
                    Welfare Check              MCS
   1400
06/03/2018
                    Welfare Check              MCS
   1533
06/03/2018
                      In Transit               MCS
   1711
06/03/2018
                      Received                 RGV
   1738



SOHELLYN V                                                                        Printed:      8/16/18
DOB:                        A-File #:                                             Page 2 of 7
Event:
Case 2:85-cv-04544-DMG-AGR Document 475-4 Filed 08/24/18 Page 220 of 250 Page ID
                                  #:23871
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                                      #:23872




                                     Station /
Date/Time          Activity                      Agent Name                    Comments
                                     Facility
06/04/2018
                Welfare Check          RGV
   0257
06/04/2018
                Welfare Check          RGV
   0321
06/04/2018
                Welfare Check          RGV
   0402
06/04/2018
                Welfare Check          RGV
   0403
06/04/2018
                Welfare Check          RGV
   0459
06/04/2018
                Welfare Check          RGV
   0613
06/04/2018
                Welfare Check          RGV                    welfare
   0700
06/04/2018
                Welfare Check          RGV
   0800
06/04/2018
             Served meal(Accepted)     RGV                    Hot Meal - breakfast served
   0800
06/04/2018
                Welfare Check          RGV                    welfare check
   0916
06/04/2018
                Welfare Check          RGV                    Welfare Check
   1002
06/04/2018
                Welfare Check          RGV                    Welfare Check
   1110
06/04/2018
                Welfare Check          RGV
   1226
06/04/2018
                Welfare Check          RGV                    welfare check
   1255
06/04/2018
                Welfare Check          RGV
   1311
06/04/2018
             Served meal(Accepted)     RGV                    Hot Meal - lunch served at 1200
   1311
06/04/2018
                Welfare Check          RGV                    welfare check for 1400
   1415
06/04/2018
                Welfare Check          RGV
   1457
06/04/2018
                Welfare Check          RGV
   1559
06/04/2018
             Served meal(Accepted)     RGV                    Cold Meal
   1559
06/04/2018
                Welfare Check          RGV
   1809


SOHELLYN V                                                                Printed:      8/16/18
DOB:            A-File #:                                                 Page 4 of 7
Event:
Case 2:85-cv-04544-DMG-AGR Document 475-4 Filed 08/24/18 Page 222 of 250 Page ID
                                  #:23873
    Case 2:85-cv-04544-DMG-AGR Document 475-4 Filed 08/24/18 Page 223 of 250 Page ID
                                      #:23874




                                            Station /
Date/Time             Activity                          Agent Name                    Comments
                                            Facility
06/05/2018
                   Welfare Check              RGV
   1207
06/05/2018
               Served meal(Accepted)          RGV                    Hot Meal
   1207
06/05/2018
                   Welfare Check              RGV
   1230
06/05/2018
               Served meal(Accepted)          RGV                    Hot Meal
   1230
06/05/2018
              Bodily Cleansing Product        RGV
   1316
06/05/2018
               Dental Hygiene Product         RGV
   1316
06/05/2018
               Clean Clothing Provided        RGV
   1316
06/05/2018
                  Shower Provided             RGV
   1316
06/05/2018
                   Welfare Check              RGV
   1317
06/05/2018
                   Welfare Check              RGV
   1408
06/05/2018
                   Welfare Check              RGV
   1452
06/05/2018
                   Welfare Check              RGV
   1600
06/05/2018
               Served meal(Accepted)          RGV                    Cold Meal
   1600
06/05/2018
                   Welfare Check              RGV
   1703
06/05/2018
                   Welfare Check              RGV
   1757
06/05/2018
                   Welfare Check              RGV
   2000
06/05/2018
                   Welfare Check              RGV
   2056
06/05/2018
             Snacks, Milk, Juice Provided     RGV
   2159
06/05/2018
                   Welfare Check              RGV
   2159
06/05/2018
                   Welfare Check              RGV
   2326
06/06/2018
                   Welfare Check              RGV
   0054


SOHELLYN V                                                                       Printed:      8/16/18
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Event:
    Case 2:85-cv-04544-DMG-AGR Document 475-4 Filed 08/24/18 Page 224 of 250 Page ID
                                      #:23875




                                     Station /
Date/Time          Activity                      Agent Name                   Comments
                                     Facility
06/06/2018
                Welfare Check          RGV
   0105
06/06/2018
                Welfare Check          RGV
   0406
06/06/2018
                Welfare Check          RGV
   0533
06/06/2018
                Welfare Check          RGV
   0706
06/06/2018
             Served meal(Accepted)     RGV                    Hot Meal
   0717
06/06/2018
                Welfare Check          RGV
   0800
06/06/2018
                Welfare Check          RGV
   0900
06/06/2018
                Perm Book Out          RGV
   1139




SOHELLYN V                                                               Printed:      8/16/18
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Event:
   Case 2:85-cv-04544-DMG-AGR Document 475-4 Filed 08/24/18 Page 225 of 250 Page ID
                                     #:23876




Subject Activity Log


SINDY S
                                     Gender:                F
                                     DOB:                         (27 yoa)
                                     Nationality:           HONDURAS
                                     Accompanying Adult(s):




                                     Event:
                                     A-File #:
                                     FINS #:
                                     Disposition:
Medical Conditions:                                 Detention Reasons:
No Medical Conditions Found                         Immigration Violation




Arrest Date/Time:   06/02/2018 2035
Book In Date/Time:  06/03/2018 0805
Book Out Date/Time: 06/05/2018 1107

Processing Agent:
Transport Officer:
Apprehending Agents:

ORR Facility:

Possible Trafficking?                                     Expresses Fear of Return?




SINDY S                                                                     Printed:      8/16/18
DOB:                     A-File #:                                          Page 1 of 5
Event:
    Case 2:85-cv-04544-DMG-AGR Document 475-4 Filed 08/24/18 Page 226 of 250 Page ID
                                      #:23877

                                            Subject Activity Log


                                             Station /
Date/Time             Activity                           Agent Name                   Comments
                                             Facility
06/02/2018
                        Arrest                 N/A
   2035
06/03/2018
                       Book In                 MCS
   0026
06/03/2018   Sleeping Cot/Mat and Blanket
                                               MCS
   0200                Provided
06/03/2018
             Snacks, Milk, Juice Provided      MCS
   0200
06/03/2018
                    Welfare Check              MCS
   0200
06/03/2018
             Medical Screening Completed       MCS
   0200
06/03/2018
                      In Transit               MCS
   0645
06/03/2018
                      Received                 RGV
   0805
06/03/2018
               Bodily Cleansing Product        RGV
   0807
06/03/2018
                Dental Hygiene Product         RGV
   0807
06/03/2018
               Clean Clothing Provided         RGV
   0807
06/03/2018
             Medical Treatment (Non-OBP)       RGV
   0807
06/03/2018
                    Welfare Check              RGV
   0807
06/03/2018
             Snacks, Milk, Juice Provided      RGV
   0807
06/03/2018
                   Shower Provided             RGV
   0807
06/03/2018   Sleeping Cot/Mat and Blanket
                                               RGV
   0807                Provided
06/03/2018
             Snacks, Milk, Juice Provided      RGV
   0848
06/03/2018
                Served meal(Accepted)          RGV                    Hot Meal
   0848
06/03/2018
                    Welfare Check              RGV
   0848
06/03/2018
                    Welfare Check              RGV                    welfare check at 1100
   1101



SINDY S                                                                          Printed:      8/16/18
DOB:                        A-File #                                             Page 2 of 5
Event:
    Case 2:85-cv-04544-DMG-AGR Document 475-4 Filed 08/24/18 Page 227 of 250 Page ID
                                      #:23878




                                     Station /
Date/Time          Activity                      Agent Name                    Comments
                                     Facility
06/03/2018
                Welfare Check          RGV
   1214
06/03/2018
             Served meal(Accepted)     RGV                    Hot Meal - lunch served at 1200
   1214
06/03/2018
                Welfare Check          RGV
   1320
06/03/2018
                Welfare Check          RGV
   1415
06/03/2018
                Welfare Check          RGV
   1509
06/03/2018
                Welfare Check          RGV
   1525
06/03/2018
                Welfare Check          RGV
   1602
06/03/2018
                Welfare Check          RGV
   1604
06/03/2018
             Served meal(Accepted)     RGV                    Cold Meal
   1604
06/03/2018
                Welfare Check          RGV
   1706
06/03/2018
                Welfare Check          RGV
   1822
06/03/2018
                Welfare Check          RGV
   1939
06/03/2018
                Welfare Check          RGV
   2017
06/03/2018
                Welfare Check          RGV
   2113
06/03/2018
                Welfare Check          RGV
   2215
06/03/2018
                Welfare Check          RGV
   2309
06/03/2018
                Welfare Check          RGV
   2335
06/04/2018
                Welfare Check          RGV
   0000
06/04/2018
                Welfare Check          RGV
   0001
06/04/2018
                Welfare Check          RGV
   0034
06/04/2018
                Welfare Check          RGV
   0101


SINDY S                                                                   Printed:      8/16/18
DOB:             -File #:                                                 Page 3 of 5
Event:
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                                  #:23879
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                                  #:23880
Case 2:85-cv-04544-DMG-AGR Document 475-4 Filed 08/24/18 Page 230 of 250 Page ID
                                  #:23881
Case 2:85-cv-04544-DMG-AGR Document 475-4 Filed 08/24/18 Page 231 of 250 Page ID
                                  #:23882
    Case 2:85-cv-04544-DMG-AGR Document 475-4 Filed 08/24/18 Page 232 of 250 Page ID
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                                     Station /
Date/Time          Activity                      Agent Name                    Comments
                                     Facility
06/03/2018
                Welfare Check          RGV
   1214
06/03/2018
             Served meal(Accepted)     RGV                    Hot Meal - lunch served at 1200
   1214
06/03/2018
                Welfare Check          RGV
   1320
06/03/2018
                Welfare Check          RGV
   1415
06/03/2018
                Welfare Check          RGV
   1509
06/03/2018
                Welfare Check          RGV
   1525
06/03/2018
                Welfare Check          RGV
   1602
06/03/2018
                Welfare Check          RGV
   1605
06/03/2018
             Served meal(Accepted)     RGV                    Cold Meal
   1605
06/03/2018
                Welfare Check          RGV
   1706
06/03/2018
                Welfare Check          RGV
   1822
06/03/2018
                Welfare Check          RGV
   1939
06/03/2018
                Welfare Check          RGV
   2017
06/03/2018
                Welfare Check          RGV
   2113
06/03/2018
                Welfare Check          RGV
   2215
06/03/2018
                Welfare Check          RGV
   2309
06/03/2018
                Welfare Check          RGV
   2335
06/04/2018
                Welfare Check          RGV
   0000
06/04/2018
                Welfare Check          RGV
   0001
06/04/2018
                Welfare Check          RGV
   0034
06/04/2018
                Welfare Check          RGV
   0101


ASHLEE A                                                                  Printed:      8/16/18
DOB:            A-File #                                                  Page 3 of 6
Event:
Case 2:85-cv-04544-DMG-AGR Document 475-4 Filed 08/24/18 Page 233 of 250 Page ID
                                  #:23884
Case 2:85-cv-04544-DMG-AGR Document 475-4 Filed 08/24/18 Page 234 of 250 Page ID
                                  #:23885
Case 2:85-cv-04544-DMG-AGR Document 475-4 Filed 08/24/18 Page 235 of 250 Page ID
                                  #:23886
Case 2:85-cv-04544-DMG-AGR Document 475-4 Filed 08/24/18 Page 236 of 250 Page ID
                                  #:23887
    Case 2:85-cv-04544-DMG-AGR Document 475-4 Filed 08/24/18 Page 237 of 250 Page ID
                                      #:23888

                                            Subject Activity Log


                                             Station /
Date/Time             Activity                           Agent Name                    Comments
                                             Facility
06/13/2018
                        Arrest                 N/A
   1745
06/13/2018
                       Book In                 MCS
   2032
06/13/2018
             Snacks, Milk, Juice Provided      MCS
   2059
06/13/2018
                   Welfare Check               MCS
   2059
06/13/2018
             Medical Screening Completed       MCS
   2059
06/14/2018
                   Welfare Check               MCS
   0053
06/14/2018
                Served meal(Accepted)          MCS                    Cold Meal - sandwich and juice
   0053
06/14/2018
                   Welfare Check               MCS
   0654
06/14/2018
                   Welfare Check               MCS
   0719
06/14/2018
                Served meal(Accepted)          MCS                    Cold Meal
   0719
06/14/2018
                   Welfare Check               MCS
   0805
06/14/2018
                   Welfare Check               MCS
   1146
06/14/2018
                   Welfare Check               MCS
   1253
06/14/2018
                   Welfare Check               MCS
   1304
06/14/2018
                Served meal(Accepted)          MCS                    Cold Meal
   1304
06/14/2018
                   Welfare Check               MCS
   1357
06/14/2018
             Snacks, Milk, Juice Provided      MCS
   1519
06/14/2018
             Medical Screening Completed       MCS
   1519
06/14/2018
                   Welfare Check               MCS
   1519
06/14/2018
               FOJC and ORR Notified           MCS                    Transaction ID:
   1531



DAVID D                                                                           Printed:      7/26/18
DOB:                        A-File #:                                             Page 2 of 5
Event:
Case 2:85-cv-04544-DMG-AGR Document 475-4 Filed 08/24/18 Page 238 of 250 Page ID
                                  #:23889
Case 2:85-cv-04544-DMG-AGR Document 475-4 Filed 08/24/18 Page 239 of 250 Page ID
                                  #:23890
Case 2:85-cv-04544-DMG-AGR Document 475-4 Filed 08/24/18 Page 240 of 250 Page ID
                                  #:23891
   Case 2:85-cv-04544-DMG-AGR Document 475-4 Filed 08/24/18 Page 241 of 250 Page ID
                                     #:23892




Subject Activity Log


CESAR D
                                   Gender:                M
                                   DOB:                           (12 yoa)
                                   Nationality:           EL SALVADOR
                                   Accompanying Adult(s):




                                   Event:
                                   A-File #:
                                   FINS #:
                                   Disposition:
Medical Conditions:                                Detention Reasons:
No Medical Conditions Found                        Immigration Violation




Arrest Date/Time:   06/13/2018 1745
Book In Date/Time:  06/14/2018 2330
Book Out Date/Time: 06/15/2018 2348

Processing Agent:
Transport Officer:
Apprehending Agents:

ORR Facility:           BAPTIST CHILD & FAMILY SVCS-HLG

Possible Trafficking?                                    Expresses Fear of Return?




CESAR DELGADO-ROMERO                                                       Printed:      7/26/18
DOB: 09/28/2005(12 yoa) A-File #: 215763682                                Page 1 of 5
Event: MCS1806000485
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                                      #:23893

                                            Subject Activity Log


                                             Station /
Date/Time             Activity                           Agent Name                    Comments
                                             Facility
06/13/2018
                        Arrest                 N/A
   1745
06/13/2018
                       Book In                 MCS
   2033
06/13/2018
             Snacks, Milk, Juice Provided      MCS
   2059
06/13/2018
                   Welfare Check               MCS
   2059
06/13/2018
             Medical Screening Completed       MCS
   2059
06/14/2018
                   Welfare Check               MCS
   0053
06/14/2018
                Served meal(Accepted)          MCS                    Cold Meal - sandwich and juice
   0053
06/14/2018
                   Welfare Check               MCS
   0654
06/14/2018
                   Welfare Check               MCS
   0719
06/14/2018
                Served meal(Accepted)          MCS                    Cold Meal
   0719
06/14/2018
                   Welfare Check               MCS
   0805
06/14/2018
                   Welfare Check               MCS
   1146
06/14/2018
                   Welfare Check               MCS
   1253
06/14/2018
                   Welfare Check               MCS
   1304
06/14/2018
                Served meal(Accepted)          MCS                    Cold Meal
   1304
06/14/2018
                   Welfare Check               MCS
   1357
06/14/2018
             Snacks, Milk, Juice Provided      MCS
   1519
06/14/2018
             Medical Screening Completed       MCS
   1519
06/14/2018
                   Welfare Check               MCS
   1519
06/14/2018
               FOJC and ORR Notified           MCS                    Transaction ID:
   1531



CESAR D                                                                           Printed:      7/26/18
DOB:                        A-File #:                                             Page 2 of 5
Event:
Case 2:85-cv-04544-DMG-AGR Document 475-4 Filed 08/24/18 Page 243 of 250 Page ID
                                  #:23894
    Case 2:85-cv-04544-DMG-AGR Document 475-4 Filed 08/24/18 Page 244 of 250 Page ID
                                      #:23895




                                            Station /
Date/Time             Activity                          Agent Name                   Comments
                                            Facility
06/14/2018
             Medical Screening Completed      RGV
   2330
06/14/2018                                                           subjects will be offered a shower at
                        Other                 RGV
   2330                                                              0700hrs
06/14/2018
                   Welfare Check              RGV
   2330
06/14/2018
             Snacks, Milk, Juice Provided     RGV
   2330
06/14/2018
                      Received                RGV
   2330
06/15/2018
                   Welfare Check              RGV
   0011
06/15/2018
                   Welfare Check              RGV
   0100
06/15/2018
                   Welfare Check              RGV
   0354
06/15/2018
                   Welfare Check              RGV
   0400
06/15/2018
                   Welfare Check              RGV
   0500
06/15/2018
                 UAC Video Shown              RGV
   0700
06/15/2018
                Served meal(Accepted)         RGV                    Hot Meal
   0705
06/15/2018
                   Welfare Check              RGV
   0712
06/15/2018
                   Welfare Check              RGV
   0800
06/15/2018
                  Shower Provided             RGV
   0843
06/15/2018
                   Welfare Check              RGV
   1038
06/15/2018
                   Welfare Check              RGV
   1147
06/15/2018
                   Welfare Check              RGV
   1207
06/15/2018
                Served meal(Accepted)         RGV                    Hot Meal
   1207
06/15/2018
                   Welfare Check              RGV
   1318
06/15/2018
                 Processing Complete          RGV
   1344


CESAR D                                                                         Printed:      7/26/18
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Event:
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                                            Station /
Date/Time             Activity                          Agent Name                    Comments
                                            Facility
06/15/2018
                   Welfare Check              RGV
   1400
06/15/2018
                   Welfare Check              RGV
   1500
06/15/2018
                   Welfare Check              RGV
   1538
06/15/2018
                   Welfare Check              RGV
   1600
06/15/2018
               Served meal(Accepted)          RGV                    Cold Meal
   1600
06/15/2018
                   Welfare Check              RGV
   1701
06/15/2018
                 UAC Video Shown              RGV
   1710
06/15/2018
                   Welfare Check              RGV
   1800
06/15/2018
                   Welfare Check              RGV
   1901
06/15/2018
                   Telephone Used             RGV
   1902
06/15/2018
             Snacks, Milk, Juice Provided     RGV
   2008
06/15/2018
                   Welfare Check              RGV
   2008
06/15/2018
                   Welfare Check              RGV
   2105
06/15/2018
                   Welfare Check              RGV
   2202
06/15/2018
                   Welfare Check              RGV
   2300
06/15/2018
                   Perm Book Out              RGV
   2348




CESAR D                                                                          Printed:      7/26/18
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Subject Activity Log


KEVIN R
                                      Gender:                M
                                      DOB:                           (17 yoa)
                                      Nationality:           EL SALVADOR
                                      Accompanying Adult(s):




                                      Event:
                                      A-File #:
                                      FINS #:
                                      Disposition:
Medical Conditions:                                   Detention Reasons:
No Medical Conditions Found                           Immigration Violation




Arrest Date/Time:   06/13/2018 2000
Book In Date/Time:  06/15/2018 0020
Book Out Date/Time: 06/17/2018 0743

Processing Agent:
Transport Officer:
Apprehending Agents:

ORR Facility:           CHILDREN'S VILLAGE

Possible Trafficking?                                       Expresses Fear of Return?




KEVIN R                                                                       Printed:      8/2/18
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                                            Subject Activity Log


                                             Station /
Date/Time             Activity                           Agent Name                    Comments
                                             Facility
06/13/2018
                          Arrest                N/A
   2000
06/13/2018
                       Book In                  MCS
   2357
06/14/2018
                   Welfare Check                MCS
   0243
06/14/2018
                Served meal(Accepted)           MCS                   Cold Meal - sandwich juice
   0243
06/14/2018
                   Welfare Check                MCS
   0654
06/14/2018
                   Welfare Check                MCS
   0719
06/14/2018
                Served meal(Accepted)           MCS                   Cold Meal
   0719
06/14/2018
                   Welfare Check                MCS
   0805
06/14/2018
                   Welfare Check                MCS
   1146
06/14/2018
                   Welfare Check                MCS
   1253
06/14/2018
                   Welfare Check                MCS
   1304
06/14/2018
                Served meal(Accepted)           MCS                   Cold Meal
   1304
06/14/2018
                   Welfare Check                MCS
   1357
06/14/2018
             Snacks, Milk, Juice Provided       MCS
   1519
06/14/2018
             Medical Screening Completed        MCS
   1519
06/14/2018
                   Welfare Check                MCS
   1519
06/14/2018
             Snacks, Milk, Juice Provided       MCS
   1619
06/14/2018
             Medical Screening Completed        MCS
   1619
06/14/2018
                   Welfare Check                MCS
   1619
06/14/2018
             Snacks, Milk, Juice Provided       MCS
   1820



KEVIN RAMOS-GUERRA                                                                Printed:      8/2/18
DOB: 10/14/2000(17 yoa)       A-File #: 215763667                                 Page 2 of 7
Event: MCS1806000494
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                                            Station /
Date/Time             Activity                          Agent Name                    Comments
                                            Facility
06/15/2018
                   Welfare Check              RGV
   1600
06/15/2018
               Served meal(Accepted)          RGV                    Cold Meal
   1600
06/15/2018
                   Welfare Check              RGV
   1701
06/15/2018
                 UAC Video Shown              RGV
   1711
06/15/2018
                   Welfare Check              RGV
   1800
06/15/2018
                   Welfare Check              RGV
   1901
06/15/2018
                   Telephone Used             RGV
   1902
06/15/2018
             Snacks, Milk, Juice Provided     RGV
   2008
06/15/2018
                   Welfare Check              RGV
   2008
06/15/2018
                   Welfare Check              RGV
   2105
06/15/2018
                   Welfare Check              RGV
   2202
06/15/2018
                   Welfare Check              RGV
   2300
06/16/2018
                   Welfare Check              RGV
   0207
06/16/2018
                   Welfare Check              RGV
   0302
06/16/2018
                   Welfare Check              RGV
   0403
06/16/2018
                   Welfare Check              RGV
   0523
06/16/2018
                   Welfare Check              RGV
   0742
06/16/2018
                 UAC Video Shown              RGV                    know what to expect
   0742
06/16/2018
               Served meal(Accepted)          RGV                    Hot Meal - fed
   0742
06/16/2018
                   Welfare Check              RGV
   0749
06/16/2018
                   Welfare Check              RGV
   0914


KEVIN R                                                                          Printed:      8/2/18
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